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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK


                                     ECF CASE
IN RE FOREIGN EXCHANGE
BENCHMARK RATES ANTITRUST            No. 1:13-cv-07789-LGS
LITIGATION
                                     JURY TRIAL DEMANDED


      THIRD CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
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       Plaintiffs Aureus Currency Fund, L.P., The City of Philadelphia, Board of Pensions and

Retirement, Employees’ Retirement System of the Government of the Virgin Islands,

Employees’ Retirement System of Puerto Rico Electric Power Authority, Fresno County

Employees’ Retirement Association, Haverhill Retirement System, Oklahoma Firefighters

Pension and Retirement System, State-Boston Retirement System, Syena Global Emerging

Markets Fund, LP, Tiberius OC Fund, Ltd., Value Recovery Fund L.L.C., United Food and

Commercial Workers Union and Participating Food Industry Employers Tri-State Pension Fund;

Systrax Corporation, J. Paul Antonello, Marc G. Federighi, Thomas Gramatis, Doug Harvey,

Izee Trading Company, John Kerstein, Michael Melissinos, Mark Miller, Robert Miller, Richard

Preschern d/b/a Preschern Trading, Peter Rives, Michael J. Smith, Jeffrey Sterk, and, Kimberly

Sterk make these allegations against Defendants based on personal knowledge as to their own

actions and on information and belief as to other matters.

                                NATURE OF THE ACTION

       1.      This class action alleges Defendants conspired to fix the prices of currencies in

the foreign exchange (“FX”) or foreign currency market. 1 It is brought to recover for injuries to

Plaintiffs and members of the Class caused by Defendants’ violations of Sections 1 and 3 of the

Sherman Antitrust Act, 15 U.S.C. §§1, 3, and violations of the Commodity Exchange Act, 7

U.S.C. §§1 et. seq.




1
       Acronyms, abbreviations, terms, and slang expressions are defined in Appendix 1,
Glossary of Foreign Exchange Terms.

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       2.      The FX market is the world’s largest and most actively traded financial market.

In April 2013, trading in the global FX market averaged $5.3 trillion per day, 2 and, in the

domestic market, FX trading averaged $1.263 trillion per day.3

       3.      Defendants are the dominant dealers in the FX market, having a combined global

market share of over 90%.4 The OTC Plaintiffs and members of the OTC Class are Defendants’

direct customers for FX Instruments.5 The Exchange Plaintiffs and members of the Exchange

Class are persons who transacted in FX Instruments through an exchange.

       4.      The FX market revolves around spot transactions. These transactions involve the

outright exchange of currencies between two counterparties on a value date that is within two

bank business days’ time. Spot transactions account for approximately half of all FX volume in

the United States; roughly $620 billion per day.6

       5.      Spot transactions determine the pricing of and affect other FX Instruments. In

OTC trading, spot prices impact the pricing of outright forwards, FX swaps, and FX options.

These are instruments Defendants sell directly to their customers. Spot transactions also directly

impact the pricing of FX Instruments traded on exchanges, including futures contracts and




2
       Bank for International Settlements, Triennial Central Bank Survey, Global foreign
exchange market turnover in 2013 (February 2014) (https://www.bis.org/ publ/rpfxf13fxt.pdf), at
Table 1 [hereinafter BIS Triennial Bank Survey 2013].
3
       Federal Reserve Bank of New York, The Foreign Exchange and Interest Rate Derivatives
Markets: Turnover in the United States, April 2013 (http://nyfed.org/1dnmTlx), at 3 [hereinafter
Fed Triennial Bank Survey 2013].
4
       Euromoney FX Survey 2013: Overall Results.
5
       “FX Instruments” include FX spot transactions, outright forwards, FX swaps, FX options,
FX futures contracts, options on FX futures contracts, and other instruments traded in the FX
market.
6
       Fed Triennial Bank Survey 2013, at 3.


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options on futures contracts.     The link between spot prices and FX Instruments traded on

exchanges is clear and well known.

       6.      Beginning at least as early as 2003 and continuing through 2013, Defendants

conspired with each other to fix prices in the FX market. Through the daily use of multiple chat

rooms with incriminating names such as “The Cartel,” “The Bandits’ Club,” and “The Mafia,”

Defendants communicated directly with each other to coordinate their: (i) fixing of spot prices;

(ii) manipulating FX benchmark rates; and (iii) exchanging key confidential customer

information in an effort to trigger client stop loss orders and limit orders.          Defendants’

conspiracy affected dozens of currency pairs, including the seven pairs with the highest market

volume. And due to the importance of spot prices, Defendants’ conspiracy impacted all manner

of FX Instruments, including those trading both OTC and on exchanges.

       7.      In a spot transaction, a Defendant quotes its customer a “bid” (the price it will buy

currency) and an “ask” (the price it will sell currency). The difference between the bid and the

ask is called the bid/ask spread or simply the spread.

       8.      The spread is one way in which a Defendant is compensated as a market maker

for spot transactions. Defendants want to buy low and sell high. Defendants want wider

spreads. Customers, however, want narrower spreads. Narrower spreads mean customers pay

lower prices when buying currency and receive higher prices when selling currency. Thus,

collusively widening the spread directly injures customers by forcing them to pay more or

receive less in a given spot transaction.

       9.      Defendants conspired to fix spot prices by agreeing to artificially widen spreads

quoted to customers. There are thousands of communications involving multiple Defendants




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reflecting discussions about FX spreads. These communications demonstrate that Defendants

coordinated the spreads they quoted to customers.

        10.     Defendants also conspired to fix key FX benchmark rates, known generally as

“Fixes.” The most widely used Fixes are the WM/Reuters Closing Spot Rates and the European

Central Bank’s Fixing Rates. Chat room communications demonstrate Defendants exchanged

confidential customer information and coordinated their trading to manipulate these key rates.

        11.     Defendants engaged in additional collusive conduct.        Defendants exchanged

information about the prices at which their respective customers had stop-loss orders and limit

orders for the purpose of coordinating their trading to trigger these pricing thresholds.

Defendants exploited these orders by manipulating prices to swing to the price at which the stop-

loss or limit order is triggered.

        12.     The existence of a cartel to fix the prices in the FX market is now beyond dispute.

The United States Department of Justice (“DOJ”) has an active and ongoing criminal

investigation into Defendants’ conduct.        Four Defendants: Barclays Bank PLC, Citicorp,

JPMorgan Chase & Co., and RBS have already pled guilty to conspiring to violate the antitrust

laws. Defendant UBS sought amnesty and has provided the DOJ and Plaintiffs with evidence of
                            7
Defendants’ conspiracy.             The Commodity Futures Trading Commission (“CFTC”) is

investigating Defendants’ conduct, resulting in adverse findings of facts and billions of dollars in

fines. Other law enforcement and regulatory authorities around the world, including in the

United States, Europe, Asia, Australia, New Zealand, South Africa, and South America, have

7
       Defendant UBS AG entered a guilty plea to one count of wire fraud for its conduct in the
submissions of benchmark interest rates, including LIBOR, EURIBOR, and TIBOR. This plea
was entered because the DOJ found that UBS’ conduct in the FX market violated its pre-existing
non-prosecution agreement for its LIBOR-related conduct. DOJ UBS Plea Agreement, May 20,
2015 (http://www.justice.gov/file/440521/download).


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open and active investigations into Defendants’ conduct in the FX market.           A number of

Defendants are cooperating with authorities in these investigations by producing voluminous

documents, including chat room transcripts and other conspiratorial communications. As a direct

result of these global investigations, Defendants have terminated and suspended numerous

personnel with supervisory authority over their FX operations.

       13.     Defendants’ longstanding conspiracy reflected a culture of increasing profits at

the expense of the very integrity of the FX market. As one Barclays employee bluntly wrote “if

you aint cheating, you aint trying.”8 Defendants’ conspiracy to fix prices in the FX market

impacted the pricing of all FX Instruments, inflicting severe financial harm on Plaintiffs and

members of the Classes.

                       JURISDICTION, VENUE, AND COMMERCE

       14.     This Court has subject matter jurisdiction under Sections 4 and 16 of the Clayton

Antitrust Act, 15 U.S.C. §§15 and 26(a), and 28 U.S.C. §§1331 and 1337 and Section 22 of the

Commodity Exchange Act, 7 U.S.C. §25.

       15.     Defendants’ conduct was within the flow of, was intended to, and did, in fact,

have a substantial effect on the interstate commerce of the United States, including in this

District. During the Class Period, Defendants used the instrumentalities of interstate commerce,

including interstate wires and the U.S. mail, to effectuate their illegal scheme.

       16.     The Court has personal jurisdiction over each Defendant, because Defendants’

collusive and manipulative acts took place, in substantial part, in New York specifically and in

the United States generally. These acts were conducted by persons and entities subject to the

8
        N.Y. Dept. of Fin. Services, In the Matter of Barclays Bank PLC, Consent Order Under
New      York     Banking      Law      §§44     and    44-a,    ¶47   (May     20,    2015)
(http://www.dfs.ny.gov/about/ea/ea150520.pdf) (emphasis added).


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laws of the United States, including New York, as well as other states and territories. Each

Defendant has continuously and systematically entered into FX transactions, including spot

transactions, forward contracts, futures contracts, and options contracts in this District and

throughout the United States. Defendants’ conspiracy was directed at, and had the intended

effect of, causing injury to persons residing in, located in, or doing business in this District and

throughout the United States. These connections between the alleged conduct and New York are

demonstrated herein.

       17.     Venue is proper in this District pursuant to Sections 4, 12, and 16 of the Clayton

Antitrust Act, 15 U.S.C. §§15, 22, and 26, as well as Section 22(c) of the Commodity Exchange

Act, 7 U.S.C. §25(c), and 28 U.S.C. §1391(b), (c), and (d). One or more of the Defendants

resides, transacts business, is found, or has agents in this District, a substantial part of the events

giving rise to Plaintiffs’ claims arose in this District, and a substantial portion of the affected

interstate trade and commerce described herein has been carried out in this District.

                                             PARTIES

       P LAINTIFFS

       18.     Plaintiff Aureus Currency Fund, L.P. (“Aureus”) is an investment fund based in

Santa Rosa, California. Aureus engaged in FX spot and outright forward transactions directly

with Defendant Morgan Stanley during the Class Period, and has been injured in its business or

property by reason of Defendants’ violations of law as alleged herein.

       19.     The City of Philadelphia, Board of Pensions and Retirement is a municipal

corporation organized under the laws of the Commonwealth of Pennsylvania and the

Philadelphia Home Rule Charter and is a political subdivision of the Commonwealth of

Pennsylvania. The Board of Pensions and Retirement is an independent board of the City of

Philadelphia, Board of Pensions and Retirement under the Philadelphia Home Rule Charter. The

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Board of Pensions and Retirement is charged with the maintenance of the retirement system for

all City employees. The City of Philadelphia, Public Employees Retirement System, which is

maintained by the Board of Pensions and Retirement, is funded by the City of Philadelphia and

employees of the City. Plaintiff the City of Philadelphia, Board of Pensions and Retirement

(“Philadelphia Retirement”) engaged in FX spot and outright forward transactions directly with

Defendants Bank of America, Barclays, BNP Paribas, Citigroup, Credit Suisse, Deutsche Bank,

Goldman Sachs, HSBC, JPMorgan, Morgan Stanley, RBC, RBS, Société Générale, and UBS

during the Class Period, and has been injured in its business or property by reason of

Defendants’ violations of law as alleged herein.

       20.     Plaintiff Employees’ Retirement System of the Government of the Virgin Islands

(“Virgin Islands”) is a defined benefit pension fund plan for officials and employees of the

Government of the Virgin Islands and for their dependents and beneficiaries. It is one of the

oldest pension systems under the American flag. Virgin Islands engaged in FX spot transactions

directly with Defendants Bank of America, Barclays, BNP Paribas, Citigroup, Credit Suisse,

Deutsche Bank, Goldman Sachs, HSBC, JPMorgan, Morgan Stanley, RBS, Société Générale,

and UBS during the Class Period, and has been injured in its business or property by reason of

Defendants’ violations of law as alleged herein.

       21.     Plaintiff Employees’ Retirement System of Puerto Rico Electric Power Authority

(“ERS-PREPA”) is a defined benefit pension fund plan for officials and employees of the Puerto

Rico Electric Power Authority and for their dependents and beneficiaries. As of December 31,

2013, ERS-PREPA had $1.384 billion of assets under management for the benefit of 11,203

retirees and beneficiaries and 8,317 active employees. ERS-PREPA engaged in FX spot and

outright forward transactions directly with Defendants Bank of America, Barclays, BNP Paribas,



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Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs, HSBC, Morgan Stanley, RBS, and

UBS during the Class Period, and has been injured in its business or property by reason of

Defendants’ violations of law as alleged herein.

       22.     Plaintiff Fresno County Employees’ Retirement Association (“FCERA”) has net

assets of $4.01 billion and makes frequent foreign currency transactions in connection with the

nearly $1 billion in foreign equities and foreign fixed income assets in its portfolio. FCERA

engaged in FX spot and outright forward transactions directly with Defendants Bank of America,

Barclays, BNP Paribas, Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs, HSBC,

JPMorgan, Morgan Stanley, RBS, and UBS during the Class Period, and has been injured in its

business or property by reason of Defendants’ violations of law as alleged herein.

       23.     Plaintiff Haverhill Retirement System (“Haverhill”) is located in the State of

Massachusetts and is a defined benefit pension fund providing retirement and disability benefits

to employees of the City of Haverhill, Massachusetts. Haverhill engaged in FX spot and outright

forward transactions directly with Defendants Bank of America, Barclays, Deutsche Bank,

Goldman Sachs, HSBC, Morgan Stanley, RBS, and UBS during the Class Period, and has been

injured in its business or property by reason of Defendants’ violations of law as alleged herein.

       24.     Plaintiff Oklahoma Firefighters Pension and Retirement System (“Oklahoma

Firefighters”) was established in 1980 to provide retirement and other specified benefits to

qualified firefighters and their beneficiaries. Oklahoma Firefighters, headquartered in Oklahoma

City, Oklahoma, oversees net assets in excess of $1 billion on behalf of more than 21,000

beneficiaries. Oklahoma Firefighters engaged in FX spot and outright forward transactions

directly with Defendants Bank of America, Barclays, Citigroup, Credit Suisse, Deutsche Bank,

Goldman Sachs, HSBC, JPMorgan, Morgan Stanley, and UBS during the Class Period, and has



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been injured in its business or property by reason of Defendants’ violations of law as alleged

herein.

          25.     Plaintiff State-Boston Retirement System (“Boston Retirement”) is a defined-

benefit governmental pension plan located in Massachusetts.           As of June 2013, Boston

Retirement managed more than $3.5 billion in assets on behalf of 37,000 beneficiaries associated

with the City of Boston, the Boston Redevelopment Authority, the Boston Housing Authority,

the Boston Water and Sewer Commission, the Boston Public Health Commission, and others.

Boston Retirement engaged in FX spot, outright forward, and FX swap transactions directly with

Defendants Bank of America, Barclays, BNP Paribas, Citigroup, Credit Suisse, Deutsche Bank,

Goldman Sachs, HSBC, JPMorgan, Morgan Stanley, RBS, and UBS during the Class Period,

and has been injured in its business or property by reason of Defendants’ violations of law as

alleged herein.

          26.     Plaintiff Syena Global Emerging Markets Fund, LP (“Syena”) is a hedge fund

located at 125 Greenwich Ave., Greenwich, Connecticut. Syena engaged in FX spot transactions

directly with Defendant Goldman Sachs during the Class Period, and has been injured in its

business or property by reason of Defendants’ violations of law as alleged herein.

          27.     Plaintiff Tiberius OC Fund, Ltd. (“Tiberius”) is a global investment fund with a

registered address of 42 North Church Street, Grand Cayman, Cayman Islands.              Tiberius

engaged in outright forward transactions directly with Defendant Morgan Stanley during the

Class Period, and has been injured in its business or property by reason of Defendants’ violations

of law as alleged herein.

          28.     Plaintiff Value Recovery Fund L.L.C. (“VRF”) is a Delaware limited liability

Company, with a registered address of 2711 Centerville Road, Suite 400, Wilmington, Delaware



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19808 and offices in Connecticut. VRF has standing, by virtue of a valid assignment from

Camulos Master Fund LP (“Camulos”), to assert the federal antitrust claim herein. Camulos

engaged in FX spot, outright forward, and FX swap transactions directly with Defendants

Barclays, Goldman Sachs, and Morgan Stanley during the Class Period, and has been injured in

its business or property by reason of Defendants’ violations of law as alleged herein.

       29.     Plaintiff United Food and Commercial Workers Union and Participating Food

Industry Employers Tri-State Pension Fund (“United Food”) is a multi-employer and multi-

union employee benefit plan based in Plymouth Meeting, Pennsylvania. United Food engaged in

FX spot and outright forward transactions directly with Defendants Bank of America, Barclays,

Credit Suisse, Deutsche Bank, Morgan Stanley, and UBS during the Class Period, and has been

injured in its business or property by reason of Defendants’ violations of law as alleged herein.

       30.     Plaintiff Systrax Corporation (“Systrax”) is a private investment fund located in

Queretaro, Mexico and Buenos Aires, Argentina. During the Class Period, Systrax was a

Corporation incorporated in the British Virgin Islands with FX trades in the United States.

Systrax engaged in FX spot transactions directly with Defendant UBS. Systrax also entered into

exchange-traded FX Instruments, including Australian dollar, euro, Swiss franc, and Japanese

yen, FX futures and/or options contracts at artificial prices proximately caused by Defendants’

manipulative conduct.     Systrax has been injured in its business or property by reason of

Defendants’ violations of law as alleged herein.

       31.     Plaintiffs Aureus, Philadelphia Retirement, Virgin Islands, ERS-PREPA, FCERA,

Haverhill, Oklahoma Firefighters, Boston Retirement, Syena, Tiberius, URF, United Food, and

Systrax are collectively defined as the “OTC Plaintiffs.”




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       32.     Plaintiff J. Paul Antonello is an individual residing in Skokie, Illinois. During the

Class Period, Mr. Antonello entered into exchange-traded FX Instruments, including Swiss

franc, euro, Canadian dollar, Japanese yen, British pounds, and Australian dollar FX futures

and/or options contracts at artificial prices proximately caused by Defendants’ manipulative

conduct. As a result, Mr. Antonello was injured in his business or property.

       33.     Plaintiff Marc G. Federighi is an individual residing in Barrington Hills, Illinois.

During the Class Period, Mr. Federighi entered into exchange-traded FX Instruments, including

euro and Japanese yen FX futures contracts at artificial prices proximately caused by

Defendants’ manipulative conduct. As a result, Mr. Federighi was injured in his business or

property.

       34.     Plaintiff Thomas Gramatis is an individual residing in Hinsdale, Illinois. During

the Class Period, Mr. Gramatis entered into exchange-traded FX Instruments, including euro FX

futures and/or options contracts at artificial prices proximately caused by Defendants’

manipulative conduct. As a result, Mr. Gramatis was injured in his business or property.

       35.     Plaintiff Doug Harvey is an individual residing in Chicago, Illinois. During the

Class Period, Mr. Harvey entered into exchange-traded FX instruments, including Australian

dollar and Canadian dollar FX futures and/or options contracts at artificial prices proximately

caused by Defendants’ manipulative conduct.          As a result, Mr. Harvey was injured in his

business or property.

       36.     Plaintiff Izee Trading Company (“Izee”) is a futures and options trading company

with its principal place of business in Highland Park, Illinois. During the Class Period, Izee

entered into exchange-traded FX Instruments, including euro FX futures and/or options contracts




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at artificial prices proximately caused by Defendants’ manipulative conduct. As a result, Izee

was injured in its business or property.

       37.     Plaintiff John Kerstein is an individual residing in Riverwoods, Illinois. During

the Class Period, Mr. Kerstein entered into exchange-traded FX Instruments, including euro FX

futures and/or options contracts at artificial prices proximately caused by Defendants’

manipulative conduct. As a result, Mr. Kerstein was injured in his business or property.

       38.     Plaintiff Michael Melissinos is an individual residing in Matawan, New Jersey.

Mr. Melissinos entered into exchange-traded FX Instruments, including euro, British pound,

Japanese yen, Australian dollar, New Zealand dollar, Canadian dollar and Swiss franc. FX

futures and/or options at artificial prices proximately caused by Defendants’ manipulative

conduct. As a result, Mr. Melissinos was injured in his business or property.

       39.     Plaintiff Mark Miller is an individual residing in Geneva, Illinois. During the

Class Period, Mr. Miller entered into exchanged-traded FX Instruments, including euro FX

futures and/or options contracts at artificial prices proximately caused by Defendants’

manipulative conduct. As a result, Mr. Miller was injured in his business or property.

       40.     Plaintiff Robert Miller is an individual residing in Oak Brook, Illinois. During the

Class Period, Mr. Miller entered into exchange-traded FX Instruments, including euro FX futures

contracts at artificial prices proximately caused by Defendants’ manipulative conduct. As a

result, Mr. Miller was injured in his business or property.

       41.     Plaintiff Richard Preschern d/b/a Preschern Trading (“Preschern”) is an individual

residing in Evanston, Illinois. During the Class Period, Preschern entered into exchange-traded

FX Instruments, including euro, Japanese yen, and Swiss franc FX futures and options contracts




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at artificial prices proximately caused by Defendants’ manipulative conduct.          As a result,

Preschern was injured in its business or property.

       42.     Plaintiff Peter Rives is an individual residing in Naperville, Illinois. During the

Class Period, Mr. Rives entered into exchange-traded FX Instruments, including euro FX futures

contracts at artificial prices proximately caused by Defendants’ manipulative conduct. As a

result, Mr. Rives was injured in his business or property.

       43.     Plaintiff Michael J. Smith is an individual residing in Northbrook, Illinois.

During the Class Period, Mr. Smith entered into exchange-traded FX Instruments, including

Canadian dollar, euro, Australian dollar, Mexican peso, Japanese yen, British pounds, and Swiss

franc FX futures and/or options contracts at artificial prices proximately caused by Defendants’

manipulative conduct. As a result, Mr. Smith was injured in his business or property.

       44.     Plaintiff Jeffrey Sterk is an individual residing in Encinitas, California. Mr. Sterk

entered into exchange-traded FX Instruments, including euro, British pounds, Japanese yen,

Australian dollar, and New Zealand dollar.           FX futures and/or options at artificial prices

proximately caused by Defendants’ manipulative conduct. As a result, Mr. Sterk was injured in

his business or property.

       45.     Plaintiff Kimberly Sterk is an individual residing in Encinitas, California.

Ms. Sterk entered into exchange-traded FX Instruments, including euro, British pounds, Japanese

yen, Australian dollar, and New Zealand dollar. FX futures and/or options at artificial prices

proximately caused by Defendants’ manipulative conduct. As a result, Ms. Sterk was injured in

her business or property.




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       46.    Plaintiffs Antonello, Federighi, Gramatis, Harvey, Izee, Kerstein, Melissinos,

Mark Miller, Robert Miller, Preschern, Rives, Smith, Jeffrey Sterk, Kimberly Sterk, and Systrax

are collectively known as the “Exchange Plaintiffs.”

       D EFENDANTS

       47.    Bank of America: Defendant Bank of America Corporation is a Delaware

corporation headquartered at 100 North Tryon Street, Charlotte, North Carolina 28255. Bank of

America Corporation is a multi-national banking and financial services corporation with its

investment banking division located at the Bank of America Tower, One Bryant Park, 1111

Avenue of the Americas, New York, New York 10036. Defendant Bank of America, N.A. is a

federally-charted national banking association headquartered at 101 South Tyron Street,

Charlotte, North Carolina 28255, and is an indirect, wholly-owned subsidiary of Bank of

America Corporation. Defendant Merrill Lynch, Pierce, Fenner & Smith Inc. is a corporation

organized under the law of Delaware with its principal place of business in New York, New

York and is a wholly-owned subsidiary of Bank of America Corporation. Merrill Lynch, Pierce,

Fenner & Smith Inc. is registered as a broker-dealer with the SEC and as a registered futures

commission merchant with the CFTC. Merrill Lynch, Pierce, Fenner & Smith Inc. is also a

clearing member of the Chicago Mercantile Exchange.               Defendants Bank of America

Corporation, Bank of America, N.A., and Merrill Lynch, Pierce, Fenner & Smith Inc. are

referenced collectively in this Complaint as “Bank of America.”

       48.    Bank of Tokyo-Mitsubishi: Defendant The Bank of Tokyo Mitsubishi UFJ Ltd.

(“BOTM”) is a Japanese company headquartered in Tokyo, Japan. BOTM, New York Branch is

headquartered at 1251 Avenue of the Americas, New York, New York 10002. BOTM’s New




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York Branch is BOTM’s “traditional hub” for FX trading. 9 The New York Department of

Financial Services (“NYDFS”) lists BOTM as a foreign bank licensed to do business in New

York through BOTM, New York Branch.10 As of March 31, 2013, BOTM, NY Branch had

$101 billion in total assets.11

        49.     Barclays: Defendant Barclays Bank PLC is a British public limited company

headquartered at 1 Churchill Place, London E14 5H, England. Barclays Bank PLC is licensed by

the NYDFS with a registered address at 745 Seventh Avenue, New York, New York 10019 and a

foreign representative office at One MetLife Plaza, 27-01 Queens Plaza North, Long Island City,

New York 11101. Defendant Barclays Capital Inc. is a wholly-owned subsidiary of Barclays

Bank PLC and engages in investment banking, wealth management, and investment management

services. It is registered with the CFTC as a Futures Commission Merchant and is also a clearing

member of the CME. Defendants Barclays Bank PLC and Barclays Capital Inc. are referenced

collectively in this Complaint as “Barclays.”

9
        See Shigeru Sato and Takako Taniguchi, Forex, fixed-income traders: Mitsubishi UFJ is
hiring, BLOOMBERG (April 23, 2012) (http://m.futuresmag.com/2012/04/23/forex-fixed-income-
traders-mitsubishi-ufj-is-hirin).
10
        NYDFS licenses “Foreign Bank Branches,” which it defines as follows: “A Foreign Bank
Branch is an office of a foreign bank that is licensed by the Superintendent to conduct banking
business in New York. A branch may exercise the same powers as a state-chartered commercial
bank, including accepting deposits, making loans, issuing letters of credit, dealing in foreign
exchange, making acceptances and, if authorized, exercising fiduciary powers. There are two
types of foreign branches – insured and uninsured. An insured branch may conduct a retail
banking business in New York, making consumer loans and accepting consumer deposits. An
uninsured branch may accept deposits only as authorized by the FDIC Rules, with disclosure of
their non-insured status. Foreign branches, agencies and representative offices are covered in
Article V-B of the Banking Law. Since 1991, they have also been subject to supervision by the
Federal Reserve Board. Since the FDIC Foreign Bank Supervision Enhancement Act (FBSEA)
was     passed in       1991,    no new insured branches              have     been allowed.”
(http://www.dfs.ny.gov/about/whowesupervise.htm#foreignbranch).
11
        See   Public:     Mitsubishi    UFJ     Fin.     Group,     Inc.    Resolution   Plan
(http://www.federalreserve.gov/bankinforeg/resolution-plans/mitsubishi-fin-3g-20131231.pdf).


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       50.    BNP Paribas: Defendant BNP Paribas Group is a French bank and financial

services company headquartered in Paris, France, at 16 Boulevard des Italiens, Paris, France

75009. BNP Paribas Group is licensed by the New York Department of Financial Services with

a registered address at 787 Seventh Avenue, New York, New York 10019. BNP Paribas North

America, Inc. is a Delaware corporation headquartered at 787 7th Avenue, New York, New York

10019. BNP Paribas North America, Inc. provides corporate, investment banking, and securities

brokerage activities and is an affiliate of BNP Paribas Group. Defendant BNP Paribas Securities

Corp. is a Delaware corporation with its principal place of business in New York, New York.

BNP Paribas Securities Corp. is a wholly-owned subsidiary of BNP Paribas North America, Inc.

BNP Paribas Securities Corp. is registered as a broker-dealer with the SEC and as a futures

commission merchant with the CFTC. BNP Paribas Securities Corp. is also a clearing member

of the CME. BNP Paribas Prime Brokerage, Inc. is a Delaware corporation with its principal

place of business in New York, New York. BNP Paribas Prime Brokerage, Inc. is registered as a

futures commission merchant with the CFTC. Defendants BNP Paribas Group, BNP Paribas

North America,. Inc., BNP Paribas Securities Corp., and BNP Prime Brokerage, Inc. are

referenced collectively in this Complaint as “BNP Paribas.”

       51.    Citigroup: Defendant Citigroup Inc. is a Delaware corporation headquartered at

399 Park Ave, New York, New York 10022.            Defendant Citibank, N.A. (“Citibank”) is a

federally chartered national banking association headquartered at 399 Park Avenue, New York,

New York 10022 and is a wholly-owned subsidiary of Defendant Citigroup Inc. Defendant

Citicorp is a financial services holding company organized and existing under the laws of

Delaware. Defendant Citigroup Global Markets Inc. is a wholly-owned subsidiary of Citigroup

organized and existing under the laws of New York, with its principal place of business in New



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York, New York. Citigroup Global Markets Inc. is registered as a broker-dealer with the SEC

and as a futures commission merchant with the CFTC. Citigroup Global Markets Inc. is also a

clearing member of the CME.         Defendants Citigroup Inc., Citibank, N.A., Citicorp, and

Citigroup Global Markets Inc. are referenced collectively in this Complaint as “Citigroup.”

       52.     Credit Suisse: Defendant Credit Suisse Group AG is a Swiss holding company

headquartered in Zurich, Switzerland.       Defendant Credit Suisse AG is a wholly-owned

subsidiary of Credit Suisse Group AG and is a bank organized under the laws of Switzerland

with principal place of business in Zurich, Switzerland. Credit Suisse AG is licensed by the

NYDFS and operates a foreign branch with a registered address at 11 Madison Avenue, New

York, NY 10010-3698. Defendant Credit Suisse Securities (USA) LLC is a Delaware limited

liability company headquartered at 11 Madison Avenue, New York, New York 10010, and is a

wholly-owned subsidiary of Credit Suisse Group AG. Credit Suisse Securities (USA) LLC is

registered as a broker-dealer with the SEC and as a futures commission merchant with the CFTC.

Credit Suisse Securities (USA) LLC is also a clearing member of the CME. Defendants Credit

Suisse Group AG, Credit Suisse AG, and Credit Suisse Securities (USA) LLC are referenced

collectively in this Complaint as “Credit Suisse.”

       53.     Deutsche Bank: Defendant Deutsche Bank AG is a German financial services

company headquartered in Frankfurt, Germany. Defendant Deutsche Bank AG is licensed by the

NYDFS with a registered address at 60 Wall Street, New York, New York 10005-2858.

Defendant Deutsche Bank Securities Inc. is a Delaware corporation with principal place of

business in New York, New York. Deutsche Bank Securities Inc. is an indirect wholly-owned

subsidiary of Deutsche Bank AG and is registered as a broker-dealer with the SEC and as a

futures commission merchant with the CFTC. Deutsche Bank Securities Inc. is a clearing



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member of the CME. Defendants Deutsche Bank AG and Deutsche Bank Securities Inc. are

referenced collectively in this Complaint as “Deutsche Bank.”

       54.    Goldman Sachs: Defendant The Goldman Sachs Group, Inc. is a Delaware

corporation headquartered at 200 West Street, New York, New York 10282. The Goldman

Sachs Group, Inc. is a bank holding company and a financial holding company. Defendant

Goldman, Sachs & Co. is a wholly-owned subsidiary of The Goldman Sachs Group, Inc. and is

its principal operating subsidiary in the United States. Goldman, Sachs & Co. is located at 200

West Street, New York, New York 10282. Goldman, Sachs & Co. is a clearing member of the

CME. Defendants The Goldman Sachs Group, Inc. and Goldman, Sachs & Co. are referenced

collectively in this Complaint as “Goldman Sachs.”

       55.    HSBC: Defendant HSBC Holdings PLC is a United Kingdom public limited

company headquartered in London, England. Defendant HSBC Bank PLC is a United Kingdom

public limited company headquartered in London, England and is a wholly-owned subsidiary of

HSBC Holdings PLC.        Defendant HSBC North America Holdings, Inc. is a Delaware

corporation headquartered in New York, and is a wholly-owned subsidiary of HSBC Holdings

PLC.    Defendant HSBC North America Holdings, Inc. is the holding company for HSBC

Holding PLC’s operations in the United States. Defendant HSBC Bank USA, N.A., is a national

banking association with its principal place of business in New York, New York, and is an

indirect wholly-owned subsidiary of HSBC North America Holdings, Inc. Defendant HSBC

Securities (USA) Inc. is a Delaware corporation with its principal place of business in New

York, New York. HSBC Securities (USA) Inc. is registered as a broker-dealer with the SEC and

as a futures commission merchant with the CFTC. HSBC Securities (USA) Inc. is also a

clearing member of the CME. Defendants HSBC Holdings PLC, HSBC Bank PLC, HSBC



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North America Holdings, Inc., HSBC Bank USA, N.A., and HSBC Securities (USA) Inc. are

referenced collectively in this Complaint as “HSBC.”

       56.    JPMorgan: Defendant JPMorgan Chase & Co. is a Delaware corporation

headquartered at 270 Park Ave., 38th Floor, New York, New York 10017. Defendant JPMorgan

Chase Bank, N.A., is a federally-chartered national banking association headquartered at 270

Park Avenue, 38th Floor, New York, New York 10017, and is a wholly-owned subsidiary of

Defendant JP Morgan Chase & Co. Defendants JPMorgan Chase & Co. and JPMorgan Chase

Bank, N.A., are referenced collectively in this Complaint as “JPMorgan.”

       57.    Morgan Stanley: Defendant Morgan Stanley is a Delaware corporation

headquartered at 1585 Broadway, New York, New York 10036. Defendant Morgan Stanley &

Co., LLC is a limited liability company organized and existing under the laws of Delaware with

its principal place of business in New York, New York. Morgan Stanley & Co., LLC is a

wholly-owned subsidiary of Morgan Stanley. It is registered as a broker-dealer with the SEC

and as a futures commission merchant with the CFTC. Morgan Stanley & Co., LLC is also a

clearing member of the CME. Defendant Morgan Stanley & Co. International plc is a United

Kingdom public limited company with headquarters at 25 Cabot Square, Canary Wharf, London

E14 4QA England. Defendants Morgan Stanley, Morgan Stanley & Co., LLC, and Morgan

Stanley & Co. International plc are referenced collectively in this Complaint as “Morgan

Stanley.”

       58.    RBC: Defendant RBC Capital Markets LLC (“RBC”) is a Minnesota limited

liability company with its principal place of business and headquarters located at Three World

Financial Center, 200 Vesey Street, 5th Floor, New York, New York 10281. Prior to 2010, RBC

was RBC Capital Markets Corporation, which was also a Minnesota corporation headquartered



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in New York, New York. RBC is registered as a broker-dealer with the SEC and is a Futures

Commission Merchant with the CFTC. RBC is also a member of the New York Stock Exchange

and a member of the Financial Industry Regulatory Authority. RBC is “ranked among the top

banks globally in terms of revenues . . . in both major and emerging market currencies.”12 RBC

sells FX Instruments through its New York headquarters.

       59.    RBS: Defendant Royal Bank of Scotland Group PLC is a United Kingdom public

limited company headquartered in Edinburgh, Scotland. Defendant Royal Bank of Scotland

Group PLC is licensed by the NYDFS with a registered address at 340 Madison Avenue, New

York, New York 10173. Defendant RBS Securities Inc. is a Delaware corporation headquartered

at 600 Washington Boulevard, Stamford, Connecticut 06901. RBS Securities Inc. is registered

as a broker-dealer with the SEC and as a futures commission merchant with the CFTC. RBS

Securities Inc. is also a clearing member of the CME. Defendants Royal Bank of Scotland

Group PLC and RBS Securities, Inc., are referenced collectively in this Complaint as “RBS.”

       60.    Société Générale: Defendant Société Générale S.A. (“SocGen”) is a financial

services company headquartered in Paris, France. SocGen’s New York Branch is headquartered

at 1221 Avenue of the Americas, New York, New York 10020. Defendant SocGen is licensed

by the NYDFS with a registered address of 245 Park Avenue, New York, New York 10167. One

of SocGen’s New York Branch’s “primary activities” is the sale of FX Instruments, and its heads

of emerging market FX trading and G10 FX trading are based in New York.13

       61.    Standard Chartered: Defendant Standard Chartered Bank (“Standard Chartered”)

is incorporated under the laws of England and Wales with headquarters in London. Standard

12
       (http://www.rbccm.com/fic/cid-304290-html).
13
       See Miriam Siers, Brooks departs Société Générale in New York, FX WEEK (Feb. 28,
2011) (http://www.fxweek.com/fx-week/news/2028898/brooks-departs-societe-generale-york).


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Chartered’s New York Branch is licensed by the NYDFS with a registered address at 1094

Avenue of the Americas, No. 37, New York, New York 10036. Standard Chartered’s New

York Branch is the headquarters for Standard Chartered’s Americas business and “primarily

conducts a U.S. dollar clearing business,” including the sale of FX Instruments.14 As of March

31, 2012, Standard Chartered’s New York Branch held $40.8 billion in assets. Id.

       62.     UBS: Defendant UBS AG is a Swiss company based in Basel and Zurich,

Switzerland.    Defendant UBS Securities LLC is a Delaware limited liability company

headquartered at 677 Washington Blvd, Stamford, Connecticut 06901, and is a wholly-owned

subsidiary of UBS AG. UBS Securities LLC is registered as a broker-dealer with the SEC and as

a futures commission merchant with the CFTC. UBS Securities LLC is also a clearing member

of the CME. Defendants UBS AG, UBS Group AG, and UBS Securities LLC are referenced

collectively in this Complaint as “UBS.”

       63.     “Defendant” or “Defendants” as used herein, includes, in addition to those named

specifically above, all of the named Defendants’ predecessors, including those merged with or

acquired by the named Defendants and each named Defendant’s wholly-owned or controlled

subsidiaries or affiliates that played a material role in the unlawful acts alleged in this Complaint.

       64.     Whenever reference is made to any act of any corporation, the allegation means

that the corporation engaged in the act by or through its directors, officers, employees, or agents

while they were actively engaged in the management, direction, control, or transaction of the

corporation’s business or affairs.



14
        N.Y. State Dept. of Fin. Services, In the Matter of Standard Chartered Bank, New York
Branch, Order Pursuant to Banking Laws §39, at 6 (Aug. 6, 2012)
(http://www.dfs.ny.gov/about/ea/ea120806.pdf).


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          65.   Each of the Defendants named herein acted as the agent or joint-venturer of or for

the other Defendants with respect to the acts, violations, and common course of conduct alleged

herein.

          66.   Various other persons, firms, and corporations, that are unknown and not named

as Defendants, have participated as co-conspirators with Defendants and have performed acts

and/or made statements in furtherance of the conspiracy. Defendants are jointly and severally

liable for the acts of their co-conspirators whether named or not named as Defendants in this

Complaint.

                              CLASS ACTION ALLEGATIONS

          67.   Pursuant to Rule 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure, OTC

Plaintiffs bring this action on behalf of themselves and on behalf of the following “OTC Class”:

                OTC Class: All persons who, between January 1, 2003 and
                December 31, 2013 (inclusive) entered into an FX Instrument 15
                directly with a Defendant, where such persons were either
                domiciled in the United States or its territories or, if domiciled
                outside the United States or its territories, transacted one or more
                FX instruments in the United States or its territories.

          68.   Pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure,

Exchange Plaintiffs bring this action on behalf of themselves and on behalf of the following

“Exchange Class”:

                Exchange Class: All persons who, between January 1, 2003 and
                December 31, 2013 (inclusive) entered into an FX Instrument on
                an exchange where such persons were either domiciled in the
                United States or its territories or, if domiciled outside the United
                States or its territories, entered into one or more FX Instruments on
                a U.S. exchange.

15
        An “FX Instrument” is defined as any FX spot transaction, outright forward, FX swap,
FX option, FX futures contract, an option on an FX futures contract, or other instrument traded
in the FX market.


                                                 22
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       69.     Both the OTC Class and the Exchange Class have the following exclusions:

               Exclusions from both Classes: Specifically excluded from the
               Classes are Defendants and their co-conspirators; the officers,
               directors, or employees of any Defendant or co-conspirator; any
               entity in which any Defendant or co-conspirator has a controlling
               interest; any affiliate, legal representative, heir, or assign of any
               Defendant or co-conspirator, and any person acting on their behalf.
               Also excluded from these Classes are any judicial officer presiding
               over this action and the members of his/her immediate family and
               judicial staff, and any juror assigned to this action.

       70.     Ascertainability: The Classes are readily ascertainable and are those for which

records should exist.

       71.     Numerosity: Due to the nature of the trade and commerce involved, Plaintiffs

believe that there are thousands of geographically dispersed members of each Class, the exact

number and their identities being known to Defendants and their co-conspirators.

       72.     Typicality: OTC Plaintiffs’ claims are typical of the claims of the members of the

OTC Class.     Exchange Plaintiffs’ claims are typical of the claims of the members of the

Exchange Class.     Plaintiffs and members of the Classes sustained damages arising out of

Defendants’ common course of conduct in violation of federal antitrust laws and the Commodity

Exchange Act as alleged herein. The damages and injuries of each member of the Classes were

directly caused by Defendants’ wrongful conduct in violation of federal law.

       73.     Commonality: There are questions of law and fact common to one or both of the

Classes, including, but not limited to:

               a.       whether Defendants and their co-conspirators engaged in an agreement,
                        combination, or conspiracy to fix, raise, elevate, maintain, or stabilize
                        foreign currency bid/ask spreads in interstate commerce in the United
                        States;

               b.       whether Defendants and their co-conspirators engaged in manipulation of
                        the Fixes and other FX benchmark rates in interstate commerce in the
                        United States;


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               c.      the identity of the participants of the conspiracy or manipulative scheme;

               d.      the duration of the conspiracy or manipulative scheme alleged herein and
                       the acts performed by Defendants and their co-conspirators in furtherance
                       thereof;

               e.      whether the alleged conspiracy violated Sections 1 and 3 of the Sherman
                       Act, 15 U.S.C. §§1 and 3;

               f.      whether Defendants’ conduct violated Section 22 of the Commodity
                       Exchange Act, 7 U.S.C.; §25;

               g.      whether Defendants acted to aid and abet in violation of the Commodity
                       Exchange Act;

               h.      whether Defendants’ unlawful conduct caused cognizable legal injury
                       under the Commodity Exchange Act;

               i.      whether the conduct of Defendants and their co-conspirators, as alleged in
                       this Complaint, caused injury to Plaintiffs and members of the Classes;
                       and

               j.      the appropriate measures of damages for each Class.

       74.     Adequacy:     Plaintiffs will fairly and adequately protect the interests of the

members of the Classes. Plaintiffs’ interests are aligned with, and not antagonistic to, those of

the other members of the Classes and Plaintiffs have retained counsel competent and experienced

in the prosecution of class actions and antitrust litigation to represent themselves and the Classes.

       75.     Predominance: Questions of law or fact that are common to the members of the

Classes predominate over any questions affecting only individual members of the Classes.

       76.     Superiority: A class action is superior to other available methods for the fair and

efficient adjudication of this controversy. The prosecution of separate actions by individual

members of the Classes would impose a heavy burden on the courts and Defendants and would

create a risk of inconsistent or varying adjudications of the questions of law and fact common to

the Classes. A class action, on the other hand, would achieve substantial economies of time,

effort, and expense, and would assure uniformity of decision as to persons similarly situated,


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without sacrificing procedural fairness or bringing about other undesirable results. Absent a

class action, it would not be feasible for the vast majority of the members of the Classes to seek

redress for the violations of law herein alleged.

                                     FACT ALLEGATIONS

I.        THE FX MARKET

                 Background

          77.    The FX market is the market in which currencies are bought and sold. It is the

largest and most actively traded financial market in the world. According to the most recent

Bank for International Settlements (“BIS”) Triennial Central Bank Survey,16 global trading in

FX averaged $5.3 trillion per day in April 2013, up from $4.0 trillion in April 2010.17 U.S.

trading in FX averaged $1.263 trillion per day in April 2013, up from $864 billion in April

2010.18

          78.    There are numerous participants in the FX market including dealers (such as

Defendants), smaller or regional commercial and investment banks, securities houses, mutual

funds, pension funds, hedge funds, proprietary trading firms, currency funds, money market

funds, other investment funds, building societies, leasing companies, insurance companies,

reinsurance companies, endowments, central banks, sovereign wealth funds, international
16
        The BIS Triennial Central Bank Survey describes itself as “the most comprehensive
source of information on the size and structure of global foreign exchange (FX) and OTC
derivatives markets.” BIS, Triennial Central Bank Survey, Foreign exchange turnover in April
2013: preliminary global results (https://www.bis.org/publ/rpfx13fx.pdf) [hereinafter BIS,
Triennial Bank Survey, Preliminary Results 2013], at 3. Central banks, including the Federal
Reserve Bank of New York, and other authorities in 53 jurisdictions participated in the survey,
collecting data from 1,300 banks and other financial institutions throughout the world. Id.
17
          BIS Triennial Bank Survey, Preliminary Results 2013, at 3.
18
       Fed Triennial Bank Survey 2013, at 1. This growth in FX trading was largely driven by
growth in market participation by “other financial institutions,” which include pension funds,
mutual funds, insurance companies, and hedge funds. See Id. at 3.


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  financial institutions of the public sector, retail aggregators, non-financial corporations, non-

  financial government entities, and private individuals.19

           79.        Trading in the FX market is done either over-the-counter (“OTC”) directly with a

  counterparty, such as a Defendant, or on a centralized exchange. During the Class Period,

  approximately 98% of FX trading occurred OTC. 20 The remaining trades are executed on

  exchanges, the most important of which is the Chicago Mercantile Exchange (“CME”).

           80.        Trading in the OTC FX market occurs 24 hours a day. The market opens on

  Monday at 7:00 a.m. in New Zealand. One hour later, Sydney, Australia opens. Trading

  continues throughout Asia as Tokyo, Hong Kong, and Singapore begin trading. Trading then

  shifts to Europe. One hour later, London opens. At midday London time, New York opens for

  trading. New York and London (the two largest FX trading centers) are open simultaneously for

  several hours, including at 4:00 p.m. London time (11:00 a.m. New York time). The FX trading

  day ends at 5:00 p.m. in New York for booking purposes. As New York’s day ends, a new

  trading day reopens in New Zealand. The FX trading week closes on Friday at 5:00 p.m. in New

  York. With the advent of electronic trading, it is possible to trade over the weekends.

           81.        The following chart graphically illustrates the 24-hour nature of the OTC market:

                                           FX MARKET HOURS
1 2    3    4    5     6   7   8   9   10 11 12 13 14 15 16 17 18 19 20 21 22 23 24
           New Zealand
                     Sydney
                           Tokyo
                                   Hong Kong


  19
           Id. at 19.
  20
           Id. at Table 1.


                                                      26
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                                       FX MARKET HOURS
                                                      Frankfurt
                                                                  London
                                                                                   New York

       82.     Similarly, FX trading on exchanges is available virtually 24 hours a day.21

       83.     Currencies are bought or sold in pairs.22 The price to buy or sell a given currency

pair is reflected by its exchange rate. The term “currency pair” highlights the fact that all foreign

exchange transactions are simultaneously the purchase of one currency and the sale of another.23

In April 2013, the top three currency pairs accounted for over half of all FX market turnover

globally: EUR/USD (24.1%), USD/JPY (18.3%), and GBP/USD (8.8%).24 In April 2013, the

U.S. dollar was on one side of 87% of all FX transactions globally25 and on 89% of all FX

transactions in the United States.26

       84.     Participants in the FX market engage in several types of transactions. In OTC

trading, three types of FX transactions account for approximately 95% of transactions in the FX

market in the United States:27

               Spot – An agreement to exchange sums of currency at an agreed-
               on exchange rate on a value date that is within two bank business
               days’ time.


21
       See, e.g., CME Group, FX Trading Hours (http://www.cmegroup.com/trading_hours/fx-
hours.html).
22
       Currency abbreviations are described in Appendix 2.
23
      David F. DeRosa, FOREIGN EXCHANGE OPERATIONS: SPOT FX TRANSACTIONS, at 25
(DEROSA RESEARCH 2013).
24
       BIS, Triennial Bank Survey, Preliminary Results 2013, at 3.
25
       Id. at Table 2.
26
       Fed Triennial Bank Survey 2013, at 4.
27
       Id. at 3-4.


                                                 27
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               Outright Forward – An agreement to exchange sums of currency at
               an agreed-on exchange rate on a value date that will usually be in
               more than two bank business days’ time. The exchange rate for a
               forward transaction is called the forward outright.

               FX Swap – A combination of a spot transaction plus an outright
               forward done simultaneously, but in the opposite direction.

Two types of transactions are entered into through exchanges:

               FX Futures – Standardized contracts trading on an exchange and
               calling for delivery of a specified quantity of a specified currency,
               or a cash settlement, on a specified date.

               Options on FX Futures – Standardized contracts trading on an
               exchange, and upon exercise, calling for the establishment of an
               FX futures position.

       85.     The FX market revolves around spot transactions because spot rates are the

foundation for pricing all FX Instruments. For example, the prices of outright forwards and FX

swaps are derived from the underlying spot price. Every time the spot price moves, outright

forward and FX swap prices move. An outright forward is the spot price plus the interest

differential or “cost of carry.” The cost of carry is determined mathematically from the overall

cost involved when lending one currency and borrowing another during the time period

stretching from the spot date until the forward date. Outright forward rates are quoted in “swap

points” (also called “forward points”), which are added (premium) or subtracted (discount) from

the spot rate. Similarly, an FX swap is determined by the spot price, because it is a simultaneous

spot transaction and an outright forward – a spot-forward swap.

       86.     Likewise, FX futures and options contracts traded on the CME and other

exchanges track rates in the spot market at near parity after adjusting for the forward differential,




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or adding or subtracting “forward points.” 28 In this regard, they are comparable to outright

forwards.

       87.     The importance of spot FX transactions and the widespread use of spot prices

throughout the financial system means that Defendants’ misconduct with respect to spot

transaction pricing had far-reaching consequences affecting other types of FX Instruments and

financial markets generally.29

               Spot Transactions

       88.     Spot transactions are the simple exchange of one currency for another. Spot

transactions occur OTC, rather than through a central exchange. As a result, spot transactions

depend on financial institutions, such as Defendants, to act as dealers willing to continuously buy

and sell currencies. These dealers are known as “market makers” or “liquidity providers.”

       89.     A dealer in the FX spot market quotes prices at which the dealer stands ready to

buy or sell the currency. A quote consists of a bid and an ask on a designated quantity of

currency. The bid is the price at which the dealer is willing to buy the indicated quantity of

currency. The ask is the price at which the dealer is willing to sell the indicated quantity of

currency. Dealers generally provide price quotes to four decimal points, with the final digit

known as a “percentage in point” or “pip.” The difference between the bid and ask is the “bid-

ask spread” and is the primary way in which the dealer is compensated.




28
       In the Matter of Citibank, N.A., CFTC Docket No. 15-03, Order Instituting Proceeding
Pursuant to Sections 6(c)(4)(A) and 6(d) of the Commodity Exchange Act, Making Findings, and
Imposing Remedial Sanctions, at 5 (Nov. 11, 2014).
29
        FCA, Final Notice to Citibank, N.A., Number 124704, ¶2.3 (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/citibank-na).




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       90.    Customers execute FX spot transactions either by a telephone call or electronic

message to a salesperson at a dealer bank or through an electronic communications network

(“ECN”). An ECN is a computer system that customers can use to execute orders with dealers

over a network. ECN platforms include single-bank proprietary platforms operated by dealers

and multi-bank dealer systems. Multi-bank dealer systems include platforms such as Reuters,

Bloomberg, EBS, Hotspot, and Currenex.

       91.    The following is a sample conversation between a dealer and customer placing an

FX spot transaction. This conversation would take place in a brief span of time, perhaps less

than one minute.30

        Sample Dealing Conversation (Spot)                          Explanation
Customer HIHI FRIENDS
Dealer    HIHI
Customer EUR ON 50 PLS?                   Customer requests a quote from
                                          dealer on 50 million euros. Customer
                                          does not reveal whether it is a buyer
                                          or seller.
Dealer   50 / 55                          Dealer quotes its bid-ask spread.
                                          This spread equals 1.2350/1.2355, as
                                          1.23 is understood by both parties.
Customer I SELL                           Customer agrees to sell 50 euros at
                                          the bid price of 1.2350.
Dealer   VALUE 03AUG2012                  Dealer confirms the trade and
         TO CONFIRM 50 MIO EUR AGREED AT instructs customer to deliver the euros
         1.2350 BUY EUR                   to its bank in London.
         MY EUR TO BANK LDN
         THANKS AND BIBI
Customer TO CONFIRM 50 MIO EUR I SELL EUR Customer confirms trade and
         @1.2350                          instructs dealer to deliver the dollars
         VALUE 03AUG2012                  to its bank in New York.
         MY USD TO BANK NY
         THANKS AND BIBI



30
      David F. DeRosa, FOREIGN EXCHANGE OPERATIONS: MASTER TRADING AGREEMENTS,
SETTLEMENT, AND COLLATERAL, at 103 (Wiley 2014).


                                             30
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       92.     In the above example, the dealer buys euros from the customer at 1.2350. The

dealer would also be selling 50 million euros to another customer or group of customers at

1.2355. The dealer buys at 1.2350 and sells at 1.2355, earning the bid-ask spread of .0005 (or 5

pips) as its compensation as a market-maker.

       93.     The dealers’ salespeople and traders are in regular communication. Salespeople

inform the traders of incoming potential orders, confirm bid and ask quotes, and ultimately

convey placed orders to the trading desk. Traders are aware of numerous potential and pending

trades that could be processed through their desks. Dealers record and analyze their customers’

trading histories. As a result, dealers can often predict a customer’s trading patterns, even before

a customer places an order. This is particularly sensitive commercial information.

               Benchmark Rates and Uses

       94.     While an FX spot transaction may be entered into and executed at any time,

customers often use what are called daily fixing rates. A fixing rate is a published exchange rate

at a moment in time or over a short interval of time. To place an order at a fixing rate, a

customer gives the dealer instructions to buy or sell a quantity of currency at the fixing rate. The

dealer guarantees execution at the fixing rate.

       95.     Prior to the Fixes, Defendants’ customers will place orders to buy or sell a

specific currency at one of the Fixes. The Defendant agrees to transact with its customers at that

Fix. Because this order is for a future time (the Fix has not yet been set), Defendants are

exposed to unexpected interim movements in the price of that currency.

       96.     Defendants will go into the market and attempt to purchase or sell currency before

the Fixes to fulfill their customers’ orders. If a Defendant is able to buy the currency it needs to

sell to its customer at an average price that is less than the Fix, the Defendant will profit off the



                                                  31
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client order. Conversely, if a Defendant purchases at an average price greater than the Fix, it

loses money on the transaction.

       97.     While there are a number of Fixes used by FX market participants, in OTC

trading, the major Fixes are the WM/Reuters Closing Spot Rates and the ECB Fixing Rates.

These Fixes are used in the valuation and performance management of investment portfolios

held by pension funds and asset managers globally.31 “The rates established at these Fixes are

also used as reference rates in financial derivatives.”32 The WM/Reuters Closing Spot Rates are

more widely used than the ECB Fixing Rates.

       98.     The Fixes are particularly useful to major participants in the FX market, such as

pension funds, mutual funds, insurance companies, and hedge funds. These entities are the most

rapidly growing segment of FX market participants. Because many of these entities participate

in the FX market in a way that is ancillary to their investing activities, rather than as a primary

source of profits, the Fixes take on a more critical role for them. These customers are generally

not seeking to speculate on currency movements, but rather, to repatriate payments, such as

dividends, interest, and redemptions on foreign equity and debt instruments that are paid in

foreign currencies to U.S. dollars. Accordingly, these entities are continually re-balancing their

portfolios to adjust their proportions of domestic and foreign holdings in response to shifting

economic conditions.

       99.     In addition, the Fixes are also customarily used to mark-to-market FX exposures.

Before the Fixes became the standard benchmark, portfolio managers used different methods to


31
        See FCA, Final Notice to Citibank, N.A., Number 124704, ¶4.3 (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/citibank-na).
32
       Id.




                                                32
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mark-to-market, some of which were dependent on a single dealer’s quote. The Fixes were

adopted to mark FX exposures to market because the Fixes had the perceived advantages of

universality and independence from any specific dealer.

       100.    Trading at the Fixes is popular because the Fixes allow non-speculating entities to

achieve their goals while removing tracking error when comparing fund performance to indexed

benchmarks, such as those created by FTSE Group and MSCI Inc., which track stocks and bonds

in multiple countries, or to other portfolios.

       101.    The widespread use and acceptance of the Fixes as a pricing mechanism and as

the primary benchmark for currency trading globally has caused the Fixes to occupy a crucial

role in the operation of financial markets.

               1.      WM/Reuters

       102.    The WM/Reuters rates are the most important fixing rates in the FX market.

WM/Reuters publishes fixing rates for spot rates and forwards.33 WM/Reuters calculates fixing

rates for Trade Currencies every half hour from 6:00 a.m. in Hong Kong/Singapore to 10:00 p.m.

in the U.K.     WM/Reuters defines Trade Currencies to include, among others, the major

currencies traded against the U.S. dollar and the euro.34

       103.    The most widely used WM/Reuters rates are the WM/Reuters Closing Spot Rates

for Trade Currencies, which are calculated around 4:00 p.m. London time (11:00 a.m. New York

time). The WM/Reuters Closing Spot Rates are popular, in part, because they are set at the end

of the trading day in London when the market is most liquid.



33
        The WM Company, WM/Reuters Spot & Forward Rates Methodology Guide, at 3
(http://www.wmcompany.com/pdfs/026808.pdf ) [hereinafter WM/Reuters Guide].
34
       See WM/Reuters Guide, at 3.


                                                 33
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       104.      For Trade Currencies during the Class Period, the 4:00 p.m. fix is based on actual

trades, using bids and offers extracted from a certain electronic trading system during a one-

minute window (“fix period”).35 The WM/Reuters Closing Spot Rates are calculated using the

median of a snapshot of bid and ask order rates and actual spot transactions in the 30 seconds

before and the 30 seconds after 4:00 p.m. London time (usually 11:00 a.m. in New York).

Trades and rates from Currenex, Reuters Dealing 3000, and EBS are used in the validation and

calculation.36

       105.      The process for capturing the information used to calculate the WM/Reuters

Closing Spot Rates is automated and anonymous. Because these rates are based on the median

value of the transactions, the WM/Reuters Closing Spot Rates do not take the notional size of the

quotes and transactions into account; all quotes and transactions are weighted equally.

       106.      WM/Reuters also provides fix rates for forward and non-deliverable forward

contracts which are published as premiums or discounts to the WM/Reuters spot rates.37 Thus,

manipulation of the WM/Reuters Closing Spot Rates (as alleged herein) will necessarily impact

the WM/Reuters forward rates and futures rates.




35
       See In the Matter of Citibank, N.A., CFTC Docket No. 15-03, Order Instituting
Proceeding Pursuant to Section 6(c)(4)(A) and 6(d) of the Commodity Exchange Act, Making
Findings, and Imposing Remedial Sanctions, at 4 (Nov. 11, 2014).
36
        The WM/Reuters Spot Rates for the “Non-trade Currencies” are set by a methodology
similar to that of Trade Currencies. Non-trade currency are those that have less market liquidity.
Non-trade currencies are only calculated on an hourly basis. WM/Reuters relies on indicative
quotes (submissions) derived from a Reuters computer feed that solicits “indications of interest”
from market participants as part of its fixing methodology. WM/Reuters captures snapshots of
indicative quotes for bids and offers, and selects the median rate from these quotes as the
“WM/R 4 p.m. London fix.” WM/Reuters Guide, at 6.
37
       Id.


                                                 34
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               2.     The ECB Rates

       107.    Like the WM/Reuters rates, the ECB reference rate provides spot FX rates

throughout the day for euro-denominated currency pairs. The European Central Bank owns

and administers euro foreign exchange reference rates for 32 different currencies on a daily

basis.38 The rates are published for currency pairs that are actively traded against the euro.39

The ECB reference rate is the second most frequently used global FX benchmark.40

       108.    The ECB fix is the exchange rate for various spot FX currency pairs as

determined by the European Central Bank at 1:15pm GMT, or 2:15pm CET. For G10 currency

pairs, the ECB fix is based upon spot FX trading activity by market participants at or around

the times of the 1:15pm ECB fix. Only one reference exchange rate (the mid-rate) is published

for each currency.41 “The rate is ‘based on the regular daily concertation procedure between

central banks within and outside the European System of Central Banks.’”42 This process is

referred to as the “ECB fix” and reflects the rate at that particular moment in time.

       109.    The ECB reference exchange rates are published both by electronic market

information providers and on the ECB’s website shortly after the concertation procedure has

been completed.43




38
       Financial Stability Board, Final Report on Foreign Exchange Benchmarks (Sept. 30,
2014) (“FSB Report”) at 11 (http:/lww.financialstabilityboard.org/2014/ 09/4_1409301).
39
       FSB Report at 11.
40
       Id. at 7.
41
       Id. at 11.
42
        FCA, Final Notice to Citibank, N.A., Number 124704, Annex B, ¶2.2 (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/citibank-na).
43
       FSB Report at 11.


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       110.    The ECB fix is used in global financial markets by various market participants,

including banks, asset managers, pension funds, and corporations.      Like the WM/Reuters

Closing Spot Rates, the ECB fix rates are used to value foreign currency-denominated assets

and liabilities, and in the valuation and performance management of investment portfolios held

by pension funds and asset managers. The rates established at the ECB fix are also used as a

reference rate in financial derivatives.44

               3.      Other Benchmark Rates

       111.    Other FX benchmark rates are priced through actual market transactions or

through the use of indicative rates. For instance, the Russian ruble/U.S. dollar CME/Emerging

Markets Traders Association benchmark rates are based on indicative rates submitted by

market participants to the CME are a component of the final settlement rate of the CME’s

RUB/USD futures contract. 45 This rate is supposed to be based upon a bank’s honest

assessment of the current prevailing market rate at which it could execute a $100,000

RUB/USD spot transaction for next-day value in the Moscow marketplace.46

       112.    The Association of Banks in Singapore publishes a range of daily spot rate

fixings for deliverable and non-deliverable currency markets. Those rates stem from 11:00

a.m. submissions by a panel of banks selected by ABS to represent each panel bank’s current

bid and offer spot rates for Indonesian rupiah, Indian rupee, Singapore dollar, and Thai baht

against the U.S. dollar, among others.




44
        FCA, Final Notice to Citibank, Number 124704, ¶4.3 (Nov.                  11,    2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/citibank-na).
45
       In the Matter of Barclays Bank PLC, CFTC Docket No. 15-24, at 5 (May 20, 2015).
46
       Id.


                                              36
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       113.                                                         Most major banks in Tokyo publish their own fixing rates at 9:55 a.m. Japan

Standard Time for a variety of Japanese yen currency pairs. Defendant BOTM’s rates are

often considered the most significant rate, and are used for approximately 90% of fixing orders

across Tokyo.

       114.                                                         The Treasury Markets Association (“TMA”) in Hong Kong publishes FX rates,

which consist of spot fixings for the USD/Hong Kong dollar (HKD) and USD/Chinese yuan

(CNY) currency pairs. These fixing rates are calculated by averaging the middle quotes after

excluding a number of the highest and lowest quotes from the contributing banks appointed by

the TMA.

                                                                    The FX Market Is Concentrated and Dominated by Defendants

       115.                                                         Beginning in the late 1990s, the FX market experienced a substantial increase in

concentration, with the number of banks covering 75% market share declining:


                                                                                         FX Market Concentration
                                                               5
       Number of banks covering 75% market share (Euromoney)




                                                               10

                                                               15
                                                                                                                                  EUROMONEY 75%
                                                               20

                                                               25

                                                               30

                                                               35

                                                               40

                                                               45

                                                               50
                                                                    97   98   99   00   01   02   03   04    05    06   07   08    09   10   11   12   13
                                                                                                            Year




                                                                                                            37
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       116.    Defendants now dominate the FX market. According to the 2012 and 2013 FX

Surveys by EUROMONEY, an industry publication, Defendants’ individual and aggregate shares of

the global FX market for 2012 and 2013 are:47

                 Defendant                   2012 Market        2013 Market
                                             Share (Rank)       Share (Rank)
                 Deutsche Bank                14.57% (1)         15.18% (1)
                 Citigroup                    12.26% (2)         14.90% (2)
                 Barclays                     10.95% (3)         10.24% (3)
                 UBS                          10.48% (4)         10.11% (4)
                 HSBC                          6.72% (5)          6.93% (5)
                 JPMorgan                      6.60% (6)          6.07% (6)
                 RBS                           5.86% (7)          5.62% (7)
                 Credit Suisse                 4.68% (8)          3.70% (8)
                 Morgan Stanley                3.52% (9)          3.15% (9)
                 Goldman Sachs                3.12% (10)         2.75% (11)
                 BNP Paribas                  2.63% (11)         2.52% (12)
                 Bank of America              2.41% (12)         3.08% (10)
                 Société Générale             1.76% (13)         1.57% (13)
                 Standard Chartered           0.89% (18)         0.91% (17)
                 RBC                          0.84% (19)         0.88% (18)
                 Mitsubishi UFJ               0.24% (30)         0.31% (23)
                 Financial Group
                 Defendants’
                 Aggregate Market               90.86%             90.92%
                 Share:

       117.    Defendants also dominate the U.S. spot market. The Federal Reserve Bank of

New York reported that as of April 2013, the top ten banks engaged in 98% of all spot volume in

the United States, up from 91% in April 2010. Moreover, the five largest banks by volume

accounted for 80% of spot transactions in the United States in April 2013.48

       118.    A small and close-knit group of traders employed by Defendants dominate FX

trading. These traders have formed strong ties by working with one another in prior trading


47
       Defendants’ market shares for 2003-2013 are available at Appendix 3.
48
       Fed Triennial Bank Survey 2013, at 6.


                                                38
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positions.    Many of these traders also live near each other, many living in the same

neighborhoods in the Essex countryside just northeast of London’s financial district. They

belong to the same social clubs, golf together, dine together, and sit on many of the same charity

boards. As Andre Spicer, a professor at the Cass Business School in London, said, “[t]he

foreign-exchange market has a very strong culture, in which practitioners feel more attached to

each other than they do their banks. It is also dominated by an extremely small group of

individuals, often with strong social ties formed by working with each other at some point in the

past.”49 These social and professional ties in the FX trading community create incentives and

opportunities for collusion. As one former Citigroup banker noted, “[t]his is a market in which

price fixing and collusion could actually work.”50

               The FX Market Is Unregulated and Opaque

       119.    Notwithstanding its size, importance, and concentration, the FX market is one of

the world’s least regulated financial markets, with most trading taking place OTC, away from

exchanges. The United States does not have any specific rules or agencies governing FX spot,

outright forward, or FX swap transactions, and such transactions are exempt from the Dodd-

Frank Wall Street Reform and Consumer Protection Act, Pub. L. 111-203, 124 Stat. 1376 (2010).

       120.    There is no centralized exchange or institution that collects and posts real-time

trade information for the OTC market. While Defendants’ proprietary dealing platforms allow

them to match buyers with sellers, Defendants’ real-time order flow and volume data is not

available to the market. Defendants closely guard their real-time order flow and volume data

49
       Liam Vaughan, Gavin Finch and Bob Ivry, Secret Currency Traders’ Club Devised
Biggest Market’s Rates, BLOOMBERG (Dec. 19, 2013) (http://bloom.bg/1hA9KXj).
50
      Daniel Schäfer, Alice Ross, and Delphine Strauss, Foreign exchange: The big fix,
FINANCIAL TIMES (Nov. 12, 2013) (http://www.ft.com/cms/s/2/7a9b85b4-4af8-11e3-8c4c-
00144feabdc0.html#axzz3fnepy5Pj).


                                               39
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from the public and do not make it commercially available for purchase. This substantially

limits knowledge of traders’ conduct inside these dealing platforms and on the voice trading

desk. Absent an agreement to collude, each bank would not share this information with one

another; however, as explained here, Defendants did share this information with one another.

       121.    Defendants enjoy informational advantages over Plaintiffs and the Classes as a

result of this market opacity. Knowledge of a customer’s identity, trading patterns, and orders

allows Defendants to predict the direction of market movements.

       122.    Defendants’ ability to predict – and exploit – market movements grows when they

share this information with one another.

       123.    With relatively few firms having a large share of the FX market protected by high

barriers to entry, a lack of regulation, and limited customer access to real-time pricing and

volume information, the FX market exhibits characteristics that antitrust law and economics have

identified as making a market susceptible to collusion and manipulation.

II.    DEFENDANTS CONSPIRED TO FIX PRICES IN THE FX MARKET

       124.    As alleged below, beginning at a time unknown, but at least as early as January 1,

2003, Defendants conspired to fix prices in the FX market on a daily basis. Defendants’

conspiracy targeted the pricing of over two dozen currencies, including the most heavily traded

currency pairs, throughout each trading day. Defendants’ conspiracy encompassed: (1) price

fixing of bid/ask spreads; (2) price fixing various benchmark rates, including, but not limited to,

WM/Reuters benchmark rates and the ECB reference rate; and (3) other collusive conduct, such

as triggering client stop-loss orders and limit orders. UBS traders interrogated by FINMA

officials agreed that the anti-competitive conduct alleged herein was “common practice.”51


51
       FINMA, Foreign exchange trading at UBS AG: investigation conducted by FINMA, at


                                                40
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       125.    Defendants’ conduct in furtherance of their conspiracy included: (1) creating and

participating in exclusive interbank chat rooms; (2) improperly sharing confidential client and

proprietary trading information; (3) coordinating trading to influence the FX rates;

(4) monitoring the conduct of co-conspirators to ensure secrecy and compliance with the

conspiracy; (5) using code names and misspelled words in interbank communications to evade

detection; and (6) agreeing to “stand down” by holding off buying or selling currency to benefit

co-conspirators.

       126.    As a result of Defendants’ conspiracy, Plaintiffs and the members of the Classes

were harmed.

               Defendants Used Electronic Communications, Including Chat Rooms,
               Instant Messages, and Emails, to Conspire

       127.    Defendants’ top-level traders used electronic communications, including chat

rooms, to meet and conspire for more than a decade. Plaintiffs are aware of thousands of

communications showing traders at more than two dozen banks, including each Defendant,

participating in chats where traders coordinated and exchanged information about spreads,

currency pairs, and fixes.

       128.    Defendants brazenly named their chat rooms “The Cartel,” “The Bandits’ Club,”

“The Mafia,” “The Swiss Mafia,” and “One Team, One Dream.” Other chat rooms described

themselves as “The Sterling Lads,” the “Essex Express,” “The Players,” “The 3 Musketeers,”

“Barrier Killers,” “Sllllaaaaggggsssss2,” “A Co-operative,” and “The A-team.” 52 Being a


¶3.3 (Nov. 12, 2014) (http://www.finma.ch/e/aktuell/Documents/ubs-fx-bericht-20141112-
e.pdf).
52
        FCA fines five banks £1.1 billion for FX failings and announces industry-wide
remediation programme (Nov. 12, 2014) (http://www.fca.org.uk/news/fca-fines-five-banks-for-
fx-failings).


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member of certain chat rooms was by invitation only, indicating the secret nature of this

conduct.53 These electronic chat rooms replaced the classic, smoke-filled backrooms of the past.

The transcripts of these chat rooms are reportedly “peppered with allusions to drinks, drugs and

women.”54

       129.    Entry into chat rooms was coveted among traders because of the influence its

members exerted in the FX market. For example, in one chat room transcript, traders from JPM,

UBS, and Citigroup welcome a trader from Barclays into The Cartel chat room:

 TIME (UTC)         TRADER            MESSAGE
 08:02:22           JPMorgan          you have been given access for a 1 month trial
 08:02:24           UBS               Congratulations
 08:02:29           JPMorgan          This trial will automaticaly extend
 08:02:31           Barclays          I am honoured [. . .]
 08:03:25           Citigroup         Gd thing is you beat out [Trader]
 08:04:17           JPMorgan          u need to tell [Trader] if u hire [Trader] you lose out on the
                                      cartell gold

       130.    During investigations by FINMA, UBS foreign exchange traders testified that

they had been encouraged by their superiors to actively participate in chat rooms with clients and

traders at third-party banks in order to exchange information. 55 The FCA noted the value in

these chat rooms to traders:

               A “persistent” chat room allows participants to have ongoing
               discussions with other participants from different firms and in
               different time zones for extended timeframes. Participants can
               communicate through electronic messaging over a period of

53
       In the Matter of Citibank, N.A., CFTC Docket No. 15-03, Order Instituting Proceeding
Pursuant to Sections 6(c)(4)(A) and 6(d) of the Commodity Exchange Act, Making Findings, and
Imposing Remedial Sanctions, at 5 (Nov. 11, 2014).
54
      Daniel Schäfer, Alice Ross, and Delphine Strauss, Foreign exchange: The big fix,
FINANCIAL TIMES (Nov. 12, 2013) (http://www.ft.com/cms/s/2/7a9b85b4-4af8-11e3-8c4c-
00144feabdc0.html#axzz3fnepy5Pj).
55
       Foreign exchange trading at UBS AG: investigation conducted by FINMA at ¶3.1.3 (Nov.
12, 2014) (http://www.finma.ch/e/aktuell/Documents/ubs-fx-bericht-20141112-e.pdf).


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               multiple days, weeks or months.           There can be multiple
               participants in a particular persistent chat and once invited an
               individual will be able to view a continuous record of the entire
               discussion thread and participate from then on.56

       131.    Defendants’ top-level traders ran the chat rooms. For example, Richard Usher ran

The Cartel while he was JPMorgan’s chief currency dealer in London and head of spot trading

for G10 currencies from 2010-2013 and as a trader at RBS before then.               The Cartel’s

membership numbered a half-dozen or more of Defendants’ top traders. Other members of The

Cartel included:

           •   Rohan Ramchandani, Citigroup’s head of spot trading in London;

           •   Matt Gardiner, Barclays’ director of spot trading for EUR/USD from 2007 to
               2011;

           •   Chris Ashton, former head of Barclays voice spot trading globally; and

           •   Niall O’Riordan, UBS’s co-global head of G10 and emerging market spot trading.

Usher, Ramchandani, Gardiner, Ashton, and O’Riordan each have been fired from their

respective institutions.

       132.    Like playing multiple bingo cards, Defendants’ FX traders participated in

multiple chat rooms, allowing them to simultaneously communicate with numerous other

Defendants on a global basis.      Defendants’ participation in chat rooms demonstrates the

widespread reach of their anticompetitive conduct. For instance, based solely on information

learned to date, Defendants participated in chat rooms discussing the following currencies:

           •   Defendant Bank of America participated in chat rooms discussing the U.S. dollar
               (USD), euro (EUR), Japanese yen (JPY), Australian dollar (AUD), Swiss franc
               (CHF), and South African rand (ZAR).


56
        FCA Final Notice to Barclays Bank, PLC No. 122702, Annex B, ¶6.2. (May 20, 2015)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/citibank-na)
https://www.fca.org.uk/ your-fca/documents/final-notices/2015/barclays-bank-plc


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   •   Defendant Barclays participated in chat rooms discussing the U.S. dollar (USD),
       euro (EUR), British pound (GBP), Japanese yen (JPY), Swiss franc (CHF),
       Australian dollar (AUD), Canadian dollar (CAD), Russian ruble (RUB), South
       African rand (ZAR), and Brazilian real (BRL).

   •   Defendant BNP Paribas participated in chat rooms discussing the U.S. dollar
       (USD), euro (EUR), Japanese yen (JPY), Polish zloty (PLN), Russian ruble
       (RUB), Mexican peso (MXN), Israeli shekel (ILS), and Thai baht (THB).

   •   Defendant BOTM participated in chat rooms discussing the U.S. dollar (USD),
       euro (EUR), Japanese yen (JPY), and Swiss franc (CHF).

   •   Defendant Citigroup participated in chat rooms discussing the U.S. dollar (USD),
       euro (EUR), British pound (GBP), Japanese yen (JPY), Swiss franc (CHF),
       Australian dollar (AUD), New Zealand dollar (NZD) Russian ruble (RUB), and
       South African rand (ZAR).

   •   Defendant Credit Suisse participated in chat rooms discussing the U.S. dollar
       (USD), euro (EUR), British pound (GBP), Australian dollar (AUD), Swiss franc
       (CHF), Czech koruna (CZK), Israeli shekel (ILS), Polish zloty (PLN), and South
       African rand (ZAR).

   •   Defendant Deutsche Bank participated in chat rooms discussing the U.S. dollar
       (USD), euro (EUR), the British pound (GBP), Japanese yen (JPY), Swiss franc
       (CHF), Australian dollar (AUD), New Zealand dollar (NZD), Canadian dollar
       (CAD), Russian ruble (RUB), South African rand (ZAR), Chinese yuan (CNY),
       Czech koruna (CZK), Hong Kong dollar (HKD), Hungarian forint (HUF), Polish
       zloty (PLN), Singapore dollar (SGD), Turkish lira (TRY), Indonesian rupiah
       (IDR), Indian rupee (INR), South Korean won (KRW), Malaysian ringgits
       (MYR), and Taiwan dollar (TWD).

   •   Defendant Goldman Sachs participated in chat rooms discussing the U.S. dollar
       (USD), euro (EUR), British pound (GBP), and Australian dollar (AUD).

   •   Defendant HSBC participated in chat rooms discussing the U.S. dollar (USD),
       euro (EUR), British pound (GBP), Swiss franc (CHF), Russian ruble (RUB),
       Mexican peso (MXN), and Thai baht (THB).

   •   Defendant JPM participated in chat rooms discussing the U.S. dollar (USD), euros
       (EUR), British pound (GBP), Australian dollar (AUD), Swiss franc (CHF), and
       South African rand (ZAR).

   •   Defendant Morgan Stanley participated in chat rooms discussing the U.S. dollar
       (USD), euro (EUR), British pound (GBP), Japanese yen (JPY), Australian dollar
       (AUD), and New Zealand dollar (NZD).




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           •   Defendant RBC participated in chat rooms discussing the U.S. dollar (USD), euro
               (EUR), Australian dollar (AUD), New Zealand dollar (NZD), Canadian dollar
               (CAD), Swiss franc (CHF), Japanese yen (JPY), Czech koruna (CZK), Israeli
               shekel (ILS), Polish zloty (PLN), South African rand (ZAR).

           •   Defendant RBS participated in chat rooms discussing the U.S. dollar (USD), euro
               (EUR), British pound (GBP), Japanese yen (JPY), Swiss franc (CHF), Australian
               dollar (AUD), New Zealand dollar (NZD), South African rand (ZAR), and
               Brazilian real (BRL).

           •   Defendant SocGen participated in chat rooms discussing the U.S. dollar (USD),
               euro (EUR), Australian dollar (AUD), Polish zloty (PLN), Brazilian real (BRL),
               Mexican peso (MXN), Chinese yuan (CNY), Israeli shekel (ILS) and Thai baht
               (THB).

           •   Defendant Standard Chartered participated in chat rooms discussing the U.S.
               dollar (USD), euro (EUR), Japanese yen (JPY), Australian dollar (AUD), Swiss
               franc (CHF), Brazilian real (BKL) and South African rand (ZAR).

           •   Defendant UBS participated in chat rooms discussing the U.S. dollar (USD), euro
               (EUR), British pound (GBP), Japanese yen (JPY), Swiss franc (CHF), Australian
               dollar (AUD), New Zealand dollar (NZD), Canadian dollar (CAD), Swedish
               krona (SEK), Norwegian krone (NOK) Russian ruble (RUB), South African rand
               (ZAR), Chinese yuan (CNY), Czech koruna (CZK), Hong Kong dollar (HKD),
               Hungarian forint (HUF), Polish zloty (PLN), Singapore dollar (SGD), Turkish lira
               (TRY), Indonesian rupiah (IDR), Indian rupee (INR), South Korean won (KRW),
               Malaysian ringgits (MYR), and Taiwan dollar (TWD).

       133.    Over time, various chat rooms, in furtherance of the conspiracy, evolved to

discuss numerous currency pairs beyond those for which they were originally established. The

Sterling Lads included traders from HSBC, RBS, UBS, Barclays, and Credit Suisse, assigned to

trade “cable,” the nickname for the British pounds sterling and U.S. dollar (GBP/USD) currency

pair. They also discussed many other currencies, including the euro and Japanese yen. The

“Essex Express” included traders from UBS, Barclays, RBS, BOTM, and others, focused on

trading Japanese yen.    Later, this group would delve into other currency pairs, including

EUR/USD. In the “Swiss Mafia,” traders from Citigroup, Credit Suisse, UBS, and other banks

discussed prices for euros, British pounds, Swiss francs, and Swedish krona.



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       134.    Chat room transcripts demonstrate that the traders intended to coordinate their

efforts to move the market in a direction that favored Defendants.           Statements reflecting

coordinated conduct, such as “lets double team em” and “team effort” and “yep you and me bro

we’re going to ruin them,” are replete throughout the chats.          This language evidences an

agreement to execute joint behavior in furtherance of the conspiracy.

       135.    Chats also reflect the success of Defendants’ coordinated effort to fix prices in the

FX market. After the traders had coordinated trades and fixed spreads and spot rates, they would

often congratulate each other on accomplishing a fix on the market with comments like, “[t]hat’s

how its done” and “that’s how to do a fix” and “won’t find that in any textbook.” Often, after

manipulating the WM/Reuters Closing Spot Rates, The Cartel members “would send written

slaps on the back for a job well done.”57

       136.    Chat room transcripts also show that Defendants monitored each other’s activity

to ensure compliance with the overarching conspiracy and threatened to punish traders whose

conduct didn’t conform to the agreement. For example, when JPM took an action that negatively

impacted Citigroup, a Citigroup trader contacted JPM trader #1 via chat. During the chat, JPM

trader #1 promised his co-conspirator at Citigroup that he “just let him [JPM trader #2] have it.”

This caused JPM trader #2 to separately contact the Citigroup trader (again via chat) and

apologize. The Citigroup trader replied, “no worries mate, [JPMorgan trader #1] and I try to

help each other a bit.” The JPM trader #2 recognized the agreement, “grr, yes totally, know you

two help each other out but he didn’t tell me and I had to buy 10.”




57
       Liam Vaughan, Gavin Finch and Bob Ivry, Secret Currency Traders’ Club Devised
Biggest Market’s Rates, BLOOMBERG (Dec. 18, 2013) (http://bloom.bg/1ibwUXj).


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       137.    Defendants used code words to avoid detection from authorities. In one chat, a

trader expressed the need to “run thru [sic] codes with” another trader. One such code was

Defendants’ use of the words “pick” and “pickun” as code for the WM/Reuters London fix.58

Defendants also used code names to identify customers to each other. The FCA noted that “[t]he

value of the information exchanged between the traders and the importance of keeping it

confidential between recipients was clear to participants.”59

       138.    As a direct result of the numerous government investigations, Defendants

Barclays, Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs, JPMorgan, Morgan Stanley,

RBS, and UBS banned their traders from participating in multi-bank chat rooms. Moreover, as a

result of the conduct that occurred in chat rooms, Defendants have terminated or otherwise

overseen the departure of more than 50 individuals with trading or supervisory authority over FX

trading.

               Defendants Conspired to Fix Bid/Ask Spreads Quoted in the Spot Market

       139.    Beginning at a time unknown, but at least as early as January 1, 2003, as part of

their conspiracy to fix prices in the FX market, Defendants conspired to fix the bid/ask spreads

paid by customers for various currency pairs.        As alleged above, there are thousands of

communications involving one or more Defendants reflecting discussions about FX spreads.

These communications show traders at more than 30 banks, including Defendants, participated in

interbank chats where traders coordinated and exchanged information about spreads or customer


58
       Like many of the traders’ euphemisms, the term “pick” or “pickun” is a use of Cockney
rhyming slang, using rhyming words or similar references to refer to a word that could trigger
compliance review of their chats like “fix.” The term “pickun” refers to a candy store present in
the United Kingdom called Pick ‘n’ Mix. Pickun, therefore, refers to the “Fix.”
59
        FCA, Final Notice to Citibank, N.A., Number 124704, ¶4.33 (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/Citibank-na).


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orders.    The conspiracy to fix prices in the FX market affected dozens of currency pairs,

including the seven pairs with the highest market volume.

          140.   Spreads are the most visible and immediate way in which banks compete against

each other for customers. In the FX market, spreads are indicative of price. The bid/ask spread

represents the price a dealer is willing to buy or sell a given volume of currency. Traders use the

terms “spread” and “price” interchangeably.

          141.   Because currency is fungible (there is no difference between one dollar and

another), spreads are therefore a key competitive issue for securing customers. Customers want

narrower spreads, i.e., they want to buy currency for less and sell it for more. Thus, the width of

a spread will impact a Defendant’s competiveness in the FX market. By quoting narrower

spreads than their competitors, Defendants can gain customers and market share. On the other

hand, a decision to widen spreads (or decline to tighten spreads) would result in loss of

customers and market share. Only through collusion could a dealer quote wider spreads without

losing market share and still reap supra-competitive profits.

          142.   Defendants quote bid/ask spreads to their customers in a couple of ways. First,

Defendants provide spread matrices to certain customers on a periodic (usually quarterly) basis.

These matrices list the bid/ask spreads for various volumes and currencies. These matrices are

like a price list, and represent the price that the bank anticipates offering in competition with

other banks. The banks with the tightest spreads are most likely to secure customer business.

Beyond being a list provided to customers, the spread matrices tended to inform Defendants’

views as to what current pricing was in the market.

          143.   Defendants also simply quoted bid/ask spreads to customers throughout the

trading day.



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               1.     Chat Room Transcripts Demonstrate Spread Fixing

       144.    Chat room transcripts confirm that Defendants’ FX spot traders agreed on spreads

they quoted to clients in the FX spot market. When the traders discussed their spreads with each

other, they had an explicit understanding that the spreads discussed would be the spreads quoted

to customers. A trader would artificially adjust his spreads based on the information gained from

other traders in the group. Spreads quoted by Defendants in the FX spot market were wider than

they would have been absent collusion and Plaintiffs paid these supra-competitive prices.

       145.    In The Cartel chat room, traders from Barclays, Citigroup, and UBS conspired to

fix the spreads offered to clients in their spread matrices for EUR/USD. In the example below,

the UBS trader queried whether the spread should be 4 pips for 100 million EUR/USD and 2

pips for 50 million EUR/USD. The Barclays trader responded “only the best not everyone,”

meaning that the pricing UBS quoted can only be offered to good customers. The Citigroup

trader said he’s quoting a spread of 4 pips for 50 million for “a fair few,” meaning a few

customers (clarified to be 10 accounts). The Citigroup trader stated that he hasn’t offered 2 pips

in 50 million to anyone, “it’s never . . . ever 2 in 50.” The UBS trader agreed not to quote 2 in

50, and Defendants have thus established an agreed-upon price floor for EUR/USD.              The

conversation discusses both spread matrices, but also the specific quotes offered to customers.

 TIME (UTC)         TRADER            MESSAGE
 10:42:13           UBS               first sprd matrix of the year…
 10:42:21           UBS               no idea what to puthahaha
 10:44:32           UBS               4 in a ton gents?>anyone?
 10:44:36           UBS               2 in 50?
 10:45:50           Barclays          only the best
 10:45:56           Barclays          not everyone
 10:46:10           Citigroup         ive got 4 in 50 to a fair few
 10:46:14           Citigroup         say 10 accounts
 10:46:16           Citigroup         I have 2 in 50
 10:46:17           Citigroup         to 0
 10:46:23           Citigroup         3 in 50

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 TIME (UTC)          TRADER          MESSAGE
 10:46:26            Citigroup       and 4 in 100 to gd guys
 10:46:31            Citigroup       5 to rest
 10:46:49            Citigroup       mkt is back
 10:46:51            Citigroup       its jan
 10:46:54            Citigroup       now look at screen
 10:46:56            Citigroup       its never
 10:46:57            Citigroup       ever 2 in 50
 10:50:23            UBS             hahahaha I hear ya
 10:50:39            UBS             was jus lookin at the old sheet

       146.   In the Essex Express chat room example below, traders from BOTM, RBS, and

Barclays conspired to fix the spread matrices for EUR/JPY60 provided to customers. The RBS

trader asked the other traders what spread they will quote for the EUR/JPY currency pair in their

spread matrices. The Barclays trader suggested a spread of 90 pips for 1 yard (one billion) and

150 pips for 2 yards (two billion). Traders from RBS and BOTM agreed. The spread matrices

impacted the prices that customers would be offered in the FX spot market throughout the

following quarter.

 TIME (UTC)          TRADER          MESSAGE
 09:50:14            RBS             spread matrix time
 09:50:24            RBS             eurjpy yrd and 2 yrds
                                               ...
 09:51:26            Barclays        well I wud say 2 cud be 150 and 1 90
 09:51:43            RBS             ok
                                               ...
 09:52:02            BOTM            thats what I was going to say

       147.   In another chat room, traders from UBS and Deutsche Bank colluded on spreads

quoted to customers in spread matrices. In the chat below, the UBS trader asked Deutsche Bank

for information relating to the spreads he will offer to clients for the NZD/USD currency pair,

calling it a “spreadsheet excersie [sic].” Deutsche Bank told UBS that he offered a 10 pip spread


60
       EUR/JPY is one of the top ten most traded currency pairs.


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for a volume of 100 million for top tier clients. The UBS trader stated he would offer a spread of

12 pips, effectively widening the spread for the NZD/USD currency pair. The Deutsche Bank

trader then disclosed his spread range for customers trading in NZD.

 TIME (UTC)        TRADER            MESSAGE
 09:42:52          UBS               how wide in 100 nzd this days mate?
 09:43:03          Deutsche Bank     asian I assume
 09:43:07          UBS               spreadsheet excersie
 09:43:09          UBS               nah
 09:43:09          Deutsche Bank     10
 09:43:23          UBS               is that asian or anyone?
 09:44:50          Deutsche Bank     slimy usdcad seller
 09:44:56          Deutsche Bank     no thats top tier
 09:45:09          UBS               cool i ll put it 12
 09:45:13          UBS               what abt 250?
 09:45:21          Deutsche Bank     good guy to shite I am generally 10 - 14

        148.   In a one-on-one chat room with a trader from UBS and a trader from an

unidentified bank, the traders agreed on the prices offered in spread matrices for the British

pound (GBP)/Norwegian krone (NOK), Canadian dollar (CAD)/Swiss franc (CHF), Norwegian

krone (NOK)/Canadian dollar (CAD) and Canadian dollar (CAD)/Japanese yen (JPY). After the

traders agreed on prices, UBS stated, “see I do your spread matrix and mmoved the market for

you.”

 TIME              TRADER            MESSAGE
 08:28:51          Bank              got some ridicouls spread matrix to fill in
 08:28:52          UBS               this is me
 08:28:59          Bank              go you
 08:29:44          UBS               oh god I hate them
 08:29:59          UBS               [client] pay me
 08:30:14          Bank              wnks
 08:30:23          Bank              yeah esp when there are still only 2 of us
 08:30:30          Bank              so trying to watch all odas etc
 08:30:36          Bank              keep an eye on the mkt
 08:30:41          UBS               ha winner
 08:31:10          Bank              and come up with spreads in gbpsek cadnok and cadchf
 08:31:20          Bank              what do I know about that stuff
 08:31:47          Bank              [customer] ontop nzd mpw


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 TIME               TRADER            MESSAGE
 08:31:54           UBS               what you want to know cad chi?
 08:32:09           UBS               15 in a ton
 08:32:18           UBS               28 in 200
 08:32:33           UBS               55 in 500
 08:32:37           UBS               ther eyou go done
 08:33:09           Bank              lovelly
 08:33:12           Bank              gold star for u.A
 08:33:23           Bank              and in 10 n 20 n 50 pls
 08:33:47           UBS               10 in 50
 08:34:00           UBS               5 in 10 and 8 in 20
 08:34:06           Bank              genious
 08:34:31           Bank              dont happen to know cadjpy do ya?
 08:34:39           Bank              :p
 08:35:14           UBS               will be similare but i little lighter
 08:35:24           Bank              cool
 08:35:25           Bank              l
 08:35:57           Bank              i hate this crap
 08:36:19           UBS               8 points in 50 14 in ton 25 in 200
 08:36:21           UBS               etc
 08:36:24           Bank              ta
 08:36:47           Bank              i let you off on the bets youve lost if I could just send you
                                      my matrix
 08:36:49           Bank              ahhaha
 08:37:08           UBS               see I do your spread matrix and mmoved the market for
                                      you
 08:37:10           UBS               haha
       149.    In addition to fixing spread matrices, Defendants continued their conspiracy on a

regular basis, colluding to fix daily spreads quoted to customers in the FX spot market.

       150.    For example, members of the Essex Express, including traders from BOTM, RBS,

Barclays, and UBS discussed how they were going to reach out to other Defendants to keep the

spread wider than it would be under competitive circumstances. Defendants acknowledged their

concern about narrow spreads with two major currency pairs: USD/JPY and EUR/JPY. BOTM

wrote “spreads got to go at some point . . . just need a few banks all to agree to widen.” RBS

responded, “the bigguns,” and then named the banks including “Chase,” referring to JPMorgan




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“Citil,” referring to Citigroup’s London desk “Midi” referring to HSBC,61 “Deul,” referring to

Deutsche Bank’s London desk and “UBS.” Defendants acknowledged a real ability for all of the

major liquidity providers to fix spreads for two major currency pairs within mere minutes.

       151.   In the following example, traders from JPMorgan, Citigroup, and Barclays agreed

on a spread to offer a particular customer and did offer that customer the exact same spread. The

JPMorgan trader inquired how wide to quote the spread for 150 million EUR/USD, and indicated

that he quoted a spread of 6 pips to a customer, but the customer wanted a 5 pip spread. The

Citigroup trader acknowledged that he didn’t “like this guy . . . and he’s asking 2/3 banks at

same time” and agreed to quote “guys like that” a higher spread in the future, effectively

punishing a customer for seeking competitive rates. The Citigroup trader agreed on a spread of 6

pips and offered it to the same customer. The Barclays trader also agreed and offered the same

customer a spread of 6 pips.

 TIME (UTC)        TRADER            MESSAGE
 14:13:57          JPMorgan          how wide 150 at mom lads
 14:14:00          JPMorgan          I showed 6
 14:14:02          JPMorgan          he wants 5
 14:14:11          JPMorgan          6 is good tho I think
 14:14:44          Citigroup         6 is great
 14:14:46          Barclays          great
 14:14:46          Citigroup         I think its 6/7
 14:14:57          JPMorgan          ta
 14:15:58          Citigroup         hahaah
 14:16:03          Citigroup         just passed 40/46 in 150
 14:16:14          Citigroup         I don’t like this guy
 14:16:21          Citigroup         as hes asking 2/3 banks at same time
 14:16:24          Barclays          asked here
 14:16:25          JPMorgan          Barn took a few off me
 14:16:30          Citigroup         id show 6 to gd guys
 14:16:33          Citigroup         but guys liek that
 14:16:36          Citigroup         im gonna show 7 in future

61
       “Midi” was one of HSBC’s login names for Bloomberg.


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 TIME (UTC)        TRADER            MESSAGE
 14:16:39          Barclays          I showed him 6
 14:16:50          Barclays          he got 38/44 37/43 40/46 etc
 14:16:54          Barclays          had everyrate

       152.    In a chat room, members of the Essex Express, including traders from BOTM,

RBS, and Barclays agreed to widen spreads for EUR/CHF.               While they discussed the

“appropriate” spread, the RBS trader inquired about the customer’s nationality, suggesting the

extraordinary familiarity traders can develop through sharing confidential information.

TIME (UTC)         TRADER            MESSAGE
07:15:16           BOTM              I guess u guys all widening spreads slightly
07:15:27           RBS               im going to yes
07:31:40           BOTM              eur/chf insane
07:31:50           RBS               yeap
07:33:21           Barclays          I just made 5 in 22 eur/chf
07:33:23           Barclays          is that tight?
07:33:34           BOTM              way to tighht
07:33:35           RBS               yes
07:33:41           RBS               I made 10 guy dealt
07:33:56           RBS               but someone saying ubs makin g5
07:34:03           RBS               was ur guy French [Barclays trader]
08:08:25           RBS               how wide u think to another banks prop desk in 50 eurchf
08:08:33           RBS               and its from the region
08:08:39           RBS               I made 20
08:08:42           Barclays          yep

       153.    The following chat from the Sterling Lads chat room involved traders from

HSBC, Barclays, and UBS who coordinated spread pricing of the GBP/USD (a/k/a “cable”). In

this example, the HSBC trader asked the group what they believed the spread should be for one

billion GBP/USD. Barclays’ trader initially suggested a spread of 60 pips. The HSBC’s trader

responded, saying that was too tight. The UBS trader agreed, suggesting a spread of 75 pips.

The Barclays trader then agreed to widen the spread up to 80 pips. The UBS trader then

acknowledged that he would propose a range in spreads, with a spread of 75 to a “good guy” and




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a higher spread of 90 or 95 to a “slag.”62 The HSBC trader thanked the group for its input,

saying “cheers.” Prior to input from his supposed competitors, the Barclays trader had been

willing to quote a 60 pip spread, but after just modest prompting, increased his proposed spread

by 20 pips.

TIME (UTC)          TRADER            MESSAGE
07:52:59            HSBC              lads whats the spread in a yard of cable these days
07:53:10            Barclays          60?
07:53:19            HSBC              woo
07:53:28            HSBC              smalls tight I feel
07:53:37            UBS               I would say 75
07:53:37            Barclays          80 sound more like it
07:53:52            UBS               75 to a good guy and 90/95 to a slag
07:54:08            HSBC              cheers

       154.    In another Sterling Lads chat, traders from Credit Suisse and RBS coordinate to

fix the spread for EUR/GBP. A Credit Suisse trader asked a trader from RBS the spread for the

EUR/GBP currency pair at a volume of 200 million. The RBS trader initially suggested a spread

of 10 pips, but then suggested a spread of 12 pips. The Credit Suisse trader responded by saying

“think ill [sic] go 12.” The RBS trader agreed that 12 pips was the “right” spread.

TIME (UTC)          TRADER            MESSAGE
10:46:55            Credit Suisse     what would be eur/gbp in 200 these days
10:47:31            RBS               10
10:47:42            RBS               maybe 12 if u can get away with it
10:48:01            Credit Suisse     10 don’t leave much room does it think ill go 12
10:48:07            RBS               not exactly getting away with it tho is it
10:48:23            RBS               I think 12 is right
10:48:35            Credit Suisse     ta mate

       155.    In the next example, the Sterling Lads coordinated to fix spreads for the

EUR/GBP currency pair. In this chat, traders from Barclays, RBS, and UBS shared confidential

customer order information and agreed on a spread to offer a customer. The UBS trader asked

62
       “Slag” is a derogatory term in British English for a sexually promiscuous woman.


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the group what spread they had offered a particular customer (the “mid east punter”). RBS’s

trader responded that he offered a spread of six pips and Barclays agreed that it should be five or

six pips. UBS’s trader expressed anger at his salesperson for wanting to offer the customer a

three pip spread, calling him a “clown” and stating that he wanted to “belt the muppet.” The

Barclays trader agreed he would not offer the customer a three pip spread, stating, “I don’t show

god 3.” RBS also agreed, stating, “he doesn’t get 3 here, I assure u that.”

TIME (UTC)          TRADER            MESSAGE
                                      how wide do you guys show in 50 to these mid east
08:56:47            UBS               punters?
08:57:54            RBS               6
08:57:58            Barclays          5 or 6
08:58:11            UBS               tks
08:58:12            UBS               tks
08:58:20            RBS               they r laughinf their nuts off
08:59:17            UBS               sales clown here saying he wants 3 as that;s what he gets
                                      away
08:59:33            UBS               honestly .. I just wanna belt the muppet
08:59:43            Barclays          do it
08:59:49            Barclays          I don’t show god 3
08:59:55            RBS               he dosent get 3 here, I assure u that
09:00:05            UBS               ha

       156.    In the example below, traders from Citigroup and Deutsche Bank coordinated

spreads quoted to customers after sharing real-time trading information regarding several

currency pairs in an interbank chat with traders from Barclays, UBS, and RBC. At various

times, this chat room also included traders from Bank of America. Notably, at the end of the

chat depicted below, traders from Deutsche Bank and Citigroup colluded with respect to the

spread for EUR/AUD. After the Citigroup trader asked the group what spread to quote for

EUR/AUD, Deutsche Bank suggested a spread of 25 pips for a volume of 40 million. The

Deutsche Bank trader shared that a client passed when offered a spread of 20 pips.             The

Citigroup trader confirmed that he offered a spread of 25 pips to the customer. The Deutsche


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Bank and Citigroup traders were able to share this confidential order information with each other

to which they effectively set their respective spread floors at 25 pips.

TIME (UTC)          TRADER             MESSAGE
17:31:14            Citigroup          spread in 40 euraud for my peevish satisfaction?
17:34:37            Deutsche Bank      someone jst ask u?
17:34:50            Deutsche Bank      25 on 40
17:34:57            Deutsche Bank      someone jst passed here on 20
17:35:10            Deutsche Bank      what u think
17:35:18            Citigroup          i made 25

       157.    In another example of spread fixing, traders from Deutsche Bank and UBS fixed

spreads in a Reuters chat room. In this conversation, UBS and Deutsche Bank discuss spread

prices for the EUR/GBP currency pair. A Deutsche Bank trader suggested a spread price of 12

to 13 pips, or four pips if the customer sought to transact 100 million of volume. The UBS trader

expressed surprise, but when asked if the spread Deutsche Bank offered was too tight [too

competitive], the UBS trader agreed that a spread of 13 pips is right.           The UBS trader

acknowledged that he “wud [sic] agree” to a spread of “4 in 100” and “13 about rite.”

TIME (UTC)          TRADER             MESSAGE
10:02:44            UBS                ok whats the spread mate u reckon
10:03:34            Deutsche Bank      12 to 13 pips
10:08:05            UBS                blimey ok
10:08:32            Deutsche Bank      too tight?
10:08:40            UBS                nah prob about rite
10:08:58            Deutsche Bank      prob 4 in 100 aint it,,,,
10:10:10            UBS                to be honest think we aint that competitive but wud agree 4
                                       in 100 yes
10:10:42            Deutsche Bank      gone down hill since u left eur gbp son
10:10:47            UBS                hahaha
10:11:02            UBS                13 about rite son

       158.    Members of “the Barrier Killers,” a permanent chat room which included traders

from Bank of America, Credit Suisse, RBC, and UBS, among others, discussed spreads

involving the euro and the Polish zloty (EUR/PLN). Below, traders from Credit Suisse and RBC

agreed on the spread for EUR/PLN.

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TIME (UTC)         TRADER           MESSAGE
08:49:13           RBC              Had to show a very good customer EURPLN in 40.
08:49:20           RBC              How wide with the locals off?
08:50:10           Credit Suisse    40 pips
08:50:27           RBC              Is exactly what I showed [customer name redacted]
08:50:32           RBC              Great minds think alike.
08:50:50           Credit Suisse    haha indeed my friend indeed
08:52:54           RBC              Gave me at 3.3335

       159.   Another permanent chat group included traders from Barclays, BNP Paribas,

Citigroup, Deutsche Bank, RBC, RBS, and UBS who discussed spreads involving at least the

Canadian dollar, New Zealand dollar, and U.S. dollar. This chat room was active from at least

early 2008 to late 2012. In one chat, a Deutsche Bank trader bragged of the “nzd mafia we have

at db.” In that same chat, traders from Deutsche Bank, Citigroup, and RBC discussed spreads for

New Zealand dollar being traded in New York City.

TIME (UTC)         TRADER           MESSAGE
12:24:34           Deutsche Bank    i have no nzd risk on at mom jst that interesting think he s
                                    one of the sharper guys here
12:24:42           Deutsche Bank    part of the nzd mafia we have at db
12:25:54           RBC Trader 1     we got good nzd earlier this week btu was just swallowed
                                    up
12:27:30           RBC Trader 2     I sold a bully nzd yesterday afternoon at one rate. Unheard
                                    of for ny afternoon. 8 pips lower. 50 points higher
12:31:23           Citigroup        i think these guys are still short from the mid 50’s
12:31:40           Citigroup        that being the big figure
1:58:03            RBC Trader 1     doesnt feel like a big risk off day does it

       160.   In another chat in this room, an RBC trader provided his quoted spreads to the

group for the USD/CAD currency pair.

TIME (UTC)         TRADER           MESSAGE
10:17:29           RBC              I just sold ton usd/cad
10:17:33           Barclays         ta
10:17:36           RBC              fun rate to make
10:17:42           RBC              err 80 30?
10:17:48           Barclays         yep what sprea u show in that? 20
10:17:56           RBC              yeah
10:18:00           RBC              and gave some pips back


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       161.   In other chats, traders from RBC asked about spreads involving EUR/CHF and

AUD/JPY.

TIME (UTC)         TRADER           MESSAGE
19:50:47           RBC              how wide in 20 eurchf these days?
19:56:47           UBS              sry
19:57:09           UBS              4-5
19:57:15           RBC              coo t
                                                * * *
20:37:49           RBC              as a question . . . how wide in 100 aud jpy . . . mid morning
                                    to a hammer type guy
20:38:30           UBS              10-12
20:38:38           UBS              pips
20:38:42           RBC              got it
20:38:47           UBS              cheers

       162.   Another permanent chat room, named “Slllaaaaggggsssss2,” demonstrates how

multiple Defendants would, throughout the course of the day, discuss both spreads and fixes in

the same chat room. Members of Slllaaaaggggsssss2 included traders from Barclays, Credit

Suisse, HSBC, RBS, and UBS. Earlier in the day, an RBS trader asked the group: “wats latest

spread on 50 eurchf?” And a Credit Suisse trader replied: “7.” The RBS trader thanked him,

“ta.” Several hours later, the RBS trader discussed with traders from Barclays and UBS trading

at the WM/Reuters fix.

 TIME (UTC)          TRADER                  MESSAGE
 14:49:16            RBS                     any fix?
 14:49:20            RBS                     im rhs eurusd 130
 14:50:11            Barclays                we’re LHS 32 EUR [RBS]?
 14:50:24            UBS                     lhs 45 here [RBS]
 14:50:38            RBS                     match you both then
 14:50:43            UBS                     done
 14:50:55            Barclays [Trader 2]     thanks
 15:05:19            RBS                     1.3637 fix

       163.   In the following chat room, traders from Bank of America, Citigroup, HSBC,

JPMorgan, Standard Chartered, and UBS discussed spreads for EUR/CHF (Swiss franc), and the


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upcoming WM/Reuters Fix. The JPMorgan trader asked the group what spread to offer for a

volume of 100 EUR/CHF. The HSBC trader suggested a spread of 8 pips, then raised it to 10

pips. HSBC disclosed that they offered a spread of 15 pips for 200 EUR/CHF to a customer on

another day. The Bank of America trader then suggested a spread of 8 pips on 100 EUR/CHF,

but stated that a spread of 10 pips was better. The Citigroup trader stated that a spread of 8 pips

was “way to gooid,” and suggested a 15 pip spread, but 12 pips was the minimum. During this

time, the group also discussed trading strategies heading into the WM/Reuters Fix. The UBS

trader told the group that he was going to have some interest going in the WM/Reuters Fix

(“gonna have some int. wm”). After traders from Standard Chartered and UBS discuss another

trader who is still on holiday (“hols”), the Standard Chartered trader said he would ask the other

trader’s colleague whether anyone would be trading opposite to UBS at the Fix. The JPMorgan

trader then asked the group to “let us know soon as so he can front run” his orders before the

group influenced the price of the Fix.

  TIME (UTC)           TRADER                  MESSAGE
  13:16:45             JP Morgan               guys
  13:16:51             JP Morgan               spread in 100 eurchf
  13:17:06             Bank of America         3
  13:17:09             HSBC                    8
  13:17:14             HSBC                    ch
  13:17:18             HSBC                    10
  13:18:22             UBS                     chappies ….. gonna have some int. wm ….
                                               [Trader] …. will know more a bit closer so keep
                                               me in touchu never know someone out there may
                                               have the other sidelll
  13:19:00             Standard Chartered      [Trader] always has end of the month or is he
                                               still on hols
  13:19:38             UBS                     hols
  13:19:41             UBS                     i know tad annoying
  13:20:15             Standard Chartered      i will ask his collegue for you [Trader]
  13:20:22             UBS                     cant call him in [location] and ask him to call
                                               [Trader] can i!!
  13:20:27             UBS                     merci buckets
  13:20:30             Standard Chartered      hahahah

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  TIME (UTC)            TRADER                      MESSAGE
  13:20:39              JP Morgan                   [Trader] says if u can let us know as soon as so
                                                    he can front run u itd be appreciated
  13:21:00              JP Morgan                   so [Trader] that was 10?
  13:21:02              JP Morgan                   in 100 eurchf
  13:21:05              JP Morgan                   rock?
  13:21:06              Bank of America             will do [redacted]
  13:21:09              JP Morgan                   wow
  13:21:10              JP Morgan                   ok
  13:21:14              JPMorgan                    [Trader]?
  13:21:15              Bank of America             3
  13:21:18              JPMorgan                    seriously
  13:21:22              JPMorgan                    need to know
  13:21:24              HSBC                        we did 15 in 200 the other day n got [redacted]
  13:21:27              Bank of America             im pretty fierce
  13:21:32              JP Morgan                   i can imagine who that 200 was
  13:21:38              JP Morgan                   we got dealt on in that size too
  13:21:40              JP Morgan                   just lost 100
  13:21:41              JP Morgan                   to same fella
  13:21:48              Bank of America             [Trader] says 8
  13:21:53              Bank of America             but 10 better
  13:21:55              JP Morgan                   ok thanks mate
  13:22:10              Citigroup                   8 is way too gooid
  13:22:14              Citigroup                   no way
  13:22:22              UBS                         trust me
  13:22:29              UBS                         u will get killed on 10
  13:22:35              HSBC                        yep
  13:22:43              Citigroup                   id say its more like 15
  13:22:56              HSBC                        should be yes but ….. .
  13:23:04              Citigroup                   12 minimum

       164.    In the chat example below, traders from JPMorgan, Merrill Lynch, and Morgan

Stanley discuss the spread for “kiwi,” i.e., New Zealand dollar (NZD)/U.S. dollar. Here, the

Morgan Stanley trader asked the group what spread they were quoting to customers and after

discussing a range of spreads from 6 pips to 10 pips, agreed that the spread should be 10 pips.

Ironically, a trader for Merrill Lynch stated “not allowed to talk about spreads,” but then added

“think the price to get out flat is probably 10.”

  TIME (UTC)            TRADER               MESSAGE
  02:04:13              Morgan Stanley       what u guys show in 50 kiwi these days


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  TIME (UTC)          TRADER               MESSAGE
  02:04:30            Morgan Stanley       today 3 pips wide in smalls pretty much . . . not easy job
  02:06:39            Morgan Stanley       love the fact that was told FULL AMT next thing kiwi 5
                                           pips lower lolol
  02:07:14            JPMorgan             I guess prob yo uneed 6 or 7 wide?
  02:07:22            JPMorgan             but won’t be able to get out
  02:07:24            JPMorgan             don’t think
  02:07:29            Morgan Stanley       showed 7 but was thinking 8 is fair
  02:07:40            Morgan Stanley       probably still can lose money
  02:07:44            JPMorgan             yup prob hard to get out with 7
  02:07:47            JPMorgan             ye
  02:07:47            Merrill Lynch        f that
  02:07:50            JPMorgan             reckon
  02:07:56            Merrill Lynch        in regular market
  02:07:58            Merrill Lynch        to clear 50
  02:08:03            Merrill Lynch        you need 8-10 wide
  02:08:07            Merrill Lynch        if you want to be flat
  02:08:08            Merrill Lynch        I think
  02:08:15            Morgan Stanley       yes 8minimum
  02:08:18            Merrill Lynch        not allowed to talk abotu spreads **
  02:08:22            Morgan Stanley       so I always wait a bit
  02:08:32            Merrill Lynch        but it hink the price to get out flat is probably 10
  02:08:36            Morgan Stanley       ah okok

       165.    In another chat, Morgan Stanley, JPMorgan, and UBS discussed spread prices for

“cable,” i.e., British pound (GBP)/U.S. dollar. Morgan Stanley agreed with the other traders that

the spread should be 10 pips for 70 million, and 12-13 pips for 100 million.

  TIME (UTC)          TRADER               MESSAGE
  01:58:58            Bank                 mate, question on spread
  01:59:24            Bank                 70cable
  01:59:27            Bank                 how wide u go
  01:59:56            UBS                  10?
  02:00:25            BankA                thanks thanks
  02:00:32            JPMorgan             id go 10
  02:00:43            Bank                 100cable, 12?
  02:00:53            JPMorgan             prob 12-13
  02:00:54            UBS                  yer I reckon so
  02:00:00            Bank                 Yaaa, thanks man
  02:00:26            Morgan Stanley       yeah 10 for 70, 12-13 for 100.




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        166.    Defendants did not limit their collusion to major currency pairs; rather, they

colluded with respect even to emerging market currencies.

        167.    For instance, in its order fining Barclays, the New York Department of Financial

Services highlighted a series of examples. In one such example, a “Barclays FX trader explicitly

discussed with a JP Morgan trader coordinating the prices offered for USD/South African Rand

to a particular customer, stating, in a November 4, 2010 chat, ‘if you win this we should

coordinate you can show a real low one and will still mark it little lower haha.’ After the JP

Morgan trader suggested that they ‘prolly shudnt put this on perma chat,’ the Barclays trader

responded ‘if this is the chat that puts me over the edge than oh well. much worse out

there.’”63

        168.    Several months later, this Barclays trader was “still instructing traders at other

banks to follow his lead. On February 25, 2011, a Standard Chartered FX trader asked ‘what bid

you want me to show if somwone calls’ and the Barclays trader responded ‘up to 02.’ The

[Standard Chartered] trader said ‘okok’ and ‘ill let you know if we get asked.’”64

        169.    In the following chat from the “Barrier Killers,” traders from Bank of America,

Credit Suisse, and RBC, discussed the appropriate spread to quote a customer for USD/ZAR

(South African rand):

     TIME (UTC)         TRADER              MESSAGE
     13:06:20           Credit Suisse       how wide is 100 usdzar?
     13:07:24           RBC                 Ummmm.
     13:07:54           RBC                 I know it sounds silly. But I would probably have to
                                            say 9/10 bfs.


63
        New York State Department of Financial Services, In the Matter of Barclays Bank PLC,
Consent Order Under New York Banking Law ¶34 (May 20, 2015)
(http://www.dfs.ny.gov/about/ea/ea150520.pdf) (emphasis added).
64
        Id., ¶36.


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  TIME (UTC)          TRADER               MESSAGE
  13:08:21            Credit Suisse        I felt silly saying 700 pips
  13:08:26            Credit Suisse        but u probably still die on it
  13:09:16            Bank of America      u would die but agree 8 to 10
  13:09:21            Bank of America      common [RBC Trader]
  13:09:28            Bank of America      1 big fig?
  13:09:29            Credit Suisse        [RBC Trader] has to make 150 pips
  13:09:59            Credit Suisse        in up to 500 USD
  13:10:09            Bank of America      choice
  13:10:18            Bank of America      just put it in my book
  13:10:20            Bank of America      hahha
       170.   Société Générale was a member of a permanent chat room group with traders

from BNP Paribas, HSBC, RBC, RBS, and UBS. In the example below, traders from BNP

Paribas, HSBC, and Société Générale discussed spreads for USD/THB (Thai baht) and

USD/MNX (Mexican peso). The Société Générale trader asked the group what the spread

should be for USD/THB, but asked for an instant quote instead of what was reflected in UBS’s

spread matrix. HSBC replied with a spread of 6 to 6.5, and the Société Générale trader thanked

him.   Next, the Société Générale trader asked the group what the spread should be for

USD/MNX. The BNP Paribas trader responded that a “dodgy HF” (hedge fund) asked for a

quote for a volume of 25 USD, but that he was “barn doored.” The Société Générale trader

stated that he offered a spread of 100 pips to the same customer. The BNP Paribas trader said he

offered him double that, or 200 pips. The Société Générale trader then agreed to offer the same

spread of 200 pips to the next customer.

  TIME (UTC)          TRADER               MESSAGE
  10:06:24            Société Générale     guys what is spread in 100 usdthb pls?
  10:06:28            Société Générale     not ubs matrix pls
  10:07:40            Société Générale     pls
  10:19:49            HSBC                 6/6.5 miro
  10:19:56            Société Générale     thks vm
                                           ***
  10:20:36            Société Générale     usdmnx?
  10:21:50            BNP Paribas          dodgy HF
  10:21:58            BNP Paribas          asked 25 usd here


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  TIME (UTC)           TRADER              MESSAGE
  10:22:03             BNP Paribas         barn doored
  10:22:07             Société Générale    oki
  10:22:11             Société Générale    hit me
  10:22:17             BNP Paribas         arrrrrrrghhhhhhh
  10:22:26             Société Générale    i was 100 wide
  10:22:29             Société Générale    only
  10:22:37             BNP Paribas         i was double
  10:22:39             BNP Paribas         that
  10:22:41             Société Générale    oki
  10:22:43             Société Générale    noted
  10:22:46             Société Générale    11 be the same next time
         171.   As the above chats demonstrate, Defendants routinely agreed on the spreads for

numerous currency pairs.

                Defendants Conspired to Fix the Benchmark Rates

         172.   Beginning at least as early as January 1, 2003, Defendants conspired to

manipulate the Fixes. Defendants communicated with one another, including in chat rooms, via

instant messages, and by email, to carry out their conspiracy. Through these communications,

Defendants regularly exchanged their customers’ confidential order flow information before the

Fixes.     Exploiting shared confidential information, Defendants executed concerted trading

strategies designed to manipulate, and which actually did manipulate, the Fixes.

         173.   Defendants’ collusive actions allowed them to substantially reduce their risk in

FX trading and to reap supra-competitive profits at the expense of Plaintiffs and the Classes.

Defendants faced less risk in their market making activity recorded in the Defendants’ front

book. Additionally, Defendants’ traders could reap even greater profits for their proprietary

(prop) trades made on behalf of their bank and recorded in their individual back books.

                1.     The Fixes Are Susceptible to Collusive Manipulation

         174.   Defendants understood that the methodology used to calculate the WM/Reuters

Closing Spot Rates is vulnerable to manipulation. For example, in a July 4, 2008 meeting of the


                                               65
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Bank of England’s Foreign Exchange Joint Standing Committee, Chief Dealers’ Sub Group, the

WM Company gave a presentation on the median calculation of the WM/Reuters rates to chief

currency traders from RBS, HSBC, Deutsche Bank, Morgan Stanley, JPMorgan, and Citigroup.

In response to this presentation, the chief dealers in attendance admitted that the methodology

was susceptible to manipulation:

              It was noted that WM/Reuters do not use traded volumes data in
              the calculation of the spot rates. While they have access to Reuters
              volume data, the same is not the case for EBS data. The Chief
              Dealer group agreed that actual traded volumes is a key
              consideration in the calculation of accurate fixings and suggested
              that this would be a useful next step in the development of
              WM/Reuters’ model. Furthermore it was suggested that using a
              snapshot of the market may be problematic, as it could be subject
              to manipulation.       Perhaps WM could use a window of
              observations, and determine at what point to fix using volume
              data.65

       175.   As explained below, Defendants seized on the weakness in this methodology and

colluded to manipulate the WM/Reuters Closing Spot Rates.

       176.   The ECB Fix is essentially a snapshot of the market rate at exactly 1:15 p.m.

GMT or 2:15 p.m. CET. The ECB publishes rates for its 32 currencies by averaging the buying

and selling prices of each currency against the euro at 1:15 GMT.


65
        The Chief Dealers’ Sub Group of the Bank of England’s Foreign Exchange Joint
Standing Committee was established in 2005 for the purpose of facilitating discussions between
chief dealers at major dealer banks and Bank of England staff concerning developments in the
foreign exchange markets. The Chief Dealers’ Sub Group consists of 11 chief traders active in
the London FX market and top Bank of England officials. The Chief Dealers’ Sub Group meets
three to four times per year. Between 2005 and 2013, representatives from Defendants Barclays
(2005-2012), BOTM (2005-2013), Merrill Lynch (Bank of America) (2006-2007), HSBC (2007-
2013), JPMorgan (2007-2009, 2011-2013), Morgan Stanley (2005-2008, 2010-2011), Goldman
Sachs (2009-2013), BNP Paribas (2009-2013), Deutsche Bank (2005-2012), RBS (2005-2013),
UBS (2005-2013), Credit Suisse (2005-2008), and Citigroup (2005-2013), participated in the
Chief Dealer’s Sub Group. Foreign Exchange Joint Standing Committee Chief Dealers’ Sub
Group      Meeting     Minutes,   2005-2013     (http://www.bankofengland.co.uk/publications/
Documents/foi/disc050314.pdf).


                                               66
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       177.    Because the ECB Fix represents a “flash” fix, a fixing that reflects a rate at a

particular moment in time, Defendants have repeatedly targeted their trades for that precise

moment in time in an attempt to substantially skew the rates.

               2.        Defendants Shared Confidential Customer Order Information to
                         Manipulate Benchmark Rates, Including the WM/Reuters Closing
                         Spot Rates

       178.    Through electronic means, Defendants shared their confidential customer order

information with one another. Each Defendant aggregated its customers’ orders to determine

what its individual net position in a specific currency was going to be at the Fix. Defendants

then shared this information with one another to determine their aggregate net position in a

specific currency at the Fix. By sharing and aggregating their confidential customer order flows,

Defendants could more precisely predict how the market would move than would have been

possible acting alone.

       179.    Defendants’ sharing of their confidential customer information violates the

Federal Reserve Bank of New York’s “Guidelines for Foreign Exchange Trading Activities,”

which have been in place for decades. Specifically, the Guidelines note:

               Confidentiality and customer anonymity are essential to the
               operation of a professional foreign exchange market. Market
               participants and their customers expect that their interests and
               activity will be known only by the other party to the transaction . . .
               and an intermediary, if one is used.

               It is inappropriate to disclose, or to request others to disclose,
               proprietary information relating to a customer’s involvement in a
               transaction . . . .66

                                         *       *       *

66
       Federal Reserve Bank of New York, Guidelines for Foreign Exchange Trading Activities,
Foreign Exchange Committee, at 11 (May 2008) ) (http://www.newyorkfed.org/fxc/
2008/fxc051608a.pdf)(emphasis added).


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               Customer anonymity should not be circumvented with the use of
               slang or pseudonyms. If confidentiality is broken, management
               must act promptly to correct the conditions that allowed the event
               to occur . . . . Staff should not pass on confidential and
               nonpublic information outside of their institution.              Such
               information includes discussions with unrelated parties
               concerning their trades, their trading positions, or the firm’s
               position. It is also inappropriate to disclose, or to request others to
               disclose, information relating to a counterparty’s involvement in a
               transaction . . . .

               Trading room staff should take special precautions to avoid
               situations involving or appearing to involve trading on nonpublic
               information.67

       180.    Defendants have already produced evidence to government investigators

confirming that their traders “inappropriately share[d] market-sensitive information with

rivals.”68 Defendants acknowledged in their respective plea agreements that the Department of

Justice would have been able to prove that the pleading Defendants “engaged in

communications, including near daily conversations, some of which were in code, in an

exclusive electronic chat room, which chat room participants, as well as others in the FX Spot

Market, referred to as ‘The Cartel’ or ‘The Mafia.’”69

       181.    Evidence obtained by government investigations confirms that “[s]hortly before

the fix . . . it was common for a group of senior currency traders to discuss with their competitors

the types and volume of trades they planned to place.”70 A transcript provided by RBS to the

UK-FCA revealed that a trader, reportedly, JPMorgan’s Richard Usher, wrote “messages to

67
       Id. at 26.
68
      Chiara Albanese, Katie Martin and David Enrich, Banks Fix on Sales in Probe, WALL
STREET JOURNAL (Nov. 19, 2013) (http://on.wsj.com/P2iHS8).
69
       See, e.g., U.S.A. v. Barclays plc, Plea Agreement, ¶4(h) (D. Conn. May 19, 2015).
70
        Katie Martin and David Enrich, Forex Probe Uncovers Collusion Attempts, Global
Investigation Has Reportedly Found London-Based Traders Worked Together in Trying to
Manipulate Currencies, WALL STREET JOURNAL (Dec. 19, 2013) (http://on.wsj.com/1o1Y0Wr).


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traders at other firms [that] included details of his trading positions.” 71 Defendants’ traders

confirmed that “chatroom discussions between rival traders . . . allowed them to share

information about pricing and order books.”72

       182.   A number of Defendants have admitted to the Bank of England that they shared

their confidential customer information.    On April 23, 2012, the Foreign Exchange Joint

Standing Committee, Chief Dealers’ Sub Group met at BNP Paribas’ London office. Citigroup’s

Rohan Ramchandani, who was one of The Cartel members, was present. James Pearson (RBS),

and Martin Millet (Bank of England) were also present.73 A person familiar with the UK-FCA’s

investigation disclosed to the media that a senior trader present at the meeting turned over his

meeting notes. According to the notes, the traders told Bank of England officials that they

shared information about customer orders before currency benchmarks were set.74 The official

meeting minutes concealed the admissions made at the meeting.75

       183.   In March 2014, the Bank of England suspended a staff member as it launched an

internal investigation into whether employees knew about or condoned manipulation of the

71
     Gavin Finch, Liam Vaughan, and Suzi Ring, Ex-RBS Trader in U.K. Probe Said to Be
JPMorgan’s Usher, BLOOMBERG (Oct. 14, 2013) (http://bloom.bg/1ip3Yer).
72
      Daniel Schafer, Alice Ross and Delphine Strauss, Foreign exchange: The big fix,
FINANCIAL TIMES (November 12, 2013) (http://www.ft.com/cms/s/2/7a9b85b4-4af8-11e3-8c4c-
00144feabdc0.html#axzz3fnepy5Pj)

73
        Foreign Exchange Joint Standing Committee Chief Dealers’ Sub Group, Minutes of the
23 April 2012 12 pm Meeting at BNP Paribas, 10 Hareware Avenue, London, NW1 6AA
(http://www.bankofengland.co.uk/publications/Documents/foi/disc140207.pdf ).
74
       Suzi Ring, Gavin Finch and Liam Vaughan, BOE Staff Said to Have Condoned Currency
Traders’ Conduct, BLOOMBERG (Feb. 7, 2014) (http://bloom.bg/1d5bQmn).
75
        Foreign Exchange Joint Standing Committee Chief Dealers, Minutes of the 23 April 2012
12pm Meeting at BNP Paribas, 10 Hareware Avenue, London, NW1 6AA
(http://www.bankofengland.co.uk/publications/Documents/foi/disc140207.pdf ).




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WM/Reuters Closing Spot Rates. The Bank of England’s investigation included the search and

review of 15,000 emails, 21,000 Bloomberg and Reuters chat room transcripts, and more than 40

hours of telephone records. At least four chief traders who participated in the Bank of England’s

Chief Dealers’ Sub Group have been terminated by their institutions.

               3.     Methods of Fixing the Fixes

       184.    On May 20, 2015, four Defendants (Barclays, Citigroup, JPMorgan, and RBS)

pleaded guilty to violations of Section 1 of the Sherman Act in the United States District Court

for the District of Connecticut. In each of the plea agreements, the banks acknowledged that

“[h]ad this case gone to trial, the United States would have presented evidence sufficient to prove

the following facts: . . . The defendant and its co-conspirators carried out the conspiracy to

eliminate competition in the purchase and sale of the EUR/USD currency pair by various means

and methods including, in certain instances, “by: . . . coordinating the trading of the EUR/USD

currency pair in connection with European Central Bank and World Markets/Reuters benchmark

currency ‘fixes’ which occurred at 2:15 PM (CET) and 4:00 PM (GMT) each trading day . . . .”76

       185.    In executing their coordinated trading, Defendants employed a number of trading

tactics to fix the Fixes, including “front-running,” “banging the close,” “painting the screen,”

“netting off,” “building,” “giving the ammo,” “taking the ammo,” “taking out the filth,” and

“clearing the decks.” Defendants undertook these activities together in order to minimize their

risks and maximize the impact of their scheme.


76
        See, e.g., U.S.A. v. Barclays PLC, Plea Agreement, ¶6 (http://1.usa.gov/1Hzn6mf).
United       States     v.     Citicorp,      Plea    Agreement     (May      19,     2015)
(http://www.justice.gov/file/440486/download ); United States v. JPMorgan Chase & Co., Plea
Agreement (May 19, 2015) (http://www.justice.gov/file/440491/download); United States v. The
Royal      Bank     of     Scotland,     plc,    Plea   Agreement     (May     19,    2015)
(http://www.justice.gov/file/440496/download).


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       186.    Each of these manipulative strategies was accomplished through the sharing of

confidential customer information and trading positions. By sharing their individual trading

positions, Defendants gained an understanding of the overall order flows across the FX market.

According to traders, banks “would share details of orders with brokers and counterparts at

banks through instant messages to align their strategies” and “improve their chances of getting

the desired move in the benchmark.”77

                       a.     “Front-Running”/“Trading Ahead”

       187.    Traders “front run” on customer information when they receive customer orders

that could move the market and then trade their own proprietary positions prior to executing their

customers’ market-moving trades. Large client orders come from, for example, tracker funds,

which typically place orders as much as an hour before the WM/Reuters Closing Spot Rates are

set. Such an order gives traders information about the direction the market will move, and

traders from the largest dealer banks have admitted that they use the information to take

positions that benefit the bank – to their customers’ detriment.

       188.    According to a former trader, even one large transaction can move the market.

The trader stated:

               [I]f he received an order at 3:30 p.m. to sell 1 billion Euros ($1.3
               billion) in exchange for Swiss francs at the 4 p.m. fix, he would
               have two objectives: to sell his own euros at the highest price and
               also to move the rate lower so that at 4 p.m. he could buy the
               currency from his client at a lower price.

               He would profit from the difference between the reference rate and
               the higher price at which he sold his own euros. A move in the



77
       Liam Vaughan, Gavin Finch and Ambereen Choudhury, Traders Said to Rig Currency
Rates to Profit Off Clients, BLOOMBERG (June 12, 2013) (http://bloom.bg/1qGQ3oy).


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               benchmark of 2 basis points [0.02 percent], would be worth
               200,000 francs ($216,000).78

       189.    Nevertheless, absent collusion, a Defendant “front running” the market would still

face the risk that another Defendant with a larger position could trade in the opposite direction at

the same time. If this were to happen, a Defendant’s strategy would backfire, and it would, in

industry parlance, get “run over.” For instance, if in the above example, the trader decided to

sell 1 billion euros in exchange for Swiss francs, but another market participant traded the

opposite direction and sold Swiss francs for 2 billion euros, the market price would move higher,

not lower, as the trader had anticipated based on his client’s order. If, as a consequence, the

market moved 2 basis points higher, the trader would lose 200,000 francs ($216,000) on the

transaction.

       190.    Absent collusion and manipulation, executing trades at the Fixes would pose more

risk for Defendants than other order types. It poses more risk because, by agreeing to trade at a

rate determined sometime in the future (even the relatively near future), there is a greater time

period for market movements. By agreeing to execute at a Fix before the Fix occurs, the bank

faces a risk not present in trades executed immediately, that the market will have moved against

its position in the interim. In addition, the Fix price represents midpoint price. Buy and sell

orders are filled at the same price as opposed to ordinary orders where banks fill bid or buy

orders at a price less than they fill ask or sell orders. Despite this increase in risk, Defendants

commonly incentivized their sales forces, through items such as increased “sales credits,” to

execute transactions at the WM/Reuters Closing Spot Rates.



78
       Id.; Liam Vaughan, Gavin Finch and Bob Ivry, Secret Currency Traders’ Club Devised
Biggest Market’s Rates, BLOOMBERG (Dec. 18, 2013) (http://bloom.bg/1ibwUXj).


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       191.    To limit this risk of being “run over,” Defendants agreed to “front run” together

by “improperly working as a pack” and agreeing “to a sequence for placing their own trades to

their advantage.”79

                      b.      “Banging the Close”

       192.    Defendants also engaged in “banging the close” to manipulate the Fixes and

thereby fix the prices of FX Instruments. “Banging the close” occurs when traders break up

large customer orders into small trades and concentrate the trades in the moments before and

during the Fix calculation window in order to spike the published rates up or down. Because the

WM/Reuters Closing Spot Rates are known to be based on the median of trades during the

calculation window and not weighted for the average notional amount of a transaction, the rates

are readily susceptible to manipulation by “banging the close.” That is, because WM/Reuters

looks only at trades and not at their relative volume, a trader would have substantially more

influence over the Closing Spot Rates by breaking a $100,000,000 trade into 100 trades, rather

than executing one trade for the whole amount.

       193.    As explained by numerous sources, “[t]o maximize profit, dealers would buy or

sell client orders in installments during the 60-second window to exert the most pressure possible

on the published rate . . . . Because the benchmark is based on the median of transactions during

the period, placing a number of smaller trades could have a greater impact than one big deal.”80


79
         Katie Martin and David Enrich, Forex Probe Uncovers Collusion Attempts, WALL
STREET JOURNAL (Dec. 19, 2013) (http://on.wsj.com/1h7x0j4); Liam Vaughan, Gavin Finch and
Ambereen Choudhury, Traders Said to Rig Currency Rates to Profit Off Clients, BLOOMBERG
(June 12, 2013) (http://bloom.bg/1qGQ3oy); Liam Vaughan, Gavin Finch and Bob Ivry, Secret
Currency Traders’ Club Devised Biggest Market’s Rates, BLOOMBERG (Dec. 18, 2013)
(http://bloom.bg/1ibwUXj).
80
       Liam Vaughan, Gavin Finch and Ambereen Choudhury, Traders Said to Rig Currency
Rates to Profit Off Clients, BLOOMBERG (June 12, 2013) (http://bloom.bg/1qGQ3oy).


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                        c.     “Painting the Screen” and Other Tactics

       194.    Defendants also manipulated at least the WM/Reuters Closing Spot Rates (and

thereby fixed the prices of numerous FX Instruments) by “painting the screen.” “Painting the

screen” occurs when Defendants place phony orders with one another to create the illusion of

trading activity in a given direction in order to move rates prior to the fixing window. After the

relevant fix is calculated, Defendants reverse those trades.

       195.    The FCA found that traders also manipulated the fix in the desired direction by

undertaking the following actions:81

               a.       Traders in a chat room with net orders in the opposite direction to the
                        desired movement at the fix sought before the fix to transact or “net off”
                        their orders with third parties outside the chat room, rather than with other
                        traders in the chat room. This maintained the volume of orders in the
                        desired direction held by traders in the chat room and avoided orders being
                        transacted in the opposite direction at the fix. Traders within the market
                        have referred to this process as “leaving you with the ammo” or similar.

               b.       Traders in a chat room with net orders in the same direction as the desired
                        rate movement at the fix sought before the fix to do one or more of the
                        following:

                      i.       net off these orders with third parties outside the chat room,
                               thereby reducing the volume of orders held by third parties that
                               might otherwise be transacted at the fix in the opposite direction.
                               Traders within the market have referred to this process as “taking
                               out the filth” or “clearing the decks” or similar;

                     ii.       transfer these orders to a single trader in the chat room, thereby
                               consolidating these orders in the hands of one trader. This
                               potentially increased the likelihood of successfully manipulating
                               the fix rate since that trader could exercise greater control over his
                               trading strategy during the fix than a number of traders acting
                               separately. Traders within the market have referred to this as
                               “giving you the ammo” or similar; and

81
        See, e.g., FCA, Final Notice to Citibank, N.A., Number 124704, ¶4.36 (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/citibank-na).




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                   iii.      transact with third parties outside the chat room in order to
                             increase the volume of orders held by them in the desired direction.
                             This potentially increased the influence of the trader(s) at the fix
                             by allowing them to control a larger proportion of the overall
                             volume trades at the fix than they would otherwise have and/or to
                             adopt particular trading strategies, such as trading a large volume
                             of a currency pair aggressively. This process was known as
                             “building.”

              c.      Traders increased the volume traded by them at the fix in the desired
                      direction in excess of the volume necessary to manage the risk associated
                      with the firms’ net buy or sell orders at the fix. Traders within the market
                      have referred to this process as “overbuying” or “overselling.”82

       196.   Thus, by agreeing in chat rooms to coordinate their trading in the manner

described above, Defendants manipulated the Fixes.

              4.      Manipulation of the WM/Reuters Closing Spot Rates

       197.   As described above, Defendants engaged in a number of manipulative and

collusive tactics with respect to the WM/Reuters Closing Spot Rates.

       198.   As one example, on January 1, 2012, members of The Cartel, including traders

from Citigroup and JPMorgan, coordinated trading to manipulate the EUR/USD, identifying

their discussion as relating to the WM/Reuters Fix through a code word ‒ “pickun.”83


82
        FCA, Final Notice to Citibank, N.A., Number 124704, ¶4.36 (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/citibank-na).
83
        The CFTC referenced this chat as an example of JPMorgan’s and Citi’s misconduct in
attempting to manipulate the EUR/USD currency pair just ahead of the WM/Reuters 4 p.m. fix.
See In the Matter of Citibank, N.A., CFTC Docket No. 15-03, Order Instituting Proceeding
Pursuant to Sections 6(c)(4)(A) and 6(d) of the Commodity Exchange Act, Making Findings, and
Imposing Remedial Sanctions, at 7 (Nov. 11, 2014) (http://www.cftc.gov/ucm/
groups/public/@lrenforcementactions/documents/legalpleading/enfcitibankorder111114.pdf); In
the Matter of JPMorgan Chase Bank, N.A., CFTC Dkt. No. 15-04 (Nov. 11, 2014) at 7-8
(http://www.cftc.gov/ucm                       /groups/public/@lrenforcementactions/documents/
legalpleading/enfjpmorganorder111114.pdf); see also CFTC Examples of Misconduct in Private
Chat Rooms, Traders Coordinate in an Attempt to Manipulate the EUR/USD Fix (available
online      http://www.cftc.gov/ucm/groups/public/@newsroom/documents/file/hsbcmisconduct
111114.pdf).


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TIME (UTC)           TRADER             MESSAGE
15:51:21             JPMorgan           ok, I got a lot of euros
15:51:25             Citigroup          ?
15:51:28             Citigroup          u selling?
15:51:30             JPMorgan           yes
15:51:33             Citigroup          now
15:51:35             Citigroup          or pickun
15:51:39             JPMorgan           pick un

        199.    The traders (along with a trader from UBS) continued to discuss their approach

and appear to agree to front run a customer order. Having indicated that they were discussing a

trade at the WM/Reuters Fix, the traders reached an agreement to “double team” the “pickun.”

In this chat, the traders coordinated not only the side of their trades, but the timing of their trades,

making demands of each other and extracting promises to comply with the collusive agreement.

TIME (UTC)           TRADER             MESSAGE
15:51:46             JPMorgan           u want it?
15:52:24             Citigroup          ill take it [JP Morgan trader]
15:52:26             Citigroup          if u don’t want it
15:52:39             JPMorgan           tell u what
15:52:42             JPMorgan           lets double team it
15:52:45             JPMorgan           how much u got
15:52:46             Citigroup          ok
15:52:47             Citigroup          300
15:52:52             Citigroup          U?
15:53:01             JPMorgan           ok ill give u 500 mor
15:53:05             Citigroup          wow
15:53:06             Citigroup          Ok
15:53:08             Citigroup          ha
15:53:09             Citigroup          cool
15:53:14             UBS                what abt poor [Barclays trader]?
15:53:20             JPMorgan           so we have 800 each
15:53:21             JPMorgan           ok
15:53:31             JPMorgan           but we gotta both do some at fix
15:53:36             JPMorgan           don’t sell em all and take the foot off
15:53:40             Citigroup          I promise I will
15:53:47             JPMorgan           me too

        200.    One individual trader’s series of chats, made public in the CFTC’s enforcement

order against HSBC, illustrates the sweeping breadth of activity that traders would use to collude


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with respect to the WM/Reuters Closing Spot Rates.84 The set of chats released by the CFTC

involved one chat room with traders from four banks (HSBC, Barclays Trader (1), 85 Bank R,86

Bank S), one private chat room with two traders (HSBC, Barclays Trader (2)), another private

chat room with two traders (HSBC, Bank V), and a fourth chat room with three traders (HSBC,

Barclays Trader (2), Bank Z). Just this single afternoon of collusion involved, at a minimum,

eight traders from six banks.

       201.    Chats would include numerous traders, many of whom openly acknowledged

their intentions of moving the fix, often through colorful euphemisms. In the following chat that

occurred on June 28, 2011, 87 the conspiring traders disclosed that they were net sellers of

GBP/USD and announced their intention to “team whack” the WM/Reuters Closing Spot Rate in

GBP/USD (“cable”). 88       After the 4 p.m. fix closed, the participants in the chat room

congratulated each other.


84
       CFTC, In the Matter of HSBC Bank plc, CFTC Docket No. 15-07, Order Instituting
Proceedings Pursuant to Sections 6(c)(4)(A) and 6(d) of the Commodity Exchange Act, Making
Findings, and Imposing Remedial Sanctions, at 6-9 (Nov. 11, 2014); see also FCA, Final Notice
to HSBC Bank plc, No. 114216, ¶¶4.38-4.44 (Nov. 11, 2014) (http://www.fca.org.uk/your-
fca/documents/final-notices/2014/hsbc-bank-plc).
85
        See New York State Department of Financial Services, In the Matter of Barclays Bank
PLC, Consent Order Under New York Banking Law, at ¶28 (May 20, 2015)
(http://www.dfs.ny.gov/about/ea/ea150520.pdf) (identifying Barclays’ trader in the same chat
room conversation).
86
        Chats that identify banks by single letter codes were reproduced in settlements between
the identified banks and the Commodity Futures Trading Commission.
87
        See New York State Department of Financial Services, In the Matter of Barclays Bank
PLC, Consent Order Under New York Banking Law, at ¶28 (May 20, 2015)
(http://www.dfs.ny.gov/about/ea/ea150520.pdf).
88
        The term cable to refer to GBP/USD is believed to refer to the laying of the first
transatlantic cable, which was laid between the United Kingdom and the United States in 1858.
It also gives rise to another euphemism for GBP/USD based on a rhyming scheme (“Betty”),
referring to the rhyme of actress Betty Grable’s last name with “cable.”


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TIME (GMT)          TRADER                  MESSAGE
14:50:21            Barclays 1              early days but im a seller cable at fix
                                                 ...
15:11:43            Bank S                  here also
15:24:50            Bank R                  u got much to do in fix [Barclays Trader]
15:25:07            Barclays 1              im seller 130 cable that it
                                                 ...
15:28:02            Barclays 2              hopefulyl a fe wmore get same way and we can team
                                            whack it
15:28:17            Bank R                  ill do some digging
                                                 ...
15:36:13            Barclays 1              im seller 170 gbp atmofix
15:36:26            Bank R                  we sellers of 40
15:38:26            HSBC                    lhs in cable at the fix
15:38:29            HSBC                    good amount…
16:00:35            Bank R                  well done gents
16:01:56            Barclays 1              hooray nice team work
16:02:22            HSBC                    nice one mate

       202.    This information would also be passed to other traders outside of the chat rooms,

so that they could plan their trading accordingly. Simultaneously, in a separate chat room, prior

to the close of the fix period, HSBC trader informed Barclays trader 2 at 3:25 p.m. that he should

buy cable at the fix. Shortly thereafter, HSBC trader told Barclays trader 2 that he had a net sell

order of approximately 400 million cable at the fix, and Barclays trader 2 acknowledged that he

was a seller of 150 million cable at the fix.

TIME (GMT)          TRADER                 MESSAGE
15:25:19            HSBC                   get lumpy cable at the fix ok
15:25:32            Barclays 2             ta mate
15:25:35            Barclays 2             150 here
15:25:46            HSBC                   400 odd here
15:25:50            HSBC                   lets go
15:26:00            Barclays 2             yeah baby
15:26:03            HSBC                   [Barclays Trader 1] is too
                                                  ...
15:27:00            Barclays 2             sry thats the [Barclays] flow
15:27:23            Barclays 2             [Barclays Trader 1] gets
15:28:26            HSBC                   so its 150 all day wiht you guys?




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TIME (GMT)            TRADER              MESSAGE
                                               ...
15:36:34              Barclays 2          170 here
         203.   After the WM/Reuters Closing Spot Rate window closed and the fix was set, the

traders celebrated.

TIME (GMT)            TRADER              MESSAGE
16:01:03              Barclays 2          nice job mate
16:03:34              HSBC                haha
16:03:40              HSBC                i sold a lot up there
16:03:46              HSBC                and over sold by 100
16:03:48              HSBC                hahaha
                                                ...
16:04:06              Barclays 2          sweet nice job
                                                ...
16:05:04              Barclays Trader 2   bravo

         204.   By sharing their respective positions, traders were also able to gather greater

market intelligence than by acting independently, rallying their cohorts to “do some digging” as

in the following chat, which was also effectively concurrent with the two chats transcribed

above.

TIME (GMT)            TRADER              MESSAGE
15:28:45              HSBC                lhs in about 300 quid cable for the fix
15:28:54              Bank V              sweet
15:29:42              HSBC                can you do some digging and seeif anyoine is that way
15:29:52              Bank V              ofcourse mate
15:34:49              Bank V              im getting 83 at mom mate
15:34:56              HSBC                nice
                                                ...
15:37:38              Bank V              someone tells a guy here he is getting 170 cble at fix
15:43:28              Bank V              see that [HSBC Trader]
15:43:57              HSBC                thx

         205.   After the fix, the HSBC trader again acknowledged that the collusion “worked

nice.”

TIME (GMT)            TRADER              MESSAGE
16:00:51              Bank V              have that my son
16:00:52              Bank V              hahga

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TIME (GMT)           TRADER              MESSAGE
16:00:56             Bank V              v nice mate
16:04:53             HSBC                that worked nice mate
16:05:44             Bank V              big time mate.

       206.    The chat below is an example of Barclays “clearing the decks” for HSBC by

getting rid of the main buyer.89 After the fixing window closed, the same traders celebrated the

spot rate that was set, and appear to attribute it to collusion (a “combo boom”), but lamented

their failure to move it even further.

TIME (GMT)           TRADER              MESSAGE
15:43:52             Barclays            right ive taken him out
15:43:58             Barclays            he paid me for 186
15:44:09             HSBC                ok thx
15:44:15             Barclays            so shud have giot rid of main buyer for u
15:44:58             Barclays            im stilla seller of 90
15:45:06             Barclays            gives us a chance and ive paid a load of bro ha
                                              ...
16:05:03             Barclays            yeah babyxx
16:05:11             Barclays            [HSBC Trader] [Barclays Trader 1] combo boom
16:05:22             HSBC                loved that mate
16:05:26             HSBC                worked lovely
16:05:34             HSBC                pity we couldn’t get it below the 00

       207.    Because the fix period for WM/Reuters Closing Spot Rates lasts only a minute,

the timing of trades was critical. In the following chat, which occurred simultaneously in yet

another chat room, traders discussed unloading their positions just before the fixing window, an

example of “banging the close.”

TIME (GMT)           TRADER              MESSAGE
15:54:32             Barclays            can u let me know when are down to your last tenner
15:55:02             HSBC                ok
15:55:10             HSBC                i’m down to my last tenner
15:55:17             Barclays            ok ta

89
        See New York State Department of Financial Services, In the Matter of Barclays Bank
PLC, Consent Order Under New York Banking Law, at ¶28 (May 20, 2015)
(http://www.dfs.ny.gov/about/ea/ea150520.pdf).


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TIME (GMT)             TRADER            MESSAGE
15:55:41               Barclays          just sold some more
15:55:49               HSBC              hahaha
15:55:51               Barclays          hehehe
16:00:57               Barclays          nice on son
16:03:15               HSBC              learnt from a good fella
16:15:43               Barclays          there u go
16:16:48               Barclays          go early, move it, hold it, push it

       208.    The FCA described HSBC’s trading in the minutes surrounding and including the

above chats. 90 In the period from 3:32 p.m. to 4:01 p.m., HSBC sold GBP 381 million on

Reuters and other trading platforms.91 Approximately 18% of this volume (GBP 70 million) was

sold by HSBC in advance of the 60-second fix window around 4 p.m.92 During the period from

3:32 p.m. to the start of the fix window, the GBP/USD rate fell from 1.6044 to 1.6009.93 In the

first five seconds of the fix window, HSBC entered a further nine offers to sell GBP 101 million,

causing the bid rate to fall from 1.6009 to 1.6000.94 HSBC continued to sell GBP 210 million

throughout the remainder of the fix window (for a total GBP 311 million) at a bid rate between

1.6000 and 1.6005.95 Subsequently, WM Reuters published the 4p.m. fix rate for GBP/USD at

1.6003.96




90
        See FCA, Final Notice to HSBC Bank plc, No. 114216, ¶4.40 (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/hsbc-bank-plc).
91
       Id.
92
       Id.
93
       Id.
94
       Id. at ¶4.41.
95
       Id. at ¶¶4.41-4.42.
96
       Id. at ¶4.42.


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          209.    The amount HSBC sold on Reuters accounted for 51% of the volume sold in the

GPB/USD currency pair on the Reuters platform during the fix window.97 Cumulatively, HSBC,

Barclays, and the other two firms accounted for 63% of selling during the fixing window.98

Defendants successfully decreased the WM/Reuters Closing Spot Rate to their benefit,

generating a profit of approximately $162,000 for HSBC.99

          210.    Certain chat rooms would often target the WM/Reuters Closing Spot Rates for a

particular currency pair. For instance, Defendants in the Sterling Lads chat room regularly

manipulated the exchange rate between British pounds sterling and U.S. dollars (GBP/USD or

“cable”) – the world’s third most-traded currency pair. On occasions, they would deal in other

currencies, including EUR/USD and USD/JPY.             The members of the Sterling Lads group

changed over time, but included at least traders from HSBC, RBS, UBS, Barclays, and Credit

Suisse.

          211.    The Sterling Lads group also referred to itself as the new “cartel,” acknowledged

the interdependence between co-conspirators, stating “as long as [UBS trader] keeps with us we

ok” in the following chat:

TIME (UTC)                TRADER        MESSAGE
11:13:23                  RBS           so official hi 85?
11:13:31                  RBS           sri…just having words with someone
11:14:07                  Barclays      that’s what we say here
11:14:12                  RBS           cool
11:14:53                  HSBC          I’ll back you [RBS trader]
11:15:12                  Barclays      the new cartel
11:15:12                  Barclays      as long as [UBS trader] keeps with us we ok



97
          Id.
98
          Id.
99
          Id. at ¶4.43.


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       212.   In this example, the Sterling Lads coordinated trading ahead of the fix and

matched off with JPMorgan and Credit Suisse outside of the chat room.100 A Barclays trader

announced “fix,” inviting the other chat members to discuss their respective positions. RBS,

HSBC, and Barclays traders then chimed in, indicating that they were “getting” their respective

volumes, meaning that they were buying GBP. The Barclays’ trader even announced the total

position, but clarified that he would be matching off a portion of his position with his New York

desk. UBS’s trader indicated in response that he was selling (“lose”) and agreed to match off

with Barclays before the fix using a broker. They then confirmed the details of the match (“we

sell 54 quid to u at fix”). RBS’s trader then announced he was “getting more” and matched off a

portion of HSBC’s position with other traders outside the chat room. After 15:00 (the time of the

fixing), the members of the chat room congratulated each other on the fixing.

TIME (UTC)         TRADER            MESSAGE
14:44:05           Barclays          fix
14:45:35           RBS               im getting abt 80 quid now
14:45:41           RBS               fixing
14:45:54           HSBC              my ny 100 quid
14:46:00           Barclays          we get 120 [HSBC trader]
14:46:01           Barclays          quid
14:46:07           Barclays          but will match 50ish with my ny
14:46:14           HSBC              ok
14:46:31           Barclays          so we will be about lhs 60 quid
14:48:04           UBS               we lose what you get [Barclays trader]
14:48:13           Barclays          ok
14:48:20           Barclays          we we can match ur quid at fix if u want
14:48:46           UBS               lets do it through [broker]


100
        Portions of this chat have been published by the CFTC and the UK-FCA. See In the
Matter of The Royal Bank of Scotland, plc, CFTC Dkt. No. 15-05 at 6 (Nov. 11, 2014)
(http://www.cftc.gov/ucm/groups/public/@lrenforcementactions/documents/legalpleading/enf
royalbankorder111114.pdf); FCA Final Notice 2014: The Royal Bank of Scotland plc, No.
121882, ¶¶4.38-4.45 (Nov. 11, 2014) (http://www.fca.org.uk/your-fca/documents/final-
notices/2014/royal-bank-of-scotland).




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TIME (UTC)             TRADER      MESSAGE
14:48:55               Barclays    I get 54 so can do 54
14:49:00               UBS         sure
14:49:03               RBS         u boys out with him next month?
14:49:11               UBS         ahaha
14:49:19               Barclays    yep hope so
14:49:30               UBS         [Barclays trader] .. you tell [broker]
14:49:34               Barclays    yes
14:49:40               Barclays    we sell 54 quid to u at fix
14:49:42               Barclays    thru [broker]
14:49:46               UBS         tta
14:51:19               RBS         getting more than u know [HSBC trader] betty
14:51:26               HSBC        ok thx
14:52:23               UBS         nice job gents
14:54:16               HSBC        [RBS trader], just matched with jp and cs for 100 still lhs in
                                   about 140
14:54:26               RBS         cool
14:56:26               UBS         options guys payiong us down here and selling the x
15:00:58               UBS         I don my hat
15:01:08               Barclays    what a job
15:01:23               UBS         welld one lads
15:01:28               Barclays    bravo
15:07:03               RBS         1.6218..nice\
15:07:33               HSBC        worked ok that one…

       213.    In the example above, from 3:50:30 p.m. to 3:59:30 p.m., RBS sold GBP

167 million and HSBC sold GBP 26 million, accounting for 28% of all sales on the Reuters

platform during this period.101 The GBP/USD rate dropped from 1.6276 to 1.6233.102 During

the 60-second fixing window, RBS and HSBC accounted for 41% of the sales in GBP/USD on

the Reuters platform during the fixing window.103 During the fixing window, the GBP/USD rate

fell from 1.6233 to 1.6213. 104 Subsequently, WM/Reuters published the 4 p.m. fix rate for



101
       Id. at ¶4.42.
102
       Id.
103
       Id. at ¶4.43.
104
       Id.


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GBP/USD at 1.6218.105 Defendants’ trading in GBP/USD in this example generated a profit for

RBS of $615,000.106

        214.   In another example, RBS and two other banks conspired to fix the WM/Reuters

Closing Spot Rate for the AUD/USD and NZD/USD currency pairs. Bank T’s trader announced

to the chat room that he was buying Australian dollars and New Zealand dollars at the fix, but

that it was not a big order.107 The RBS trader informed the group that he was buying 50 million

Australian dollars at the fix and that he would execute Bank T trader’s transaction.108 Bank T

trader agreed.109 Bank P’s trader expressed his order to buy 25 million and asked the RBS trader

if he was interested in taking his order as well, because it would give him more “ammo” (a larger

position) at the fix.110 The RBS trader agreed. Bank T’s trader also offered RBS more “ammo”

in New Zealand dollars.111 The RBS trader informed the group that he had built an aggregate

220 million buy order and at 3:53:20 p.m., Bank T’s trader instructed the RBS trader to “ramp

it.”   After the fix period had closed, the traders congratulated themselves on successfully

manipulating the fix.

  TIME (GMT)        TRADER           MESSAGE
  15:43:42          Bank T           buying aud and nzd at the fix
  15:43:43          RBS              Tkx
  15:43:52          Bank T           ntg big

105
        Id.
106
        Id.
107
       See In the Matter of The Royal Bank of Scotland, plc, CFTC Dkt. No. 15-05, at 6
(Nov. 11,        2014)        (http://www.cftc.gov/ucm/groups/public/@lrenforcementactions/
documents/legalpleading/enfroyalbankorder111114.pdf).
108
        Id.
109
        Id.
110
        Id.
111
        Id.


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 15:43:59         RBS               Im buying 50 aud can do yours if you want
 15:45:13         Bank T            ok . . .60 plse . . .****
 15:45:56         RBS               Great
 15:50:00         Bank P            I need to buy 25 aud at the fix too.. any int? more ammo
                                    for you…?
 15:50:21         RBS               Sure [Bank P Trader]
 15:51:24         Bank P            cool all yours [RBS Trader]
 15:51:46         RBS               Buying 220 now
 15:51:57         Bank P            good luck
 15:52:20         Bank T            load up your 50 offrs . . .
 15:53:14         Bank P            ill do those ones if you want
 15:53:19         RBS               haah
 15:53:20         Bank T            ur fkg [RBS Trader], ramp it
 16:00:41         Bank T            nice one *****
 16:00:56         Bank P            look at you!...-well done mate . . .

       215.   In the following example, on June 30, 2010, a trader from JPMorgan and a trader

from Société Générale agreed to coordinate trading immediately before the WM/Reuters Closing

Spot Rate for AUD/BRL (Australian dollar/Brazilian real) was determined and effectively fixed

the WM/Reuters rate for AUD/BRL.


 TIME (EST)      TRADER                    MESSAGE
 10:58:17        JPMorgan                  time to sell
 10:58:53        Société Générale          that’s what I think as well
 10:58:59        Société Générale          but it is bid dude
 10:59:04        JPMorgan                  it’s the fix
 10:59:06        SocGen                    let’s go
 10:59:07        JPMorgan                  wait until 11:00
 10:59:24        Société Générale          I sold it
 10:59:26        Société Générale          1.8150
 10:59:29        Société Générale          fk it
 10:59:30        JPMorgan                  ok excellent
 10:59:35        JPMorgan                  you sold three as well?
 11:03:55        Société Générale          look it up

       216.   On December 4, 2012, a chat room group, including Goldman Sachs, JPMorgan,

and Credit Suisse, took actions to continue the conspiracy through alternate means. A trader

from Goldman Sachs asked in a chat room whether anyone had any AUD/USD at the



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WM/Reuters fix. When a JPMorgan trader said he couldn’t talk about fixes anymore, a Credit

Suisse trader responded with laughter and the Goldman Sachs trader asked if he was serious.

Goldman Sachs’ trader then told Credit Suisse’s trader that he would contact him in another chat

room about the fix. JPMorgan’s trader subsequently told the Credit Suisse and Goldman Sachs

traders that he would call them on the phone later that night about it.

  TIME (EST)       TRADER               MESSAGE
  10:52:50         Goldman Sachs        anyone got aud at fix?
  10:52:52         Goldman Sachs        Aud int?
  10:53:54         JPMorgan             we can’t talk about fixes anymore im afraid
  10:54:00         Credit Suisse        hahahahahaha
  10:54:02         Credit Suisse        fff
  10:54:12         Goldman Sachs        are you serious?
  10:54:21         JPMorgan             yep
  10:54:26         JPMorgan             nothing official but something we decided with
                                        compliance
  10:55:16         Credit Suisse        not sure what that achieves
  10:55:19         Credit Suisse        but noted
  10:56:01         Goldman Sachs        hey [CS trader], ill call you up in a different chat. sec
  10:56:14         JPMorgan             dawg [GS trader nickname]
  10:56:54         Goldman Sachs        something I discussed with compliance not allowed to talk
                                        about big fixing flows in a chat with someone else that
                                        isn’t allowed to talk about them. Full stop.
  10:57:10         JPMorgan             ?
  10:57:18         JPMorgan             that didn’t make a lot of sense
  10:57:19         Goldman Sachs        haha. Im yanking your chain
  10:57:27         Goldman Sachs        it does
  10:57:34         JPMorgan             maybe in your language
  10:57:34         Goldman Sachs        I cant discuss fixing flows if you cant.
  10:57:39         JPMorgan             you got you moby
  10:57:52         JPMorgan             dick
  10:58:14         Goldman Sachs        That’s got you flagged
  10:58:37         JPMorgan             whale reference haha
  10:58:46         JPMorgan             Ill call you tonight about it
  10:59:00         Goldman Sachs        cool
  10:59:10         Credit Suisse        what time?

       217.    Transcripts of The Cartel’s communications reveal that Defendants exchanged

information on customer orders and agreed to trading strategies to manipulate the WM/Reuters



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Closing Spot Rates.112 For instance, in the following chat that occurred on February 15, 2012,

traders from UBS, Citigroup, and JPMorgan shared their respective positions heading into the

12 p.m. WM/Reuters Fix and, after the traders announced that they were, respectively “get[ting]”

or “lhs” (left hand side), both indicating that the trader is buying, they decided to “team” their

trades. They also discussed the ECB fix.

TIME (UTC)         TRADER            MESSAGE
11:52:41           UBS               get 30 at 12
11:55:45           JPMorgan          oioi
11:55:50           JPMorgan          its its wmr u want some more
11:56:16           JPMorgan          act let team it
11:56:19           JPMorgan          I goet 34
11:56:28           JPMorgan          come on [Citigroup trader] join the party
11:56:34           Citigroup         I get 2.8
11:56:37           Citigroup         I’m going early.
                                                ...
11:58:12           JPMorgan          get 55 now at 12
11:58:14           JPMorgan          oioi
11:58:16           JPMorgan          we have this
11:58:19           JPMorgan          and lhs ecb
11:58:41           UBS               oohh me too
11:59:31           UBS               And [JP Morgan trader] just got caught up
11:59:34           UBS               hahahahahahahahaha
11:59:48           UBS               I mean it when I say I love you
12:00:08           JPMorgan          yeahhhhhhh
12:04:02           UBS               I think that was the best fix of my ubs career.

       218.    Later that day, in another chat room, while traders from UBS, Barclays, and two

other banks coordinated trading before the ECB fix, at 1:14 p.m., a firm involved in the chat

above, copied into the chat the comment made by UBS at 12:04 p.m. that the earlier

WM/Reuters 12:00 p.m. fix was “the best fix of my ubs career.” The firm then said “chalenge




112
       Liam Vaughan, Gavin Finch and Bob Ivry, Secret Currency Traders’ Club Devised
Biggest Market’s Rates, BLOOMBERG (Dec. 18, 2013) (http://bloom.bg/1ibwUXj).


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[sic]” and another firm added “stars aligned.”113 A description of this chat is described more

fully in the ECB fix section infra.

       219.    The chats described above are a mere snippet of Defendants’ conduct throughout

the Class Period. They demonstrate how Defendants participated in chat rooms, sharing highly

confidential information and fixed the WM/Reuters Fix.

               5.      The ECB Fixing Rate

       220.    The WM/Reuters Closing Spot Rates were not the only fixing benchmark that

Defendants manipulated. The European Central Bank Fixing Rate was the subject of repeated

collusive efforts by FX traders. The European Central Bank publishes 32 foreign exchange rates

as against the euro. Its “fixing” is determined at 1:15 GMT.

       221.    On February 15, 2012, as documented by the UK-FCA, and the New York

Department of Financial Services, The Cartel, including traders from UBS, Barclays, and two

other banks coordinated trading ahead of the ECB fix to manipulate the ECB fix in the

EUR/USD currency pair.114 Notably, their efforts to fix the ECB occurred on the same day they

fixed the 12:00 p.m. WM/Reuters rates described in paragraph 217 above. On this day, UBS had

net client sell orders to sell at the fix which meant that it would benefit if it was able to move the

ECB fix rate lower.115 The following table describes the UK-FCA’s findings of fact regarding

UBS’s and others’ conduct on this day.


113
        See FCA Final Notice to UBS AG, No. 186958, at ¶4.40(10) (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/ubs-ag).
114
        Id. at ¶4.39; New York State Department of Financial Services, In the Matter of Barclays
Bank PLC, Consent Order Under New York Banking Law, at ¶30 (May 20, 2015)
(http://www.dfs.ny.gov/about/ea/ea150520.pdf) (identifying Barclays in this same chat). On
information and belief, Bank B or Bank C is either JPMorgan or Citi as members of The Cartel.
115
        FCA Final Notice to UBS AG, No. 186958, ¶4.39                           (Nov.    11,   2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/ubs-ag).


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TIME (GMT)         TRADER        MESSAGE
12:36              UBS,          “[Barclays] disclosed that it had net sell orders for the fix.”116
                   Barclays,     “UBS disclosed that it had net sell orders for the fix of
                   Bank B        EUR200 million.”117 “Firm B disclosed that it had net sell
                                 orders for the fix of EUR100 . . . .”118
12:37              Barclays      “[Barclays] disclosed that these net sell orders were EUR200
                                 million.”119
12:40              Barclays      “[Barclays] updated this figure to EUR175 million.”120
12:44              UBS           “UBS disclosed that its net sell orders had increased to
                                 EUR250 million.”121
12:48              Barclays      “[Barclays] disclosed that its net sell orders had reduced to
                                 EUR100 million, but that it was ‘…hopefully taking all the
                                 filth out for u . . . .’”122
1:02               Barclays      “[Barclays] disclosed that it had sold EUR25 million to a
                                 client in a transaction separate to the fix but would remain
                                 EUR25 million short (‘lose . . . shet [i.e. 25 million] though
                                 natch dont buy’”).123
1:02               UBS           “UBS disclosed that it had also sold EUR25 million to a
                                 client in a separate transaction.”124
1:02               Bank B        “Firm B indicated that these short positions should be held
                                 for 12 minutes (i.e. until the ECB fix).”125
1:03               Barclays      “[Barclays] disclosed that it had been trading in the market
                                 and its net orders at the fix had been reduced to EUR50
                                 million (‘i getting chipped away at a load of bank filth for the


116
        Id. at ¶4.40(1).
117
        Id. at ¶4.40(2).
118
        Id. at ¶4.40(3).
119
        Id. at ¶4.40(1).
120
        Id.
121
        Id. at ¶4.40(2).
122
        Id. at ¶4.40(4); see also In the Matter of Barclays Bank PLC, New York State
Department of Financial Services Consent Order, at ¶30 (May 19, 2015)
(http://www.dfs.ny.gov/about/ea/ea150520.pdf) (Barclays stated, “hopefully taking all the filth
out for you [UBS Cartel member].”)
123
        FCA Final Notice to UBS AG, No. 186958, ¶4.40(5) (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/ubs-ag).
124
        Id. at ¶4.40(6).
125
        Id.


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TIME (GMT)        TRADER         MESSAGE
                                 fix…back to bully [i.e. 50 million]…hopefully decks bit
                                 cleaner.’”)126
1:04              UBS            “UBS disclosed that it still had net sell orders for EUR200
                                 million at the forthcoming ECB fix. UBS also stated it had a
                                 separate short position of EUR50 million.”127
1:05              Bank B         “Firm B disclosed it also had a short position of EUR50
                                 million.”128
1:07              Bank C         “Firm C disclosed that it had net buy orders of EUR65
                                 million at the forthcoming ECB fix. Firm C subsequently
                                 netted off with [Barclays] and Firm B, such that at 1:08pm
                                 Firm C disclosed that it only had EUR10 million left to buy
                                 in the opposite direction at the fix. Firm B advised Firm C to
                                 ‘go late’ (i.e. buy later when the rate would be lower).”129
1:14              Bank B         “Firm B copied into the chat a comment made by UBS at
                                 12:04 p.m. that day describing an earlier fix as ‘the best fix of
                                 my ubs career.’ Firm B then said ‘chalenge’ [sic] and Firm
                                 C added ‘stars aligned.’”130

       222.    From 12:35 p.m. to 1:14 p.m., the UBS trader sold a net amount of EUR 132

million. At 1:14:59 p.m. (one second before the ECB fix), the UBS trader placed an order to sell

EUR 100 million at the rate of 1.3092, which was three basis points below the prevailing best

market bid at that time.131 The order was immediately executed and accounted for 29% of the

sales in EUR/USD on the EBS platform during the period from 1:14:55 to 1:15:02 p.m.132 The




126
        Id. at ¶4.40(7); see also In the Matter of Barclays Bank PLC, New York State
Department of Financial Services Consent Order, at ¶30 (May 19, 2015)
(http://www.dfs.ny.gov/about/ea/ea150520.pdf) (Barclays stated, “hopefully decks bit cleaner.”)
127
        FCA Final Notice to UBS AG, No. 186958, ¶4.40(8) (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/ubs-ag).
128
       Id.
129
       Id. at ¶4.40(9).
130
       Id. at ¶4.40(10).
131
       Id. at ¶4.42.
132
       Id. at ¶4.43.


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ECB subsequently published the fix rate for EUR/USD at 1.3092.133 Defendants’ trading in

EUR/USD in this example generated a profit for UBS of $513,000.134

       223.    Immediately after Defendants fixed the ECB fix, UBS was congratulated on the

success of its trading by traders from Barclays, Bank B, and Bank C, “hes sat back in his chaoir

[sic] . . . feet on desk . . . announcing to desk . . . that why I got the bonus pool” and “yeah

made most peoples year.”135

       224.    The following chat occurred on March 22, 2011 between 1:08:18 and 1:18:58

P.M. (immediately before and following the ECB Fix). The traders committed to act as “three

musketeers” to make “free money.”

 TRADER                MESSAGE
 Barclays              get 60 at the fix
 JPMorgan              you want my fix?
 JPMorgan              I know im gonna fk it up hubba
 Citigroup             I getting a ton
 Barclays              three musketeers
 JPMorgan              lets do this
 JPMorgan              140 here
 JPMorgan              fix is at 23
 Citigroup             hahaha
 Barclays              we all die together
 Barclays              ive bgt some here so ive got some more to sell
 Barclays              anyone lose any at 13?
 JPMorgan              I was so slow there
 Citigroup             lost 14 at 13
 Barclays              have we fked this?
 JPMorgan              in what way?
 Barclays              under sold?
 JPMorgan              nah its free money
 JPMorgan              gulp
 JPMorgan              buying more. Who cares?

133
       Id. at ¶4.44.
134
       Id. at ¶4.45.
135
       Id. at ¶4.46.


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       225.    The following chat, occurring between 1:01:26 p.m. and 1:05:05 GMT, 8:01:26

EST on April 24, 2012 provides another example of traders sharing information before the ECB

Fix. JPMorgan’s trader signaled that he was looking to sell, by indicating that he was “Rh,”

which stands for right hand side. JPMorgan’s trader indicated that he was looking to sell a “not

bad amount.” The traders discuss their respective positions and match off a portion of their risk.

 TRADER              MESSAGE
 JPMorgan            rhs and not bad amount
 Citigroup           yo
 Citigroup           what’s up
 Citigroup           how many you buying?
 JPMorgan            my nyk have decent rhs
 JPMorgan            4
 JPMorgan            you want to match some?
 Citigroup           I’m left hand side a touch more
 JPMorgan            oh wow
 JPMorgan            ok, you wanna match?
 Citigroup           sure how many?
 JPMorgan            350
 Citigroup           grrrr 350 yours
 JPMorgan            done

       226.    Traders openly coordinated their conduct with respect to the ECB fix, and

acknowledged that their conduct was beyond the realm of acceptable trade practice. In the

following chat from August 25, 2010, traders from JPMorgan and RBS bragged after the ECB

fix that “that’s how it’s done” and you “won’t find that in any textbook.” This followed a

discussion in which traders agreed to “cmshit” (believed to mean “smash it”) and proposed to

“get nasty with euro” while trading the EUR/USD ECB fix.

 TIME (EST)          TRADER                MESSAGE
 07:53:52            JPMorgan              get a bid at the fix
 07:54:34            RBS                   ecb?
 07:54:40            JPMorgan              yep
 07:54:40            RBS                   same
 07:54:46            JPMorgan              100 here
                     RBS                   small more here

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 TIME (EST)         TRADER                MESSAGE
 07:55:01           JPMorgan              let’s do it.
 07:55:07           JPMorgan              shall we sell them all now?
 07:55:09           JPMorgan              and hope
 07:56:01           RBS                   I can’t
 07:56:03           RBS                   down too much
 07:56:12           JPMorgan              me too but I aint making it back being sq
 07:56:56           RBS                   valid point
                                                ...
 08:02:51           JPMorgan 1            50 short at 19
                    JPMorgan 1            think you may have made the right call haha
                    RBS 1                 no prob
 08:03:27           RBS 1                 lets cmshit
 08:03:30           JPMorgan 1            my amount smalls less
 08:03:35           RBS 1                 just around a c note
                    JPMorgan 1            whatever that is
 08:04:21           RBS 1                 sorry a cnote is 100
                    JPMorgan 1            ok
                    JPMorgan 1            right lets get nasty with euro
                    JPMorgan 1            see how they like this offer
                    JPMorgan 1            now we’re in it
                    JPMorgan 1            sold 125 at 25 there
 08:07:38           JPMorgan 1            I have everything crossed
                    JPMorgan 1            another fix came in so still 80 to actually sell
 08:08:23           RBS 1                 good
                    RBS 1                 same
                                       [after the ECB fix]
                    JPMorgan 1            that’s how it’s done
 08:17:04           RBS 1                 won’t find that in any textbook

       227.   Often, the traders would discuss various collusive trading strategies to employ in

order to maximize their profits, which were chosen based on information only available to the

Defendants.    On January 31, 2011, traders from RBS, JPMorgan, and Barclays shared

confidential order information and agreed to “double team” their trading ahead of the ECB fix.

TIME (EST)         TRADER            MESSAGE
07:31:35           RBS               any early ecb sniffs?
07:43:10           JPMorgan          im small rhs bro
                   Barclays          thanks
                   RBS               I got some rhs as well
                   JPMorgan          well up to you if you want more you can have mine
                   JPMorgan          or we can double team it

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TIME (EST)         TRADER            MESSAGE
07:44:09           RBS               haha
                   RBS               double team sounds good
                   JPMorgan          haha cool
                   RBS               I haven’t decided if Im gonna do it or match it off
                   JPMorgan          ok well if you don’t want I’ll do it.
                   RBS               last fix I attempted didn’t go so well
07:45:42           JPMorgan          haha yeah know that feeling
07:49:19           JPMorgan          rhs normally a good way, but people are short on the day
08:01:13           JPMorgan          we’re off to buy here
                   JPMorgan          mate similar
08:01:54           RBS               thank you
                   RBS               Natch it’s offered now
                   JPMorgan          brokers saying to me they’re all sellers
08:04:43           JPMorgan          here we go again
                   RBS               fxxk
                   RBS               it
08:04:51           RBS               go give it the number 1 college try
08:05:10           JPMorgan          yep you and me bro we’re going to ruin them
08:05:26           JPMorgan          like my wedding night late and hard
                   RBS               hahaha

       228.   The following exchange occurred between members of the Essex Express,

including Barclays, RBS, and UBS. In this example, the UBS trader announced that he was

“lhs” at the ECB fix. Barclays’ trader informed the UBS trader that he was “not alone.” As the

time of the ECB Fix neared, the UBS trader indicated “this is working though isn’t it,”

recognizing that the conspiracy was working. The traders then celebrated their success.

TIME (UTC)         TRADER            MESSAGE
11:53:21           UBS               lhs eur ecb…although don’t really want to sell a lot down
                                     here now
11:54:26           Barclays          get 20
11:54:31           Barclays          ur not alone on eur
11:55:08           RBS               we get 150
11:55:16           RBS               not sure what he will do with it though yet
11:55:41           Barclays          smash it
11:59:53           UBS               ha
12:04:41           Barclays          u guys doing ur fix
12:04:59           UBS               yessssss
12:05:02           Barclays          ok mate
12:05:05           Barclays          I get 25


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TIME (UTC)         TRADER           MESSAGE
12:05:13           UBS              managed to lop smalls out 53-55 then
12:05:19           Barclays         same
12:05:24           Barclays         seeing a seller in clips
12:05:26           Barclays         small clips
12:05:27           UBS              was BBIL paying me
12:07:16           Barclays         not me mate
12:07:22           Barclays         prime I wud imagine
12:12:10           UBS              yeah
12:12:16           UBS              this is working though isn’t it
12:13:15           RBS              yup
12:13:20           RBS              we are on a fix run
12:14:10           UBS              crumbs
12:14:13           UBS              lets go for 22
12:14:28           RBS              hahah
12:15:46           Barclays         nice

       229.   On September 2, 2011, traders from BNP Paribas and JPMorgan shared their

respective positions heading into the ECB Fix. Upon finding that they were trading in the same

direction, the JPMorgan trader offered to provide “some ammo” to the BNP Paribas trader. The

BNP Paribus trader agreed.

TIME               TRADER           MESSAGE
07:55:37           BNP Paribas      [JPM trader]?
07:58:24           BNP Paribas      any huge interest in ECB? May I ask?
07:58:33           BNP Paribas      rhs i am
08:00:37           JPMorgan         I am same way
08:00:41           JPMorgan         u want some ammo?
08:00:49           JPMorgan         see what you made of?
08:00:51           JPMorgan         haha
08:01:42           BNP Paribas      I have just 130
08:02:06           JPMorgan         well I have more than that, but if you want, you can have it
                                    as its ly last day for two weeks and I don’t care ha
08:02:39           BNP Paribas      okay please
08:02:53           JPMorgan         ok 200 mine
08:02:59           BNP Paribas      agreed
08:03:03           BNP Paribas      thanks
08:12:26           JPMorgan         good luck amigo




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        230.    On February 21, 2012, traders from Barclays, Citigroup, and RBS, among others,

manipulated the ECB fix in the EUR/USD currency pair.136 On this day, Defendants disclosed to

each other details about their net orders regarding the forthcoming ECB fix at 1:15 p.m. in order

to determine their trading strategies.137

TIME(GMT)            TRADER            MESSAGE
12:51                Citigroup         “Citi disclosed that it had net buy orders for the fix of
                                       EUR200 million.”138
12:53                Barclays          “[Barclays] disclosed that it had net sell orders for the fix
                                       of EUR47 million . . . . Firm B also offered to transfer its
                                       net buy orders for EUR26 million to Citi.”139
12:56                Barclays          “[Barclays] informed Citi that it had netted off its sell
                                       orders with [RBS],”140 “gave mine to try at rbs so u shud
                                       be nice and clear to mangle.”141
12:57                Bank C            “Firm C disclosed that it had net sell orders for the fix of
                                       EUR39 million and offered to ‘shift it’ (i.e. to trade the
                                       order with a third party outside the chat room).”142



136
        On information and belief, Firm A is Barclays. See FCA Final Notice to Citibank N.A.,
No. 124704, ¶4.39(3) (Nov. 11, 2014) (http://www.fca.org.uk/your-fca/documents/final-
notices/2014/citibank-na) (“Firm A told Citi that ‘u shud be nice and clear to mangle.’”); and,
New York State Department of Financial Services, In the Matter of Barclays Bank PLC, Consent
Order      Under      New        York     Banking       Law,      ¶31      (May  20,     2015)
(http://www.dfs.ny.gov/about/ea/ea150520.pdf) (“[Barclays] employed the same strategy of
clearing the decks by selling EUR 47 million to RBS to assist his fellow Cartel member at Citi,
noting ‘gave mine to try at rbs so u shud be nice and clear to mangle.’”).
137
        See FCA Final Notice to Citibank N.A., No. 124704, ¶4.38 (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/citibank-na).
138
        Id. at ¶4.39(1).
139
        Id. at ¶4.39(2).
140
        Id. at ¶4.39(3).
141
        NYDFS Order Barclays at ¶31; see also FCA Final Notice to Citibank N.A., No. 124704,
¶4.59(3)      (Nov.       11,      2014)       (http://www.fca.org.uk/your-fca/documents/final-
notices/2014/citibank-na) (“u shud be nice and clear to mangle”).
142
        Id. at ¶4.39(4).


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TIME(GMT)                TRADER           MESSAGE
1:01                     Bank C           “Firm C told Citi that it had ‘matched on fix here…you’re
                                          all clear.’”143
1:06                     Bank D           “Firm D confirmed that it needed to buy an unspecifided
                                          quantity of EUR in the market at the ECB fix” and “offered
                                          to transfer these net buy orders to Citi or execute this order
                                          in a way that would assist Citi (‘u can have oir I can help
                                          [sic]).’”
1:10                     Bank D           “Firm D transferred its net orders of EUR49 million to Citi
                                          at 1:10 pm, whereby Firm D bought EUR49 million from
                                          Citi at the fix rate.”144.

         231.    Immediately prior to the ECB fix, the Citigroup trader placed four buy orders on

the EBS trading platform. Each order placed by the Citigroup trader was of increasing size and

price, and was priced at a level above the best offer price prevailing on the EBS platform at the

time:

                 a.         At 1:14:45pm, Citigroup placed an order to buy EUR 25 million at a rate
                            of 1.3216 (the prevailing offer was 1.32159);

                 b.         At 1:14:49pm, Citigroup placed an order to buy EUR 50 million at a rate
                            of 1.3218 (the prevailing offer was 1.32176);

                 c.         At 1:14:54pm, Citigroup placed an order to buy EUR 100 million at a rate
                            of 1.3220 (the prevailing offer was 1.3219);

                 d.         At 1:14:57pm, Citigroup placed an order to buy EUR 400 million at a rate
                            of 1.3222 (the prevailing offer was 1.32205).145

         232.    During the period from 1:14:29pm to 1:15:02pm, Citigroup bought EUR 374

million which accounted for 73% of all purchases on the EBS platform.146 At 1:15:00pm, the bid




143
         Id.
144
         Id. at ¶4.39(6).
145
        FCA Final Notice to Citibank N.A., No. 124704, ¶4.41 (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/citibank-na).
146
         Id. at ¶4.42.


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(buying price) and the first trade for EUR/USD on the EBS platform was 1.3222.147 The ECB

subsequently published the fix rate for EUR/USD at 1.3222.148 Citigroup’s trading in EUR/USD

in this example generated a profit of $99,000.149

       233.    Subsequent to the ECB fix, Defendants congratulated each other stating,

“impressive,” “lovely,” and “cnt [sic] teach that.”150 The Citigroup trader noted the successful

fix, “yeah worked ok.” 151 When the fix rate was published to the market, Barclays’ trader

commented “22 the rate” and Citigroup replied “always was gonna be.”152

       234.    In the chat below, traders from Barclays, BOTM, and UBS coordinated trading in

advance of the ECB fix. The Barclays trader inquired how many euros the banks were buying

(“getting”) at the ECB fix and stated it was buying 37 million euros. The BOTM trader told the

group it was buying 50 million euros. The UBS trader told the group it is buying 170 million

euros. The Barclays trader asked if he should take 120 million from a broker in order to “builds”

before the ECB fix. The BOTM trader told the Barclays trader to take it and asked the UBS

trader if he still had euros, confirming that the group would be trading in the same direction

going into the ECB fix. After the ECB fix, the UBS trader stated, “[t]hat went ok,” confirming

that the coordinated trading was successful.

  TIME (UTC)           TRADER            MESSAGE
  11:56:25             Barclays          get 30 at Ecb
  11:57:11             Barclays          so how many eur u guys get at ecb
  11:57:16             Barclays          I get 37

147
       Id.
148
       Id.
149
       Id. at ¶4.43.
150
       Id. at ¶4.44.
151
       Id.
152
       Id.


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  TIME (UTC)         TRADER             MESSAGE
  11:57:31           BOTM               I was 50
  11:58:24           UBS                170
  11:59:28           Barclays           I am just 25
  12:01:02           Barclays           shall I take this 120 eur from [broker] and we give it
                                        ago?
  12:01:37           UBS                Well I gave him 20 to give him a deal but he cant get rid
                                        of it
  12:04:18           BOTM               help him out [Barclays trader] hahhaha
  12:06:31           BOTM               [UBS trader] u stil got urs
  12:07:39           UBS                yep
  12:15:34           UBS                that went ok

       235.    The NYDFS described a chat room discussion where a group including Barclays,

HSBC, and another bank coordinated trading to fix the ECB fix.

               On September 13, 2012, Barclays had a net position from clients to
               sell EUR 119 million, and this same Barclays trader built
               approximately EUR 30 million in additional “ammo” from Fortis
               Bank SA/NV, and EUR 169.5 million from HSBC. This trader
               stood to make additional profit if the ECB fix dropped. He sold
               EUR 175.4 million in the nine minutes leading up to the fix.
               While the market was rising up until 5 seconds prior to the fix
               (with best offers hovering around 1.2913), this trader sold EUR
               147 million in the last three seconds before the ECB fix, which
               ultimately was 1.2910.153

       236.    Traders were careful to maintain their collusive cartel and sought to punish traders

that took positions adverse to the group even when the “offending” trader was employed by the

same bank as another group member. For instance, on July 7, 2011, traders sought to punish

JPMorgan trader (2), who had traded opposite their chat room’s ECB trading position. After

learning of his colleague’s transgression, JPMorgan trader (1) informed the group that he “just

let him have it”:

TIME (EST)          TRADER                MESSAGE

153
        New York State Department of Financial Services, In the Matter of Barclays Bank PLC,
Consent Order Under New York Banking Law §34, at ¶22 (May 20, 2015)
(http://www.dfs.ny.gov/ about/ea/ea150520.pdf).


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TIME (EST)          TRADER                MESSAGE
08:15:30            Citigroup             not nice [JPMorgan (1)]
08:15:46            Citigroup             your guys paying me on ebs
                    JPMorgan (1)          did they? They didn’t know
                    JPMorgan (1)          fucking [JPMorgan (2)]
08:16:35            JPMorgan (1)          he didn’t know, you know that
08:16:45            Citigroup             I know
                    JPMorgan (1)          I promise I just let him have it
                    Citigroup             just wish youd tell me next time farm is out and just
                                          lay off
                    Citigroup             not your fault I know
08:17:16            JPMorgan (1)          he apologizes says it was after the fix

       237.    Less than 10 minutes later, the JPMorgan trader (2) that “messed up” followed up

directly with the Citigroup trader:

TIME (EST)          TRADER                MESSAGE
08:25:03            JPMorgan (2)          [Citigroup Trader] sorry mate, I plead total ignorance
                                                ...
                    JPMorgan (2)          I hope I didn’t screw you
                    Citigroup             no worries mate, [JPMorgan Trader 1] and I try to help
                                          each other a bit
                    Citigroup             only had 150 odd to sell but had to oversell by 75
                    JPMorgan (2)          grr, yes totally, know you two help each other out but
                                          he didn’t tell me and I had to buy 10
                    Citigroup             well let’s hope it comes at 46
                    Citigroup             47, not that bad.

       238.    About 75 minutes later, the JPMorgan trader (1) in the original chat confirmed

that JPMorgan trader (2) who had “messed up” had, in fact, apologized to the Citigroup trader.

TIME (EST)          TRADER                MESSAGE
09:45:41            JPMorgan (1)          [Citigroup Trader] did [JPMorgan (2)] call and
                                          apologize? Haha
                    Citigroup             haha, yep, was otd sorry
       239.    The chats described above demonstrate how Defendants participated in chat

rooms, sharing highly confidential information and coordinating trading and fixed the ECB Fix.




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               6.     The CME/EMTA Rates

       240.    Throughout the Class Period, traders from Barclays and other banks colluded to

manipulate CME/EMTA rates. Rather than provide their honest independent assessment of the

current prevailing market rates, Barclays and others used electronic chat rooms to coordinate

their submissions to the CME. These coordinated submissions skewed bids and offers in a

manner intended to move the CME/EMTA rates in a direction more favorable to the banks.

       241.    For example, in a chat room, traders from Barclays and other banks sought to

manipulate the RUB/USD CME/EMTA fixing rate. One RUB/USD trader suggested “we should

all lower fix by several kopecks.”154 Another trader replied “yes.”155 A third trader agreed that

“it is a right idea to lower the fix by a few kopecks.”156 The Barclays trader responded “so what,

5 kopecks and all/everyone is splendid.”157 The Barclays trader then submitted an artificially

low indicative bid and offer used by the CME to calculate the final CME/EMTA Rate.158

       242.    As demonstrated by the chats above, Defendants exploited shared confidential

information and executed concerted trading strategies designed to manipulate, and which

actually did manipulate, the Fixes.

               Other Collusive Conduct Demonstrates Defendants’ Conscious Commitment
               to Fix FX Prices

       243.    In addition to fixing bid/ask spreads, the WM/Reuters fix, ECB fix, and other

benchmark rates, Defendants engaged in other collusive conduct in conducting FX spot market



154
       Id. at 8.
155
       Id.
156
       Id.
157
       Id.
158
       Id. at 8-9.


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transactions by at least: (1) intentionally “working” customers’ limit orders; and (2) triggering

stop loss orders.

       244.    Several Defendants have admitted to this conduct and provided general examples

of how they each profited to their customers’ detriment. For example, in their respective Plea

Agreements with the Department of Justice, entered into on May 19, 2015, Defendants Barclays,

Citigroup, JPM, and RBS159 each were required to disclose that they engaged in the following

inappropriate conduct:

               We have, without informing clients, worked limit orders at levels
               (i.e., prices) better than the limit order price so that we would earn
               a spread or markup in connection with our execution of such
               orders. This practice could have impacted clients in the following
               ways: (1) clients’ limit orders would be filled at a time later than
               when the Firm could have obtained currency in the market at the
               limit orders’ prices, and (2) clients’ limit orders would not be filled
               at all, even though the Firm had or could have obtained currency in
               the market at the limit orders’ prices. For example, if we accepted
               an order to purchase €100 at a limit of 1.1200 EURUSD, we might
               choose to try to purchase the currency at a EURUSD rate of 1.1199
               or better so that, when we sought in turn to fill the client’s order at
               the order price (i.e., 1.1200), we would make a spread or markup
               of 1 pip or better on the transaction. If the Firm were unable to
               obtain the currency at the 1.1199 price, the clients’ order may not
               be filled as a result of our choice to make this spread or markup.160

       245.    Defendants also colluded to trigger customer’s stop-loss orders. A stop-loss order

is an instruction from the client to the bank to trade a currency if the currency trades at a


159
      UBS also admitted to this type of conduct. See United States v. UBS AG, Plea
Agreement, Exhibit 1 at 7 (May 19, 2015) (http://www.justice.gov/file/ 440521/download).
160
        See, e.g., United States v. Barclays PLC, Plea Agreement, Attachment C (May 19, 2015)
(http://www.justice.gov/file/440481/download ); United States v. Citicorp, Plea Agreement,
Attachment B (May 19, 2015) (http://www.justice.gov/file/440486/download ); United States v.
JPMorgan Chase & Co., Plea Agreement, Attachment B (May 19, 2015)
(http://www.justice.gov/file/440491/download); United States v. The Royal Bank of Scotland,
plc,       Plea         Agreement,        Attachment       B       (May        19,      2015)
(http://www.justice.gov/file/440496/download).


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specified rate. In the case of stop-losses, a stop-loss order to sell is triggered if the bid price

reaches the order rate, and a stop order to buy is executed if the offer price reaches the order rate.

       246.    When a customer’s stop-loss order is to buy, the bank will profit if it purchases a

quantity of the currency pair in the market at a lower average rate than that at which it

subsequently sells that quantity of the currency pair to its client when the stop-loss order is

executed.161

       247.    When a customer’s stop-loss order is to sell, the bank will profit if it sells a

quantity of the currency pair in the market at a higher average rate than that at which it

subsequently buys that quantity of the currency pair from its client when the stop-loss order is

executed.162

       248.    Regulators have identified numerous instances where Defendants colluded

throughout the day to manipulate the FX spot price to trigger client stop-loss orders. These

attempts involved inappropriate disclosures to traders at other firms concerning details of the

size, direction, and level of client stop-loss orders. The traders involved would trade in a manner

aimed at manipulating the spot FX rate, such that the stop-loss order was triggered.163

       249.    Regulators found examples of this collusive and inappropriate behavior in chat

rooms used by, among others, Citigroup, JPMorgan, HSBC, RBS, and UBS:

               a.        For example, “a Citi[group] trader referred in a chat room to the fact he
                         ‘had to launch into the 50 offer to get me stop done.’” 164 On another



161
        See, e.g., FCA Final Notice to Citibank N.A., No. 124704, ¶4.3(1) (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/citibank-na).
162
       Id. at ¶4.3(2).
163
       Id. at ¶4.45-4.46.
164
       Id. at ¶4.46.


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                        occasion, a Citigroup trader described in a chat room how he “went for a
                        stop.”165

                b.      In another chat, a JPMorgan trader explained to other traders in a chat
                        room that he had traded in the market in order “to get the 69 print” (i.e., to
                        move the spot FX rate for that currency pair to the level (“69”) at which a
                        stop-loss would be triggered). On another occasion, the same trader
                        disclosed the level of certain clients’ stop-loss orders to other JPMorgan
                        traders in a chat room and asked “shall we go get these stops?”166

                c.      An HSBC trader in a chat room referred to “going to go for broke at this
                        stop . . . it is either going to end in massive glory or tears.” The same
                        trader on another occasion stated, “just about to slam some stops.” When
                        asked by a colleague whether a particular client’s stop-loss orders were “a
                        pain for you guys,” another HSBC trader replied “nah love them . . . free
                        money” and “we love the orders . . . always make money on them.”167

                d.      An RBS trader asked a trader at another firm in a chat room to attempt to
                        trigger one of his client’s stop-loss orders, “HIT IT . . . I’m out of bullets
                        haha.”168

                e.      A UBS trader commented in a chat room “i had stops for years but they
                        got sick of my butchering.” On a subsequent occasion, the same trader
                        described himself as “just jamming a little stop here.”169

        250.    Several other Defendants engaged in similar collusive conduct to the detriment of

Plaintiffs. In a Bloomberg chat room that included traders from Deutsche Bank, UBS, Bank of

America, Standard Chartered, and BNP Paribas, several of these traders coordinated strategies to

trigger client stop-loss orders.

  TIME (UTC)          TRADER               MESSAGE

165
        Id.
166
       See FCA Final Notice to JPMorgan Chase Bank N.A., No. 124491, ¶4.48 (Nov. 11,
2014) (http://www.fca.org.uk/your-fca/documents/final-notices/2014/jpmorgan-chase-bank).
167
        See FCA Final Notice to HSBC Bank plc, No. 114216, ¶4.46 (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/hsbc-bank-plc).
168
       See FCA Final Notice to The Royal Bank of Scotland plc, No. 121882, ¶4.47 (Nov. 11,
2014) (http://www.fca.org.uk/your-fca/documents/final-notices/2014/royal-bank-of-scotland).
169
        See FCA Final Notice to UBS AG, No. 186958, ¶4.48 (Nov. 11, 2014)
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/ubs-ag).


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  08:21:04            BNP Paribas       anyone have stops down here eur? I have a few sub 10
                                        only a bully
  08:23:01            Deutsche Bank     we pretty clean
  08:23:46            BNP Paribas       whoops sorry
  08:23:54            BNP Paribas       didn’t mean to pull all chats in haha
  08:24:00            Deutsche Bank     hahaha
  08:24:01            BNP Paribas       paid be couple slippery guys here bro
  08:24:07            BNP Paribas       thru 20
  08:24:09            Deutsche Bank     ah thanks
  08:24:58            BNP Paribas       out of asia
  08:25:00            BNP Paribas       normally decent
  08:25:08            BNP Paribas       gone long with a noncy 00 stop
  08:25:19            BNP Paribas       dpont wanna pee away too much pre payrolls
  08:25:28            Deutsche Bank     i have ntg in euro, ive traded this currency liek a big c
                                        this year
  08:25:35            BNP Paribas       amen
  08:25:36            BNP Paribas       i hear that

  18:45:46            Bank of America   Is this a euro failure or we just in a 2 big fig range
  18:46:48            Deutsche Bank     looks liek a failure we get sub 90
  18:46:57            Deutsche Bank     im not short, a one thoght stopped out of along vs my
                                        yen actually
  18:48:20            Bank of America   I was short lites on the way down and loaded the boat
                                        at 30
  18:48:29            Bank of America   Yaked em out at the lows.
  18:48:56            Deutsche Bank     haha same here love it

       251.   In the chat transcript below, Defendants Citi, Barclays, Deutsche Bank, and RBS

discussed their clients’ stop-loss orders and colluded to trigger the orders in a way that would

benefit Defendants. Defendants discussed client orders for Australian dollars (AUD), euro

(EUR), Japanese yen (JPY), and South African rand (ZAR).

  TIME (UTC)           TRADER            MESSAGE
  13:55:06             Citigroup         stuff below fitty in aud prob away
  13:56:04             Barclays          :)
  13:58:46             Deutsche Bank     get a bully there dorra rbs jp pay us out of the lot
  14:00:27             Barclays          buy euro super easy
  14:00:33             Barclays          all prime bro
  14:00:53             Citigroup         [ ] leaning on aud
  14:01:08             Citigroup         his stop wouldnt be the same name as mine tho
  14:01:14             Citigroup         unless he runs his ny book
  5 ½ minutes later


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  TIME (UTC)           TRADER              MESSAGE
  14:06:45             Deutsche Bank       nice calls boys
  14:07:09             Barclays            only been a buyer though since 30
  80 minutes later
  15:25:44             Deutsche Bank       get a bully aud yen out easily
  15:28:56             Deutsche Bank       trying to push zar a bit

        252.   As described in the numerous examples above, Defendants conspiracy to fix

prices in the FX market was continuing and pervasive, allowing them to substantially reduce

their risk in FX trading and to reap supra-competitive profits at the expense of Plaintiffs and the

Classes.

III.    DEFENDANTS’ CONSPIRACY RESULTED           IN   ARTIFICIAL PRICING   FOR   FX EXCHANGE-
        TRADED INSTRUMENTS

               The FX Futures and Options Market

        253.   FX spot market prices, including benchmark rates, directly impact the prices of

exchange-traded FX futures and options contracts. An FX futures contract is an agreement,

similar to an outright forward, in which parties agree to buy or sell a certain amount of currency

on a specified future date. FX spot market prices, including the WM/Reuters Closing Spot

Rates, impact the value of FX futures contracts by determining the price of the currency pair to

be exchanged, i.e., the “commodity underlying” each FX futures contract.

        254.   FX futures contracts can be traded on several public exchanges, including the

CME and ICE, however, most FX futures contracts are traded on the CME. For many years,

most of the trading at the CME had been conducted via open outcry ̶ the method of shouting

and using hand signals to trade. This was the physical auction style of buying and selling of

futures contracts in designated trading pits on the trading floor of the exchange. Those trading

pits are closing now as trading has increasingly migrated to the CME’s electronic auction trading

platform called Globex. ICE contracts are traded on its proprietary electronic platform.



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       255.    The trading hours are specified. On Globex, trading is open 23 hours a day, five

days a week.

       256.    A substantial number of persons who trade FX futures and options on futures on

exchanges also trade FX Instruments in the OTC market. Proprietary trading groups, such as

hedge funds and quantitative trading groups, are responsible for approximately half the daily

notional volume of trades on the CME. A large number of these entities trade both on exchanges

and OTC as part of their business and investment strategies. Additionally, other traders, such as

commercial hedgers, portfolio managers, and non-defendant banks, trade both on exchanges and

OTC.

       257.    Both the CME and ICE are designated contract markets pursuant to Section 5 of

the CEA (7 U.S.C. §7), and specify the terms of trading FX futures contracts and options,

including the trading units, price quotation, trading hours, trading months, minimum and

maximum price fluctuations, and margin requirements.

       258.    These “standardized” terms facilitate exchange-based trading and distinguish an

FX futures contract from an outright forward transaction, which is conducted OTC between

private parties and can be customized to a certain extent based on their needs. For example,

while two parties to an outright forward can pick a date in the future on which currency will be

exchanged, FX futures contracts are always settled on the third Wednesday of either March,

June, September, and December, following the quarterly cycle of International Monetary Market

or “IMM” dates. There are 20 contract months listed in the March quarterly cycle (March, June,

September, December), which means the listed contracts available extend out five years.

Similarly, each FX futures contracts is for a standardized amount of currency, e.g., €125,000,




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while the parties to an outright forward can choose the amount of currency that will be

exchanged in the future.

       259.    FX futures contracts generally expire, i.e., stop trading, on the second business

day immediately preceding the third Wednesday of the contract month unless that day is a

holiday. For example, the last trading day for the March 2015 EUR/USD contract was on

Monday, March 16, 2015 (i.e., the second business day immediately preceding the third

Wednesday of the contract month).

       260.    In all futures contracts of the major currency pairs listed at the CME, the base

currencies (the one listed first in the pair) are the foreign currency. The counter currency is the

U.S. dollar, which means the gains or losses will be denominated in U.S. dollars.

       261.    The CME currently offers around 100 different FX futures contracts. The major

currency futures pairs are EUR/USD, JPY/USD, GBP/USD, CAD/USD, CHF/USD, and

AUD/USD. Each FX futures contract is “priced based on,” i.e., it derives its value from an

underlying currency pair. For example, a CME euro FX futures contract, which represents an

agreement to buy or sell €125,000 in exchange for U.S. dollars, derives its value from the price

of the spot EUR/USD currency pair. Similarly, a CME Japanese yen FX futures contract, which

involves an exchange of ¥12,500,000 for U.S. dollars, derives its value from the price of the spot

USD/JPY currency pair.

       262.    The value of each FX futures contract is determined by multiplying the quoted

contract price by the underlying notional amount of currency. For example, on May 19, 2015,

the daily settlement price of the September 2015 CME euro FX futures contract was $1.1159.

Thus, the total value of this CME euro FX futures contract on that day was $139,487.50 or the

$1.1159 contract price multiplied by the underlying €125,000 notional amount to be exchanged.



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       263.    The pricing relationship between an FX futures contract and the underlying

currency pair is a product of how futures contracts are structured. A futures contract represents a

bilateral agreement between two parties, a buyer and a seller, who are commonly referred to as a

“long” and a “short.”

       264.    A long position, or simply a long, refers to a market position in which one has

bought a futures contract.     In currency futures, it refers to having bought a currency pair

specified for the contract, meaning one bought the base currency and sold the counter currency.

       265.    As an FX futures contract nears “expiration,” i.e., the last trading day, the long

and short halves of each contract become binding obligations to exchange the underlying

currency. For a CME euro FX futures contract, the longs (as the buyers of euro) are obligated to

pay for and “take delivery” of that currency, while the shorts (as sellers of euro) are required to

“make delivery” of that currency.

       266.    This obligation to exchange the underlying currency at some point in the future

directly ties the value of an FX futures contract to the spot market price for the underlying

currency pair. Prices for FX futures contracts track spot market prices adjusted for the forward

differential. As FX futures contracts near expiration, their prices actually “converge” with those

in the spot market, becoming equal to the current value of the underlying currency pair. The

convergence between spot and futures prices only further demonstrates that the spot market

value of the underlying currency pair (and the WM/Reuters spot rates) drives futures prices.

       267.    When FX futures contracts expire, the process of exchanging currency between

buyer and seller at expiration is called “settlement.”

       268.    All FX futures contracts are settled following their expiration, however, in most

cases, this does not result in an exchange of the physical currency. Market participants have the



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option to offset or “financially settle” their FX futures positions. In financial settlement, instead

of taking or making delivery of euro, or whatever currency is underlying a particular FX futures

contract, investors in either the long or short position can offset their obligations with contracts

for an equal but opposite position. For example, the buyer of a CME euro FX futures contract,

who is long, can settle his obligation to take delivery of €125,000 by selling futures contracts to

initiate an offsetting short position of equal size.

          269.   The difference between the two contract prices, meaning the difference between

the price at which the initial contract was purchased and the price at which the later offsetting

contract was sold, is the profit or loss on that transaction. Given this offsetting process, investors

with long positions will generally benefit as the value of the currency they are purchasing rises,

because they are able to sell an offsetting short contract at a higher price, while those with short

positions will generally benefit as the value of the currency they are selling decreases because

they are able to buy an offsetting long contract at a lower price. Thus, an investor with a long

CME euro FX futures position wants the value of the euro to increase relative to the U.S. dollar,

while the investor with a short position wants the euro to decrease in value relative to the U.S.

dollar.

          270.   Just as there are long and short futures contracts, there are two types of options on

exchange-traded FX futures contracts, commonly known as “calls” and “puts.” A call option

gives the holder the right, but not the obligation, to buy a certain FX futures contract at a

specified price, known as the “strike price,” prior to some date in the future, at which point the

option to purchase that contract “expires.” One may either buy a call option, paying a negotiated

price or premium to the seller, writer, or grantor of the call, or sell, write, or grant a call, thereby

receiving that premium.



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       271.    Conversely, a put option gives the holder the right, but not the obligation, to sell

an FX futures contract at the strike price prior to expiration. Similarly, one may buy or sell a put

option, either paying or receiving a negotiated premium or price.

       272.    Because the FX futures contracts underlying these options are priced based on

certain underlying currency pairs, the prices of options on these futures contracts are also directly

impacted by spot market prices of currency pairs underlying FX futures contracts.

               Prices of FX Futures Contracts Are Impacted by the WM/Reuters Closing
               Spot Rates and Prices of the Underlying Currency Pairs

       273.    Every FX futures contract represents an obligation to exchange an underlying

notional amount of currency in the future. Thus, there is a direct relationship between currency

prices in the spot market and the value of each FX futures contract, which naturally flows from

the value of the underlying currency pair.

       274.    The relationship between the prices of FX futures contracts and the spot market

prices of the underlying currency pairs is demonstrated by the fact that FX futures prices closely

track spot market currency prices. Indeed, futures prices are based on and derived arithmetically

from spot prices. The CFTC found in its settlements with Defendants Barclays, Citigroup,

HSBC, JPMorgan, RBS, and UBS that:

               Exchange rates in many actively traded CME foreign exchange
               futures contracts, including the Euro/U.S. Dollar (EUR/USD)
               future, the U.S. Dollar/Japanese Yen (USD/JPY) futures, and
               British Pound Sterling/U.S. Dollar (GBP/USD) futures, track rates
               in foreign exchange markets at near parity after adjusting for the
               forward differential, or adding or subtracting “forward points.”170



170
        See Barclays CFTC Order at 5; Citibank CFTC Order at 4-5; HSBC CFTC Order at 4;
JPMorgan CFTC Order at 4-5; RBS CFTC Order at 4-5; UBS CFTC Order at 5 (emphasis
added).


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       275.    Consistent with this pricing relationship, the CFTC also found in its settlements

with the same Defendants that FX benchmark rates, including the WM/Reuters Spot Rates,

which determine the prices of various currency pairs in the spot market, also directly impact the

prices of FX futures contract:

               FX benchmark rates, including the WM/R Rates, are used to price
               a variety of transactions including foreign exchange swaps, cross
               currency swaps, spot transactions, forwards, options, futures, and
               other financial derivative instruments.171

       276.    In FX futures and options exchange trading, 2:00 p.m. CT is a critical time (even

though Globex continues trading seamlessly through this time until its close at 4:00 p.m. CT) for

the following reasons: (1) daily settlement occurs at 2:00 p.m. CT; (2) required margin is

benchmarked to the 2:00 p.m. CT daily settlement, therefore the settlement price becomes a

determinant for traders to keep or exit positions based on the margin needed; and (3) on Fridays,

the 2:00 p.m. CT daily settlement is also the final settlement price for weekly or serial month and

quarterly options on futures.

       277.    Daily settlement at 2:00 p.m. CT is generally calculated as a volume-weighted

average price (“VWAP”) of all trades occurring between 13:59:30 and 14:00:00 CT. VWAP is

calculated by adding up the total dollar amount traded for every futures transaction the period

between 13:59:30 and 14:00:00 CT and then dividing by the total futures contracts traded during

that same period.


171
       See, e.g., In the Matter of Citibank, N.A., CFTC Docket No. 15-03, Order Instituting
Proceeding Pursuant to Sections 6(c)(4)(A) and 6(d) of the Commodity Exchange Act, Making
Findings, and Imposing Remedial Sanctions, at 2 (Nov. 11, 2014); n the Matter of HSBC Bank
plc, CFTC Dkt. No. 15-07 at 2 (Nov. 11, 2014); In the Matter of JPMorgan Chase Bank, N.A.,
CFTC Dkt. No. 15-04 at 2 (Nov. 11, 2014); In the Matter of The Royal Bank of Scotland, plc,
CFTC Dkt. No. 15-05 at 2 (Nov. 11, 2014); In the Matter of UBS AG, CFTC Dkt. No. 15-06 at 2
(Nov. 11, 2014) (emphasis added).


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       278.    FX futures rates track FX spot rates, therefore, the calculation of the CME

settlement rate is tied to the spot rate prevailing in the market at the time of calculation.

       279.    Positive price correlation means two or more instruments move in relation to one

another in the same direction, such as when the price goes up for one it goes up for the other.

Since currency futures are a derivative of the spot cash currency market and are deliverable in

the physical currency, their prices move in virtual lockstep to the spot price. This is known as

high positive correlation. In addition, there is a positive correlation between currency pairs that

share a common currency.        For example, EUR/USD and CHF/USD both share USD as a

common currency. If the relative value of USD declines versus EUR, the USD will be perceived

as weakening and will decline versus CHF. Thus, manipulation of the EUR/USD causing

suppression of the USD in this currency pair will have direct and measurable effects on other

currency pairs involving the USD.

       280.    The relationship between FX futures prices and FX spot market prices is also

confirmed by examining the mathematical nature of how FX futures contracts are priced. The

price of each FX futures contract is quoted as the future cost of buying one currency, specifically

the first currency in the underlying currency pair, “in terms of,” i.e., in exchange for, the other.

       281.    The future cost of buying or selling currency, and thus the price of an FX futures

contract, is a product of the costs and benefits associated with purchasing and carrying the

underlying currency pair over the duration of that futures contract, i.e., the time until expiration.

For all FX futures contracts, this cost benefit relationship is determined by adjusting the spot

price of the underlying currency pair to account for the difference in interest paid or received on

deposits of each currency. This relationship is represented mathematically by the formula below:




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                                          FIGURE 1172




       282.    Figure 1 contains the CME’s standard pricing formula used to determine the

future cost of buying and selling a certain currency pair and, as a result, the value of related FX

futures contracts. Figure 1 demonstrates that the “Spot Price” of the currency pair underlying

each FX futures contract is an express term in the FX futures pricing formula. The remaining

variables account for the cost of carrying the specific currency pair underlying that FX futures

contract until expiration. The variable “d” represents the duration of the futures contract, while

“Rbase” and “Rterm” represent the rate of interest paid on deposits of the “Base Currency,” the

first currency listed in the underlying currency pair and the “Term Currency,” the second

currency listed in the underlying currency pair, respectively.

       283.    Given the structure of this pricing formula, prices of FX futures contracts should,

as the CFTC found, “track rates in the foreign exchange markets at near parity,” increasing and

decreasing with changes in the price of the underlying currency pair. To verify this relationship,

Plaintiffs studied the relationship between the spot market price of the EUR/USD currency pair

on the prices of the CME euro FX futures contract, the most highly traded FX futures contract on

the CME. The results demonstrated that the two prices are highly correlated.




172
       See John W. Labuszewski, Sandra Roh, David Gibbs, Currencies Understanding FX
Futures, at 3, CME GROUP (April 22, 2013).


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       284.   As an example, the following two figures demonstrate the relationship between

spot prices and future prices on February 15, 2012. On that date, the Defendants manipulated

both the 12 p.m. WM/Reuters fix and the 1:15 p.m. ECB fix.

                                            FIGURE 2




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                                        FIGURE 3




       285.    Defendants dominated the FX market with a combined market share of over 90%.

Defendants were significant participants in both OTC and exchange transactions as liquidity

providers. They understood the interrelatedness of these various instruments. Given the direct

relationship between FX futures prices and spot market prices for the underlying currency pairs

demonstrated above, Defendants knew their manipulative and/or collusive activities in spot

transactions would result in artificial price movements for exchange transactions.

       286.    Defendants’ manipulative conduct caused FX futures contracts prices to be

artificial throughout the Class Period. Further, Defendants’ collusive and manipulative conduct

caused exchanged-traded FX futures and options contracts to be artificial during at least the

following times: WM/Reuters fix at 4:00 p.m. London; ECB fix at 2:15 p.m. Frankfurt; the 2:00

p.m. CT CME daily settlement; and at any time they collude with respect to bid/ask spreads.



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This caused injury to Plaintiffs and members of the Class who engaged in transactions for FX

futures contracts at artificial prices directly and proximately caused by Defendants’ manipulative

conduct.

IV.    GOVERNMENT INVESTIGATIONS

       287.      Law enforcement and regulatory authorities in the United States, United

Kingdom, European Union, Switzerland, Germany, Asia, Australia, New Zealand, and the

international Financial Stability Board are continuing to actively investigate Defendants’ conduct

in the FX market. Many of these entities have instituted enforcement actions, entered into

settlements, and imposed massive fines based on Defendants’ conduct described herein.

                 U.S. Department of Justice (“DOJ”)

       288.      On October 29, 2013, Acting Assistant Attorney General Mythili Raman (acting

head of DOJ’s Criminal Division) confirmed that DOJ’s Criminal and Antitrust Divisions were

actively investigating Defendants’ manipulation of FX benchmark rates, including the

WM/Reuters Closing Spot Rates.          DOJ confirmed that several banks agreed to produce

information relating to FX benchmark rates pursuant to their obligations under deferred

prosecution and non-prosecution agreements reached in connection with DOJ’s LIBOR

investigation:

                 As part of our Libor resolutions, there have been pledges by banks
                 to cooperate and indeed requirements by banks to cooperate not
                 just in connection with Libor but all benchmark manipulations.173

                 That’s one of the most significant benefits that law enforcement
                 has been able to secure as part of this [LIBOR] investigation.174

173
      FT Reporters, Day of reckoning as European banks’ bill for misconduct mounts,
FINANCIAL TIMES (Oct. 29, 2013) (http://on.ft.com/1kIBkG4).
174
        M. Rochan, FX Fixing Scandal: US Justice Department Confirms Currency
Investigation,  INTERNATIONAL   BUSINESS   TIMES    (Oct.   30,     2013)   )


                                                118
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       289.    DOJ entered into deferred prosecution and non-prosecution agreements with

Defendants Barclays, UBS, and RBS in connection with LIBOR investigations. UBS’, RBS’,

and Barclays’ non-prosecution and deferred prosecution agreements with DOJ require them to

provide information relating to benchmark manipulation, including manipulation of FX

benchmark rates.

               a.     On February 5, 2013, Defendant Barclays submitted to a Non-Prosecution
                      Agreement with DOJ relating to LIBOR and EURIBOR manipulation.175
                      Barclays admitted to submitting false figures for LIBOR and EURIBOR.
                      In addition, Barclays paid $451 million in penalties to U.S. and U.K.
                      regulators in connection with LIBOR manipulation.

               b.     On December 12, 2012, Defendant UBS submitted to a Non-Prosecution
                      Agreement with DOJ relating to UBS’s manipulation of LIBOR,
                      EURIBOR, and TIBOR.176 UBS agreed to pay a $1.5 billion in penalties
                      to U.S., U.K., and Swiss regulators.

               c.     On February 5, 2013, Defendant RBS submitted to a Deferred Prosecution
                      Agreement with DOJ relating to yen LIBOR and Swiss franc LIBOR
                      manipulation.177 RBS agreed to pay $612 million in penalties to U.S. and
                      U.K. regulators.

       290.    DOJ stated that “[t]he cooperation that we have been able to secure as part of our

agreements in the Libor investigation has been very helpful to us in terms of holding banks’ feet

to the fire.”178 DOJ further stated that these cooperation provisions have produced “tangible, real



(http://www.ibtimes.co.uk/justice-department-forex-rates-currency-manipulation-rigging-
518316 ).
175
        Barclays     Non-Prosecution      Agreement,      February    5,   2013,    at     2
(http://www.justice.gov/iso/opa/resources/337201271017335469822.pdf);      Appendix       A,
Statement of Facts (http://www.justice.gov/iso/opa/resources/93120127101734263 65941.pdf).
176
        UBS      Non-Prosecution       Agreement       December      12,   2012,    at      3
(http://www.justice.gov/iso/opa/resources/1392012121911745845757.pdf);      Appendix      A,
Statement of Facts, (http://www.justice.gov/iso/opa/resources/69420121219117253 20624.pdf).
177
        RBS     Deferred    Prosecution     Agreement,    February     5,       2013,     at    ¶6
(http://www.justice.gov/criminal/vns/docs/2013/02/2013-02-rbs-dpa.pdf).
178
       Tom Schoenberg and David McLaughlin, Banks Aid U.S. Forex Probe, Fulfilling Libor


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results.” The cooperation “expanded our investigations into the possible manipulation of foreign

exchange and other benchmark rates.”179

       291.   A person familiar with DOJ’s investigation stated that banks are providing the

DOJ with witness lists, making employees available for interviews, and providing documents.180

       292.   In November 2013, DOJ and FBI agents questioned Robert Wallden, a director in

Deutsche Bank’s foreign exchange trading unit, at his New York home. Agents questioned

Wallden about transcripts of an electronic chat where he boasted “about his ability to influence

currency markets.” 181 Wallden, along with two other New York Deutsche Bank executives,

Diego Moraiz and Christopher Fahy, was fired on February 14, 2014.182

       293.   DOJ has also questioned executives at BNP Paribas as part of its investigation

into FX market manipulation.183 As of March 6, 2014, BNP Paribas had suspended its head of

FX spot trading, Robert De Groot.184

       294.   Former United States Attorney General Eric Holder publicly commented on the

DOJ’s probe. In November 2013, the Attorney General stated that “the manipulation we’ve seen


Accords, BLOOMBERG (Jan. 23, 2014) (http://bloom.bg/1cYkwUB).
179
       Moneynews, Banks Aid US Forex Probe to Fulfill Duty in Libor Settlements (Jan. 23,
2014) (http://nws.mx/1h6KY0G).
180
       Id.
181
       David Enrich, Katie Martin and Jenny Strasburg, FBI Tries New Tactic in Currency
Probe, WALL STREET JOURNAL (Nov. 20, 2013) (http://on.wsj.com/OIgEmq).
182
       Paritosh Bansal and Emily Flitter, Exclusive: Deutsche fires three New York forex traders
– source, REUTERS (Feb. 4, 2014) (http://reut.rs/1dAVufP).
183
        Katherine Rushton, BNP Paribas faces quiz on currency rate scandal, THE TELEGRAPH,
(Nov. 10, 2013)
(http://www.telegraph.co.uk/finance/newsbysector/banksandfinance/10440146/BNP-Paribas-
faces-quiz-on-currency-rate-scandal.html).
184
         BNP Paribas’s head of forex spot-trading suspended: WSJ, REUTERS (Mar. 6, 2014)
(http://reut.rs/1hlK7x6).


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so far may just be the tip of the iceberg”; that “we’ve recognized that this is potentially an

extremely consequential investigation”; and that DOJ’s criminal and antitrust divisions are

“taking a leading role” in “the truly global investigation.”185

        295.    In November 2013, former Deputy Attorney General James Cole commented

further on the DOJ’s investigation:

                The department’s criminal and antitrust divisions along with the
                FBI, regulators and other law enforcement agencies around the
                world are aggressively investigating possible manipulation of
                foreign-exchange rates involving a number of financial
                institutions.186

        296.    On February 7, 2014, Reuters reported that UBS approached DOJ in September

2013 with information relating to the FX probe in hope of gaining antitrust immunity under the

Antitrust Division’s Leniency Program.187 UBS uncovered incriminating chats by traders and

turned over the evidence to DOJ as part of UBS’s application for amnesty.

        297.    On July 13, 2014, Reuters reported that prosecutors from DOJ offered immunity

deals to junior traders in London as they continued to investigate the rigging of FX rates by

senior traders.188




185
      Ben Protess, Landon Thomas Jr. and Chad Bray, U.S. Investigates Currency Trades by
Major Banks, NEW YORK TIMES DEALB%K (Nov. 14, 2013) (http://nyti.ms/1fP5Atu).
186
       Tom Schoenberg, U.S. ‘Aggressively’ Probing Possible Currency Rigging, BLOOMBERG,
(Nov. 18, 2013) (http://bloom.bg/1jfAaV2).
187
       Jamie McGeever, UBS seeks first-mover immunity in U.S. currency probe – sources,
REUTERS (Feb. 7, 2014) (http://reut.rs/1fBofJl); Lindsay Fortado, Keri Geiger, and David
McLaoughlin, UBS Said to Seek Immunity in FX-Rigging Probes by EU, US, BLOOMBERG, (Feb.
24, 2014) (http://bloom.bg/Q16aj9).
188
     Richa Naidu, U.S. prosecutors offer junior UK traders immunity in forex probe: FT, July
13,        2014           (http://www.reuters.com/article/2014/07/13/us-regulator-doj-forex-
idUSKBN0FI14520140713).


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       298.    On May 20, 2015, Citicorp, JPMorgan Chase & Co., Barclays PLC, and The

Royal Bank of Scotland PLC, agreed to plead guilty to conspiring to manipulate the price of the

U.S. dollar and euro currency pair exchanged in the FX spot market. Specifically, Defendants

entered into and engaged in a “conspiracy to fix, stabilize, maintain, increase, or decrease the

price of and rig bids and offers for the euro/U.S. dollar (“EUR/USD”) currency pair exchanged

in the foreign currency spot market (“FX Spot Market”), which began at least as early as

December 2007 and continued until at least January 2013, by agreeing to eliminate competition

in the purchase and the sale of the U.S. dollar and euro currency pair in the United States and

elsewhere, in violation of the Sherman Antitrust Act, 15 U.S.C. §1.”189

       299.    The Defendants agreed to pay criminal fines totaling more than $2.5 billion.

Citicorp agreed to pay a fine of $925 million.190 Barclays PLC agreed to pay a fine of $650

million.191 JPMorgan Chase & Co. agreed to pay a fine of $550 million.192 The Royal Bank of

Scotland PLC agreed to pay a fine of $395 million.193

       300.    Also, on May 20, 2015, UBS AG pleaded guilty to a count of wire fraud for its

involvement in manipulating LIBOR and other benchmark interest rates and paid a $230 million

criminal penalty, after the DOJ determined UBS AG breached its December 2012 Non-


189
        See, e.g., DOJ Barclays Plea Agreement                       at   ¶2,   May     20,   2015
(http://www.justice.gov/file/440481/download).
190
        DOJ         Citicorp        Plea       Agreement,             May         20,         2015
(http://www.justice.gov/file/440486/download).
191
        DOJ       Barclays       PLC      Plea          Agreement,        May         20,     2015
(http://www.justice.gov/file/440481/download).
192
        DOJ    JPMorgan       Chase   &    Co.       Plea    Agreement,         May     20,   2015
(http://www.justice.gov/file/440491/download).
193
        DOJ The Royal Bank of Scotland PLC Plea Agreement, May 20, 2015
(http://www.justice.gov/file/440496/download).


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Prosecution Agreement resolving the LIBOR investigation. 194              According to the factual

statement of breach attached to UBS AG’s plea agreement, UBS AG engaged in deceptive FX

trading and sales practices after it signed the LIBOR Non-Prosecution Agreement. UBS AG

admitted that it conspired with other firms acting as dealers in an FX spot market by “agreeing to

restrain competition in the purchase and sale of the EUR/USD currency pair in the United States

and elsewhere . . . by, among other things: (i) coordinating the trading of the EUR/USD currency

pair in connection with ECB and WMR benchmark currency ‘fixes’ . . ., and (ii) refraining from

certain trading behavior, by withholding bids and offers, when one conspirator held an open risk

position, so that the price of the currency traded would not move in a direction adverse to the

conspirator with an open risk position.”195 Additionally, UBS AG traders tracked and executed

limit orders at a level different from the customer’s specified level in order to add undisclosed

markups.196

       301.    In connection with their plea agreements, Defendants also agreed to cooperate

fully in the investigation involving “the purchase and sale of the EUR/USD currency pair, or any

other currency pair, in the FX Spot Market, or any foreign exchange forward, foreign exchange

option or other foreign exchange derivative, or other financial product . . . .”197

       302.    On May 20, 2015, after the plea agreements were announced, Assistant Attorney

General Bill Baer stated:

              Simply put, exchange rates are prices to buy and sell currency. They
       should be set competitively the same way prices are set in any type of market.

194
        DOJ        UBS         AG      Plea            Agreement,         May         20,    2015
(http://www.justice.gov/file/440521/download).
195
       Id. at Exhibit 1, ¶15.
196
       Id. at ¶14.
197
       See, e.g., DOJ Barclays PLC Plea Agreement at ¶17.


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       Instead, the members of the aptly-named “Cartel” chatroom conspired to gain
       unlawful profit by manipulating these rates. The banks pleading guilty today are
       not ordinary market participants. They are “market makers,” representing 25
       percent or more of dollar–euro exchange rate transactions each year. As such,
       they were uniquely positioned to manipulate the market.

              And that is what they did. First, they agreed to rig the 1:15 p.m. and 4
       p.m. “fixes.” These fixes are designed to be snapshots of the euro–dollar
       exchange rates at a given point in time, reported by unbiased third parties. The
       snapshot rates become the price paid for billions of dollars of currency bought or
       sold on any given day.            “The Cartel” conspirators used chat room
       communications in the minutes and seconds leading up to the snapshot moment to
       move the fix price in the direction that would be most profitable to them, thereby
       cheating customers who relied on those fixes to fairly reflect market prices.

               Second, members of “The Cartel” also hatched plans in the chatroom to
       protect the conspiring banks at other times during the day by agreeing to hold off
       buying or selling dollars and euros. By not trading at these times, or “standing
       down,” members of “The Cartel” minimized price movements and helped each
       other close out of their open positions profitably – at the expense of customers
       and counterparties who expected, and were entitled to receive, a competitive
       dollar–euro exchange rate. It is imperative that these banks accept full
       responsibility for these bad acts and carry through on their commitments to
       change the culture that allowed this behavior to go on for years without detection.

                The Federal Reserve

       303.     On May 20, 2015, the Federal Reserve announced the following fines against

Defendants: $342 million each for UBS AG, Barclays Bank PLC, Citigroup Inc., and JPMorgan

Chase & Co.; $274 million for the Royal Bank of Scotland PLC; and $205 million for Bank of

America Corporation.198 The Federal Reserve issued cease and desist orders requiring the banks

to improve their policies and procedures for oversight and control over traders who buy and sell

U.S. dollars and foreign currencies for the organizations’ own accounts and for customers in the

FX market.199


198
        Press Release, Board of Governors of the Federal Reserve System (May 20, 2015)
(http://www.federalreserve.gov/newsevents/press/enforcement/20150520a. htm).
199
       See, e.g., UBS AG, Order to Cease and Desist and Order of Assessment of a Civil


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       304.    The Board of Governors of the Federal Reserve System noted in its press release

that “[f]ive of the banks failed to detect and address illegal agreements among traders to

manipulate benchmark currency prices.” 200 Bank of America failed to detect and address

conduct by traders who discussed the possibility of entering into similar agreements to

manipulate prices. 201   In addition, the Federal Reserve found UBS AG, Citigroup, Inc.,

JPMorgan Chase & Co., and Barclays Bank PLC engaged in unsafe and unsound conduct in

multi-bank chat room communications, consisting of: “(i) disclosures to traders of other

institutions of confidential customer information of the Bank and the Branch; (ii) agreements

with traders of other institutions to coordinate FX trading in a manner designed to influence the

WMR, ECB, and other FX benchmark fixes and market prices generally; (iii) trading strategies

that raised potential conflicts of interest; and (iv) possible agreements with traders of other

institutions regarding bid/offer spreads offered to FX customers.”202

       305.    The Connecticut Department of Banking joined the cease and desist provisions of

the Federal Reserve’s action against UBS AG, which has a branch in Stamford, Connecticut.

NYDFS took a separate action against Barclays Bank PLC and its New York-based branch on

FX-related conduct.




Monetary Penalty Issued Upon Consent Pursuant to the Federal Deposit Insurance Act, as
Amended,         Docket         No.        15-005-B-FB         (May        20,  2015)
(http://www.federalreserve.gov/newsevents/press/enforcement/enf20150520a6.pdf).
200
        Press Release, Board of Governors of the Federal Reserve System, May 20, 2015
(http://www.federalreserve.gov/newsevents/press/enforcement/20150520a.htm).
201
       Id.
202
      See, e.g., In the Matter of Barclays Bank PLC, Federal Reserve Order, Docket 15-006, at
4 (May 20, 2015) (www.federalreserve.gov/newsevents/press/enforcement/ enf20150520a3.pdf).


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               Commodity Futures Trading Commission

       306.    On November 11, 2014, the CFTC issued five Orders instituting and settling

charges against Defendants Citibank, HSBC Bank PLC, JP Morgan Chase Bank, N.A., The

Royal Bank of Scotland PLC, and UBS AG for violations of the Commodity Exchange Act.203

The CFTC instituted proceedings against these Defendants for attempted manipulation of global

FX benchmark rates and aiding and abetting other banks’ attempts to manipulate global FX

benchmark rates, including the WM/Reuters Closing Spot Rates, to benefit the positions of

certain traders.    The CFTC Orders collectively impose over $1.4 billion in civil monetary

penalties.204 The CFTC fined Citibank and JPMorgan Chase Bank, N.A. $310 million and issued

fines of $290 million each for The Royal Bank of Scotland PLC and UBS AG, and $275 million

for HSBC Bank PLC.205

       307.    On May 20, 2015, the CFTC issued an Order filing and settling charges against

Defendant Barclays Bank PLC for violations of Sections 6(c)(4)(A) and 6(d) of the CEA.206

Barclays was fined $400 million.207

       308.    The CFTC found that during the “Relevant Period,”208 certain traders from each

of these Defendants “coordinated their trading with FX traders to attempt to manipulate certain



203
        CFTC Orders Five Banks to Pay over $1. 4 Billion in Penalties for Attempted
Manipulation of Foreign Exchange Benchmark Rates, Release PR 7056- 14 (Nov. 12, 2014).
(available, with links to Consent Orders, at http://www.cftc.gov/PressRoom/PressReleases/
pr7056-14).
204
       Id.
205
       Id.
206
       See In the Matter of Barclays Bank PLC, CFTC Docket 15-24 (May 20, 2015)
(www.cftc.gov/    ucm/groups/  public/@lrenforcementactions/ documents/legalpleading/
enfbarclaysborder052015.pdf).
207
       Id. at 16.


                                             126
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FX benchmark rates, including the 4 p.m. WM/R fix, to their benefit.”209 Defendants’ FX traders

“used private electronic chat rooms to communicate and plan their attempts to manipulate the FX

benchmark rates for certain currency pairs.” These traders “disclosed confidential customer

order information and trading positions, altered trading positions to accommodate the interests of

the collective group, and agreed on trading strategies as part of an effort by the group to attempt

to manipulate certain FX benchmark rates, in some cases downward and in some cases

upward.”210

       309.    The CFTC found that Citibank, JPMorgan Chase Bank, N.A., HSBC Bank PLC,

The Royal Bank of Scotland PLC, UBS AG, and Barclays Bank PLC “failed to adequately

assess the risks associated with their FX traders participating in the fixing of certain FX

benchmark rates and lacked adequate internal controls in order to prevent improper

communications by traders.”211 These Defendants “lacked sufficient policies, procedures and

training specifically governing participation in trading around the FX benchmarks rates; and had




208
       The “Relevant Period” varied for each Defendant as follows: Citigroup (2009 through
2012); JP Morgan (2010 through 2012); HSBC (2009 through mid-2012); RBS (2009 through
2012); UBS (2009 through 2012); and Barclays (2009 through 2012).
209
       See, e.g., In the Matter of Citibank, N.A., CFTC Docket No. 15-03, Order Instituting
Proceeding Pursuant to Sections 6(c)(4)(A) and 6(d) of the Commodity Exchange Act, Making
Findings, and Imposing Remedial Sanctions, at 2 (Nov. 11, 2014).
210
       Id.
211
        See CFTC Orders Five Banks to Pay over $1. 4 Billion in Penalties for Attempted
Manipulation of Foreign Exchange Benchmark Rates, Release PR 7056-14 (Nov. 12, 2014)
(available, with links to Consent Orders, at http://www.cftc.gov/PressRoom/PressReleases/
pr7056-14); see also Barclays to Pay $400 Million Penalty to Settle CFTC Charges of Attempted
Manipulation and False Reporting of Foreign Exchange Benchmarks (May 20, 2015)
(www.cftc.gov/PressRoom/PressRelease/pr7181-15).


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inadequate policies pertaining to, or sufficient oversight of, their FX traders’ use of chat rooms

or other electronic messaging.”212

       310.     The CFTC Orders noted that between August 2012 and December 2013, Citibank,

JPMorgan Chase Bank, N.A., HSBC Bank PLC, The Royal Bank of Scotland PLC, UBS AG,

and Barclays Bank PLC either banned or restricted the use of multi-bank chat rooms for its FX

personnel.213

                Office of the Comptroller of the Currency

       311.     On November 12, 2014, the Office of the Comptroller of the Currency (“OCC”)

announced that it assessed $950 million in fines against three U.S. banks for unsafe and unsound

practices relating to FX trading.214 The OCC assessed penalties of $250 million against Bank of

America, N.A., $350 million against Citibank, and $350 million against JPMorgan Chase Bank,




212
       Id.
213
       In the Matter of Citibank, N.A., CFTC Docket No. 15-03, Order Instituting Proceeding
Pursuant to Sections 6(c)(4)(A) and 6(d) of the Commodity Exchange Act, Making Findings, and
Imposing Remedial Sanctions, at 9 (Nov. 11, 2014) (early 2013); In the Matter of JPMorgan
Chase Bank, N.A., CFTC Dkt. No. 15-04, at 8 (Nov. 11, 2014) (December 2013); In the Matter
of HSBC Bank plc, CFTC Dkt. No. 15-07, at 10 (Nov. 11, 2014) (December 2012); In the Matter
of Royal Bank of Scotland plc, CFTC Dkt. No. 15-05, at 7 (Nov. 11, 2014) (August 2012); In the
Matter of UBS AG, CFTC Dkt. No. 15-06, at 8 (Nov. 11, 2014) (November 2013); In the Matter
of Barclays Bank PLC, CFTC Dkt. No. 15-24, at 9 (May 20, 2015) (October 2012).
214
       OCC, OCC Fines Three Banks $950 Million for FX Trading Improprieties (Nov. 12,
2014) (http://www.occ.gov/news-issuances/news-releases/2014/rr-occ-2014-157.html).


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N.A..215 In addition to assessing civil money penalties, the OCC issued cease and desist orders

requiring the banks to correct deficiencies and enhance oversight of their FX trading activity.216

       312.    The OCC found that between 2008 and 2013, some of the banks’ traders held

discussions in online chat rooms about coordinating FX trading strategies to manipulate

exchange rates to benefit traders or the bank.217 In addition, the traders disclosed confidential

bank information, including customer orders and rate spreads.218 The OCC’s examinations also

found that traders discussed activity to trigger trading actions potentially detrimental to

customers and beneficial to the trader or bank, and discussed pending orders and agreed not to

trade in particular currencies.”219

               New York State Department of Financial Services

       313.    On May 20, 2015 the New York State Department of Financial Services

(“NYDFS”) fined Barclays Bank PLC $485 million and ordered the termination of eight

employees who engaged in New York Banking Law violations in connection with manipulating



215
       Bank of America, N.A., Consent Order for a Civil Money Penalty, OCC AA-EC-14-99
(Nov.    12,     2014)    (http://www.occ.gov/news-issuances/news-releases/2014/nr-occ-2014-
157b.pdf); Citibank, N.A., Consent Order for a Civil Money Penalty, OCC AA-EC-14-101 (Nov.
12, 2014) (http://www.occ.gov/news-issuances/news-releases/2014/nr-occ-2014-157d.pdf);
JPMorgan Chase Bank, N.A., Consent Order for a Civil Money Penalty, OCC AA-EC-14-100
(Nov. 12, 2014) (http://www.occ.gov/news-issuances/news-releases/2014/nr-occ-2014-157f.pdf).
216
        Bank of America, N.A., Consent Order, OCC AA-EC-14-99 (Nov. 12, 2014)
(http://www.occ.gov/news-issuances/news-releases/2014/nr-occ-2014-157a.pdf); Citibank, N.A.,
Consent Order, OCC AA-EC-14-101 (Nov. 12, 2014) (http://www.occ.gov/news-
issuances/news-releases/2014/nr-occ-2014-157c.pdf); JPMorgan Chase Bank, N.A., Consent
Order, OCC AA-EC-14-100 (Nov. 12, 2014) (http://www.occ.gov/news-issuances/news-
releases/2014/nr-occ-2014-157e.pdf).
217
       OCC, OCC Fines Three Banks $950 Million for FX Trading Improprieties (Nov. 12,
2014) (http://www.occ.gov/news-issuances/news-releases/2014/nr-occ-2014-157.html).
218
       Id.
219
       Id.


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spot trading in the FX market.220 Benjamin M. Lawsky, Superintendent of Financial Services

said: “Put simply, Barclays employees helped rig the foreign exchange market. They engaged in

a brazen ‘heads I win, tails you lose’ scheme to rip off their clients. While today’s action

concerns misconduct in spot trading, there is additional work ahead.”221

        314.      NYDFS noted that “in a fair and functioning economic market, a business takes

on risk in the hopes of earning profit. However, Barclays’ traders coordinated with other banks

to remove that risk and instead just take profits at the expense of their clients.”222 “The culture

within the Bank valued increased profits with little regard to the integrity of the market.”223 For

example, in May 2012, after noting that “Large fixes are the key to making money as we have

more chance of moving the market our way,” “a Barclays senior trader announced an ‘added

incentive’ for Sales employees of 50% of profits made for increasing trading volume at certain

fix orders.”224

        315.      NYDFS found that from at least 2008 through 2012, certain FX traders at

Barclays communicated with FX traders at other banks to coordinate attempts to manipulate

prices in certain FX currency pairs and certain FX benchmark rates, including the WM/R and

ECB fixes.225 Barclays traders manipulated benchmarks in chat rooms, coordinated trading, and


220
        New York State Department of Financial Services, In the Matter of Barclays Bank plc,
Consent Order Under New York Banking Law §§44 and 44-a (May 20, 2015)
(http://www.dfs.ny.gov/about/ea/ea150520.pdf).
221
      The New York State Department of Financial Services, NYDFS Announces Barclays to
Pay $2.4 Billion, Terminate Employees for Conspiring to Manipulate Spot FX Trading Market
(May 20, 2015) (http://www.dfs.ny.gov/about/press/ pr1505201.htm).
222
        Id.
223
        Id.
224
        Id.
225
        See id.


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discussed the spread between bids and offers which the banks were showing to customers.226 An

additional tactic to reduce the banks’ risk, traders at the various banks on a multi-bank chat to

agree to stay out of each other’s way around the time of the fix, and avoid executing contrary

orders while an effort to push prices was being deployed.

       316.   Many of Barclays’ employees who were implicated in the wrongful conduct,

including a director on the FX Spot trading desk in London, a director on the FX Spot trading

desk in New York, a director on the Emerging Markets desk in New York, a managing director

in FX Hedge Fund Sales in New York, a director in FX Real Money Sales in New York, and

assistant vice president in FX Hedge Fund Sales in London, are no longer employed at the

bank. 227 Additionally, as a result of the investigation, four more Barclays employees were

recently terminated, including: the Global Head of FX Spot trading in London, an assistant vice

president on the FX Spot trading desk in London, a director on the FX Spot trading desk in

London and a director on the FX Spot trading desk in New York.228

       317.   NYDFS ordered Barclays to take all steps necessary to terminate four employees

who played a role in the misconduct: a vice president on the Emerging Markets trading desk in

New York, two directors on the FX Spot trading desk in New York and a director on the FX

sales desk in New York (who previously was Co-Head of the UK FX Hedge Fund Sales in

London).229



226
       Id.
227
       The New York State Department Financial Services, NYDFS Announces Barclays to Pay
$2.4 Billion, Terminate Employees for Conspiring to Manipulate Spot FX Trading Market (May
20, 2015) (http://www.dfs.ny.gov/about/press/ pr1505201.htm).
228
       Id.
229
       Id.


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               United Kingdom Financial Conduct Authority (“UK-FCA”)

       318.    The UK-FCA has investigative and enforcement powers with respect to financial

services providers.

       319.    On February 4, 2014, John Griffith-Jones, Chairman of the UK-FCA, and Martin

Wheatley, CEO of the UK-FCA, testified before the House of Commons Treasury Committee

about FX rates. In response to numerous questions about the UK-FCA’s FX investigation,

Wheatley stated:

               [T]he elements [of the FX investigation] that are different than
               LIBOR is that it’s a much deeper, much more liquid market based
               on real trades. The elements that are similar to LIBOR, and this is
               purely on what’s reported, is that the suggestions of collusion
               between individuals at a number of firms and the use of chat rooms
               and phones to collude to influence prices. But we’re still in the
               investigation phase, so I can’t really comment too much on any
               findings other than to say that the allegations are every bit as bad
               as they have been with LIBOR.230

               [G]iven what’s come out, no, people will not trust the way the rates
               are fixed.231

               [A]round ten banks have themselves volunteered information that
               said they have been asked for information.232

               I don’t think we will get to final conclusions within 2014, I hope
               that we will next year, but again the nature of these sort of
               investigations is that it’s very hard to predict.233




230
        Videorecording, House of Commons Treasury Committee meeting (Feb. 4, 2014)
(http://www.parliamentlive.tv/Event/Index/7718bd4f-5583-403d-aec2-08e0d38c5bbd), at
1:13:42 -1:14:11.
231
       Id. at 1:14:20-1:14:24.
232
       Id. at 1:15:04-1:15:10.
233
       Id. at 1:17:13-1:17:22.


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         320.       Wheatley further noted that in addition to the FX investigation, “there are a

number of other benchmarks that operate in London that we are investigating because of

concerns that have been raised with us.”234

         321.       The UK-FCA’s investigation focused on an electronic chat room used by top

traders at financial institutions. Defendant RBS produced emails and instant messages to the

UK-FCA, including The Cartel chat room activities of former RBS and JPMorgan trader Richard

Usher.     Usher has been specifically identified in the UK-FCA’s investigation of FX

manipulation, as a result of instant messages he sent during his time at RBS. These messages

reportedly included details of his trading positions.235 The UK-FCA has also asked Morgan

Stanley to provide details in relation to its FX operations. 236 In addition, approximately 40

traders have individually interviewed with the UK-FCA and produced communications dating

back to 2004.

         322.       On November 11, 2014, the FCA imposed fines totaling £1.1 billion ($1.7 billion)

on Citibank, HSBC Bank PLC, JP Morgan Chase, N.A., The Royal Bank of Scotland PLC, and

UBS AG for failing to control business practices in their G10 spot foreign exchange trading
              237
operations.           On May 20, 2015, the FCA fined Barclays Bank PLC £284,432,000

($441,000,000).238 The FCA announced that between January 1, 2008 and October 15, 2013,


234
         Id. at 1:17:48-1:17:53.
235
     Gavin Finch, Liam Vaughan, and Suzi Ring, Ex-RBS Trader in U.K. Probe Said to Be
JPMorgan’s Usher, BLOOMBERG (Oct. 14, 2013) (http://bloom.bg/1ip3Yer).
236
      Helia Ebrahimi, Morgan Stanley contacted over forex probe: Sources (Nov. 6,
2013)(www.cnbc.com/id/101175614).
237
        FCA fines five banks £1.1 billion for FX failings and announces industry-wide
remediation programme (Nov. 12, 2014) (available online at http://www.fca.org.uk/news/fca-
fines-five-banks-for-fx-failings).
238
         FCA fines Barclays ₤284,432,000 for forex failings (May 20, 2015) (available online at


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ineffective controls at the banks allowed traders to improperly share confidential client

information in an attempt to manipulate G10 spot FX currency rates, including in collusion with

traders at other firms, in a way that could disadvantage clients and the market.239

        323.    The FCA found that traders formed tight-knit groups “based upon mutual benefit

and often with a focus on particular currency pairs.”240 “The value of the information exchanged

between the traders and the importance of keeping it confidential between recipients was clear to

participants.”241

        324.    Traders shared information about client identities and the size and direction of

their firms’ net orders at a forthcoming fix, which provided traders with more information than

they would otherwise have had about other firms’ client order flows and thus, the likely direction

of the fix.242 The traders used this confidential information to coordinate their trading strategies

and then attempted to manipulate the WM/Reuters and the ECB fix rates and trigger client “stop-

loss” orders.243

        325.    The FCA warned that it was “completely unacceptable . . . for firms to engage in

attempts at manipulation for their own benefit and to the potential detriment of certain clients

and other market participants.”244 The FCA’s Final Notices to Citibank, HBSC Bank PLC, JP


http://fca.org.uk/news/fca-fines-barclays-for-forex-failings).
239
        FCA fines five banks £1.1 billion for FX failings and announces industry-wide
remediation programme (Nov. 12, 2014) (available online at http://www.fca.org.uk/news/fca-
fines-five-banks-for-fx-failings).
240
        See, e.g., FCA Final Notice to Citibank N.A., No. 124704, Nov. 11, 2014, ¶4.32
(http://www.fca.org.uk/your-fca/documents/final-notices/2014/citibank-na).
241
        Id. at ¶4.33.
242
        Id. at ¶4.35.
243
        See, e.g., id. at ¶¶4.31, 4.36.
244
        FCA fines five banks £1.1 billion for FX failings and announces industry-wide


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Morgan Chase Bank, N.A., The Royal Bank of Scotland PLC, UBS AG, and Barclays Bank PLC

include examples of misconduct by each Defendant bank and details how their respective trading

businesses made a significant profit.

               Serious Fraud Office (“SFO”)

       326.    The U.K.’s SFO opened a criminal investigation into alleged manipulation of

foreign-exchange benchmarks.       On July 21, 2014, the agency stated that it was probing

“allegations of fraudulent conduct in the foreign-exchange market.”245 On December 19, 2014,

the first person was arrested in relation to the criminal investigation.   The SFO said: “In

connection with a Serious Fraud Office investigation, we can confirm one man was arrested in

Billericay [Essex] on December 19. Officers from the City of London Police assisted with the

operation.”246 Later reports confirm that the arrested man was Paul Nash of RBS.247

               Bank of England

       327.    The Bank of England Oversight Committee hired Lord Grabiner QC and a law

firm to investigate whether, between 2005 and 2013, any Bank of England official was involved

in, or aware of, the conduct relating to the FCA’s FX investigation described above. Although

Lord Grabiner reportedly found no evidence to suggest that any bank official was involved in



remediation programme (Nov. 12, 2014) (http://www.fca.org.uk/news/fca-fines-five-banks-for-
fx-failings).
245
       Lindsay Fortado and Julia Verlaine, U.K. Prosecutors Investigate Foreign-Exchange
Rigging, BLOOMBERG (July 21, 2014) (http://www.bloomberg.com/news/articles/2014-07-21/u-
k-prosecutors-open-foreign-exchange-rigging-investigation).
246
        James Titcomb, First arrest in SFO forex investigation, THE TELEGRAPH (Dec. 19, 2014)
(http://www. telegraph.co.uk/ finance/news bysector/ banksand finance/11305106/ First-arrest-
in-SFO-forex-investigation.html).
247
      Caroline Binham, RBS trader arrested in forex rigging probe named in court records
(Jan.      7,        2015)       (http://www.ft.com/intl/cms/s/0/8a9b0f76-968c-11e4-a83c-
00144feabdc0.html#axzz3eV72z6XG).


                                              135
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any unlawful or improper behavior in the FX market, the details in his report support Plaintiffs’

allegations herein.248

       328.    Lord Grabiner found that at least from May 16, 2008, the Bank of England’s

Chief FX dealer, Martin Mallett, was aware that bank traders were sharing aggregated

information about their client orders for the purposes of matching and had concerns that

regulators would take interest in it. Mr. Mallett explained to a market participant in March 2012

that “. . . if [regulators] were aware that it was going on [they] would be uncomfortable with it

. . .” and that he “would just feel uncomfortable justifying it to the regulator the way it’s

currently set up.” 249 From at least November 28, 2012, Mr. Mallett had concerns that the

practice could involve collusive behavior and lead to market participants being disadvantaged.

Mr. Mallett did not escalate this issue to an appropriate person. The investigation criticized

Mr. Mallett for this error in judgment but noted that he was not involved in any unlawful or

improper behavior and was not aware of specific instances of such behavior. On November 11,

2014, the Bank of England fired Mr. Mallett for his failure to adhere to internal policies.250

       329.    The Bank of England investigation has been widely criticized.               The UK

Parliament Treasury Committee criticized the terms of reference as being drawn too narrowly.251


248
      See generally Bank of England Foreign Exchange Market Investigation, A Report by
Lord    Grabiner       QC    (www.      bankofengland.co.uk/   publications/Documents/
news/2014/grabiner.pdf).
249
       Bank of England Foreign Exchange Market Investigation A Report by Lord Grabiner
QC,     BANK OF ENGLAND (Nov.              11,  2014) (http://www.bankofengland.co.uk/
publications/Documents/news/2014/grabiner.pdf).
250
        Bank of England fires chief forex dealer in wake of probe, BBC (Nov. 12, 2014)
(http://www.bbc.com/news/business-30022298).
251
       Caroline Binham, Mark Carney rejects criticism of forex probe, FINANCIAL TIMES
(March        3,     2015)      (http://www.ft.com/intl/cms/s/0/c983958a-c195-11e4-bd24-
00144feab7de.html#axzz3auExUeIS).


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Furthermore, the investigation was scrutinized by the DOJ which requested to interview a senior

employee at RBS amid concerns that the Bank of England’s report was not appropriately

thorough.252

                European Commission (“EC”)

        330.    EC’s    Competition   Commissioner,      Joaquin   Almunia,   acknowledged    its

investigation of the FX market, and in particular, manipulation of FX benchmark rates, including

the WM/Reuters Closing Spot Rates. Almunia said EC learned of activities that “could mean

violation of competition rules around the possible manipulation of types of exchange rates.”253

During a press conference in December 2013, Almunia stated that EC was “looking very

carefully at Forex.”254 Almunia also stated, “We have internal information regarding possible

manipulation of forex benchmarks . . . . We are in the preliminary steps.”255 A person familiar

with the EC’s investigation stated that banks are queuing up to provide incriminating information

“of startling quality.”256

        331.    On September 6, 2014, Almunia told Bloomberg TV, “We are at the starting point

of this investigation . . . It is a very important case because the Forex markets every day

252
       James Titcomb, Bank of England’s foreign exchange investigation faces US scrutiny,
TELEGRAPH        (May     13,      2015)       (http://www.telegraph.co.uk/finance/bank-of-
england/11603854/Bank-of-Englands-foreign-exchange-investigation-faces-US-scrutiny.html).
253
      Aoife White and Gaspard Sebag, EU Regulators Start Inquiry Into Currency Rate-
Manipulation, BLOOMBERG (Oct. 7, 2013) (http://bloom.bg/1plDnji).
254
        Graeme Wearden and Nick Fletcher, Banks fined record €1.7 billion by EC over rate-
fixing cartel scandal – as it happened, THE GUARDIAN (Dec. 4, 2013) (
http://www.theguardian.com/business/2013/dec/04/banks-braced-for-new-rate-rigging-fines-
tesco-sales-slide-business-live#block-529f0404e4b0acc591790b77).
255
      Conor Humphries, EU Commission looking into possible forex manipulation – Almunia,
REUTERS (Dec. 5, 2013) (http://reut.rs/1dlaW5n).
256
         FT reporters, Forex     in   the   spotlight,   FINANCIAL TIMES      (Feb.   16,   2014)
(http://on.ft.com/1kVisGt).


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exchange billions and billions of euros – but I cannot anticipate anything.”257 On October 27,

2014, Bloomberg reported that FX traders’ messages on Facebook were sought by the EC.258

               Switzerland

       332.    Swiss authorities are actively investigating manipulation of FX benchmark rates,

including the WM/Reuters Closing Spot Rates. On September 30, 2013, the Swiss Competition

Commission (“Swiss WEKO”) opened a preliminary investigation into manipulation of FX

markets after learning about discussions about FX rates between banks. Swiss WEKO stated,

“Through discussions they are said to have manipulated various exchange rates.” 259 On

March 31, 2014, WEKO provided additional details on its investigation, noting that its

investigation included Defendants UBS, Credit Suisse, JPMorgan, Citigroup, Barclays, and RBS,

among others. WEKO stated, “The possible actions include the following: the exchange of

confidential information, the general co-ordination of transactions with other market participants

at agreed price levels, coordinated actions to influence the WM/Reuters fix as well as the co-

ordination of the sale and purchase of currencies in relation to certain third parties.”260 WEKO’s

statement concluded, “There are indications that these banks went into anti-competitive

agreements to manipulate price rates in foreign exchange trading.”261


257
       Gaspard Sebag and Flavia Rotondi, FX Probe Lags in EU as Other Watchdogs Ready for
Fines, BLOOMBERG BUSINESS (Sept. 8, 2014) (http://www.bloomberg.com/news/ articles/2014-
09-08/fx-probe-lags-in-eu-as-other-watchdogs-ready-for-fines).
258
       Aoife White and Gaspard Sebag, FX Traders’ Facebook Chats Said to be Sought in EU
Probe, BLOOMBERG BUSINESS (Oct. 27, 2014) (http://www.bloomberg.com/ news/articles/2014-
10-27/fx-traders-facebook-chats-said-to-be-sought-in-eu-probe).
259
         Swiss anti-trust watchdog probes banks over FX manipulation, REUTERS (Oct. 4, 2013)
(http://reut.rs/1oKSbcW).
260
       Daniel Schäfer, Swiss watchdog launches forex investigation into eight banks, FINANCIAL
TIMES (March 31, 2014) (http://on.ft.com/1dKuO1P).
261
       Id.


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       333.      In addition, on October 4, 2013, Financial Market Supervisory Authority (“Swiss

FINMA”), Switzerland’s main market regulator, announced that it was “currently conducting

investigations into several Swiss financial institutions in connection with possible manipulation

of foreign exchange markets.” Swiss FINMA indicated multiple banks around the world were

potentially implicated.     Swiss FINMA “is coordinating closely with authorities in other

countries.”262

       334.      On November 12, 2014, FINMA announced the conclusion of its enforcement

proceedings against UBS AG regarding FX trading conducted in Switzerland. FINMA ordered

UBS to pay 134 million francs ($139 million) and to cap dealers’ bonuses over misconduct in FX

and precious metals trading.263

       335.      FINMA found that UBS’s FX traders repeatedly, and over extended periods of

time, acted in collusion with other banks to manipulate FX benchmarks to generate profits for the

bank or third parties. Furthermore, FINMA found that UBS coordinated with other banks to:

trigger client stop-loss orders; engage in front-running client orders; engage in risk-free

speculation at the clients’ expense when making partial fills, where at least part of the clients’

profitable FX transactions were credited to the bank; and disclosed confidential client identifying

information to third parties.264

       336.      FINMA found that “UBS’s risk assessment of foreign exchange trading was

insufficient . . . . The bank did not have adequate control instruments in place to identify

262
      FINMA is investigating possible manipulation of foreign currency exchange rates (Oct.
4,      2013)       (https://www.finma.ch/en/news/2013/10/mm-untersuchung-manipulation-
fremdwaehrungskurse-20131004/).
263
       Foreign exchange trading at UBS AG: investigation conducted by FINMA (Nov. 12,
2014) (http://www.finma.ch/e/aktuell/Documents/ubs-fx-bericht-20141112-e.pdf).
264
       Id. at ¶¶3.3.1, 3.3.2.


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violations of market conduct rules, manipulative conduct or breaches of the bank’s duty to act in

the interest of its clients . . . . The compliance function within the Foreign Exchange division

was insufficiently developed.” 265    FINMA initiated enforcement proceedings against 11

employees and managers to determine the knowledge and conduct of involved persons up to the

highest level of UBS’s foreign exchange business.

              Financial Stability Board (“FSB”)

       337.   The FSB is an international body that was established in April 2009 as the

successor to the Financial Stability Forum (“FSF”). The FSB coordinates regulation for the

Group of Twenty (“G20”) leading economies, organizing the work of national financial

authorities and international standard-setting bodies.     The FSB includes all G20 major

economies, FSF members, and the EC. The FSB set up a task force in 2013 to try to repair or

replace tarnished financial benchmarks in the wake of LIBOR manipulation.

       338.   On February 14, 2014, the FSB, led by Bank of England governor, Mark Carney,

said it would review the FX benchmarks. The FSB stated:

              The [FSB] was tasked by the G20 in 2013 to co-ordinate and guide
              work on the necessary reforms to short-term interest rate
              benchmarks, to ensure that widely-used benchmarks are held to
              appropriate standards of governance, transparency and reliability.

                                              ***
              Recently, a number of concerns have been raised about the
              integrity of foreign exchange (FX) rate benchmarks. The FSB has
              consequently decided to incorporate an assessment of FX
              benchmarks into its ongoing programme of financial benchmark
              analysis.

              To take this work forward, a new sub-group on Foreign Exchange
              Benchmarks has been established. The new group will be chaired

265
        FINMA sanctions foreign exchange manipulation at UBS (Nov. 12, 2014)
(http://www.finma.ch/e/aktuell/Pages/mm-ubs-devisenhandel-20141112.aspx).


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               by Guy Debelle (Assistant Governor, Financial Markets, Reserve
               Bank of Australia) and Paul Fisher (Executive Director for
               Markets, Bank of England), both members of the [Official Sector
               Steering Group] (OSSG.).

               The FX Benchmarks Group will undertake a review of FX
               benchmarks and will analyse market practices in relation to their
               use and the functioning of the FX market as relevant. Conclusions
               and recommendations will be transmitted by the FSB to the
               Brisbane Summit.266

       339.    On July 15, 2014, the FSB released a consultative document to aid in the search

for a new process that could replace the way foreign exchange rates are set. 267 The report

included 15 recommendations regarding the calculation methodology of the WM/Reuters

benchmark rates, publication of reference rates by central banks, market infrastructure in relation

to the execution of fix trades, and the behavior of market participants around the time of the

major FX benchmarks.

       340.    More than 30 asset managers, currency dealing banks, and industry associations

took the opportunity to respond to the FSB’s recommendations regarding the future of the

foreign exchange benchmark.268 On September 30, 2014, the FSB released its final report.269

The FSB made 15 recommendations, including, among others: (1) that the fixing window be

widened from its current width of one minute; (2) WM should incorporate price feeds and

transaction data from a broader range of sources to further increase its coverage of the FX market


266
         FSB    to    review     foreign     exchange    benchmarks        (Feb.     14,     2014)
(https://www.financialstabilityboard.org/press/pr_140213.htm).
267
        FSB, Foreign Exchange Benchmarks Consultative Document (July 15, 2014)
(http://www.financialstabilityboard.org/wp-content/uploads/r_140715.pdf?page_moved=1).
268
         Chiara Albanese, Recommendations Roll in for Fixing the FX Fix, WSJ (Aug. 20, 2014)
(http://blogs.wsj.com/moneybeat/2014/08/20/recommendations-roll-in-for-fixing-the-fx-fix/).
269
        FSB, Foreign Exchange Benchmarks Final Report (Sept.                          30,    2014)
(http://www.financialstabilityboard.org/wp-content/uploads/r_140930.pdf).


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during the fixing window; (3) development of industry-led initiatives to create independent

netting and execution facilities; (4) that the fixing transactions be priced in a manner that is

transparent and consistent with the risk borne in accepting such transactions. This may occur via

applying a bid-offer spread through a clearly communicated and documented fee structure, such

as a direct fee or contractually agreed price; (5) market-makers should not share information with

each other about their trading positions beyond that necessary for a transaction.270

               Other Countries

       341.    Other countries have opened investigations of conduct in the FX market. These

include Brazil, Germany, Singapore, Australia, South Africa, Hong Kong, and New Zealand.

       342.    Brazil’s antitrust agency, Council for Economic Defence (“CADE”), is

investigating banks, including BOTM, Deutsche Bank, Credit Suisse, Morgan Stanley, RBC, and

Standard Chartered, among others, for manipulation of FX rates.271 On July 2, 2015, CADE

opened an administrative process to investigate manipulation of exchange rates involving the

Brazilian real and foreign currencies, including the manipulation of benchmark rates, such as the

Central Bank of Brazil (PTAX), the WM/Reuters and the ECB, and the fixing of spreads.272 On

July 14, 2015, CADE confirmed the names of 30 bankers under investigation.273



270
       Id. at 23-31.
271
        Guillermo Parra-Bernal and Leonardo Goy, Brazil probes currency market activity of 15
global banks REUTERS (July 7, 2015) (http://www.euronews.com/business-newswires/3029849-
brazil-fx-manipulation-case-follows-us-uk-swiss-probes-official/); see also Superintendência do
Cade investiga cartel na manipulaҫȁo de taxas de cȃmbio (July 2, 2015)
(http://www.cade.gov.br/Default.aspx?90a372879e74888b9facbf93a3a9).
272
       Id.
273
       Tom Madge–Wyld and Pallavi Gunigante, CADE names 30 traders in Forex probe GCR
NEWS (July 14, 2015) (globalcompetitionreview.com/news/article/39066/cade-names-30-traders-
forex-probe)


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       343.   South Africa’s competition commission is investigating numerous banks,

including affiliates of Barclays, BNP Paribas, Citigroup, JPMorgan, and Standard Chartered for

involvement of rigging FX rates involving the South African rand (ZAR).274

V.     DEFENDANTS’ PUBLIC FILINGS CONFIRM INVESTIGATIONS AND COOPERATION

       344.   Numerous public filings by Defendants confirm the existence of government

investigations and the cooperation of certain Defendants with those investigations.       These

include filings by Defendants Bank of America, Barclays, Citigroup, Credit Suisse, Deutsche

Bank, Goldman Sachs, HSBC, JPMorgan, RBS, Standard Chartered, and UBS.

VI.    TERMINATIONS, SUSPENSIONS, AND DEPARTURES OF DEFENDANT EMPLOYEES

       345.   Highlighting the seriousness of the global investigations into Defendants’ conduct

regarding FX benchmark rates, including the WM/Reuters Closing Spot Rates, Defendants have

terminated, suspended, or put on leave numerous employees with responsibility for their FX

operations. Defendants have terminated or suspended more than 50 employees, while numerous

Defendants have had long-time employees depart amidst the investigations.

              Bank of America

       346.   At least two Bank of America FX employees have left the bank since the FX

investigations began. In March 2014, Bank of America suspended Joseph Landes, its head of

spot FX trading in Europe, the Middle East, and Africa. In April 2014, Milko Campusano, a

New York currency trader, left the bank. Campusano came to Bank of America from JPMorgan

in 2002, where he served as North America rates vice president and senior spot dealer.




274
        Renee Bonorchis, South Africa probes foreign exchange traders on price fixing,
BLOOMBERG (May 19, 2015) (http://www.bloomberg.com/news/articles/2015-05-19/s-africa-
antirust-agency-probes-forex-traders-for-price-fixing).


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              Barclays

       347.   Barclays has suspended or terminated at least 10 employees and has hired

criminal-defense lawyers to represent some of their employees. In November 2013, Barclays

suspended six traders as part of its internal inquiry into alleged rigging of the FX market,

including its chief currency trader in London. The suspended individuals include London-based

Chris Ashton, who oversaw Barclays’ voice-spot trading. After Ashton’s departure, Barclays

appointed a junior trader as interim head of its London spot foreign exchange desk. Additionally,

London-based FX spot trader Mark Clark, Tokyo-based FX spot trader Jack Murray, New York-

based FX spot traders Russel Katz and Jerry Urwin, and at least one unknown Barclays’

employee were all suspended. Ashton was part of The Cartel chat room.

       348.   In April 2014, Barclays fired four traders.      Additionally, New York state’s

banking regulator Benjamin Lawsky ordered the bank to fire another four who had been

suspended or placed on paid leave.

              BNP Paribas

       349.   BNP Paribas has suspended or terminated at least one employee. In March 2014,

BNP Paribas suspended its head of spot currency trading, Robert de Groot. De Groot was a

member of the Bank of England’s Chief Dealers’ Sub Group.

              Citigroup

       350.   At least 12 FX employees at Citigroup left the bank.         Citigroup suspended

Anthony John, a sterling trader in London, and Andrew Amantia, a Canadian dollar trader in

New York. Citigroup also fired Rohan Ramchandani, who was head of European spot trading,

after he was put on leave in October 2013. Ramchandani was part of The Cartel chat room and

was a member of the Bank of England’s Chief Dealers’ Sub Group.              In addition to the

aforementioned employees disciplined by the bank, on February 5, 2014, Bloomberg reported

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that Citigroup’s foreign-exchange head Anil Prasad would leave the bank to “pursue other

interests.”275 On March 24, 2014, Citigroup named Richard Bibbey as head of global spot FX

trading, and merged its voice and electronic trading businesses for currencies. Citigroup did not

have a combined global head of spot FX trading previously.

       351.   In December 2014, Citigroup suspended at least seven traders. This included

three New York emerging market traders, along with four London spot and emerging market

traders. Among those suspended were Robert Hoodless, a director and emerging markets FX

trader, and David Madaras, an emerging markets FX trader focused on Asia.

              Credit Suisse

       352.   At least seven employees at Credit Suisse left the bank. On September 10, 2013,

Todd Sandoz, head of global FX and short-term interest rate trading at Credit Suisse, left the

bank after more than 17 years. Based in London, Sandoz took on the role in May 2011 and also

became co-head of the new global currencies. Credit Suisse promoted David Tait, global head of

FX trading in London, to succeed Sandoz. In May 2014, Credit Suisse cut more than half a

dozen jobs in foreign exchange. The most senior people include Daniel Wise, managing director,

head of FX spot trading in London; Mark Astley, director, senior FX strategist in London;

Martin Amann, director, FX hedge fund sales in New York; and John Altadonna, director, FX

spot trader in New York. Wise joined Credit Suisse in August 2011 after leaving Barclays where

he was European head of FX spot trading. Altadonna was at Credit Suisse for seven years, he

previously worked at Bank of America.




275
     Amberdeen Choudhury, Citigroup Head of Currencies Prasad to Step Down in March,
BLOOMBERG (Feb. 5, 2014) (http://bloom.bg/1jmunIV).


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               Deutsche Bank

       353.    At least seven employees at Deutsche Bank left the bank. In February 2014,

Deutsche Bank fired three New York-based currency traders, Diego Moraiz, Robert Wallden,

and Christopher Fahy, and one Argentina-based currency trader, Ezequiel Starobinsky. Moraiz

was the head of Deutsche Bank’s emerging markets FX trading desk and specialized in trading

the Mexican peso. Wallden and Fahy were both directors in the FX trading unit. In November

2013, FBI agents questioned Wallden at his New York home about transcripts of an electronic

chat in which he boasted about manipulating FX markets. On March 11, 2014, Christian Binaghi,

Deutsche Bank’s head of Latin America trading, left the firm. Binaghi was a New York-based

managing director who oversaw all Latin America trading, including currency, debt, and equity.

In addition, on March 31, 2014, London-based Kai Lew, a director of institutional FX sales, was

placed on leave following an internal investigation. In May 2014, Deutsche Bank fired Marlene

Galvan, a vice president at Deutsche Bank and a currency and derivatives trader in Mexico.

               Goldman Sachs

       354.    At least seven employees at Goldman Sachs have left the bank. In 2013, James

Coulton, head of emerging markets FX trading for Europe, the Middle East, and Africa in

London and Alain Marcus, head of foreign exchange sales for the Americas and co-head of

cross-asset sales in New York left the bank. In February 2014, New-York based Steven Cho,

global head of spot and forward foreign exchange trading for G10 currencies at Goldman Sachs

left the bank. Cho was a member of the FX committee sponsored by the Federal Reserve Bank

of New York. Leland Lim, another partner in Goldman Sachs’ currency-trading business, also

left. Lim was co-head of macro trading, which includes interest rates and currencies, for Asia

Pacific ex-Japan. Patrick Boyle, global head of foreign exchange options also left in February.



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          355.   In September 2014, Mitesh Parikh, Goldman Sachs’ European head of spot

foreign exchange trading based in London, left the bank. In November 2014, Goldman Sachs

fired Frank Cahill. Cahill joined Goldman Sachs in 2012 as a currency trader after working at

HSBC Holdings plc.

                 HSBC

          356.   HSBC has suspended or terminated at least four employees. In November 2013,

Vincent Craignau, global head of FX and metals derivatives in London, left HSBC after ten

years. In January 2014, HSBC suspended Serge Sarramegna, the bank’s chief trader for major

currencies and head of HSBC’s spot FX desk in London, and Edward Pinto, a Scandinavian

currency trader. In October 2014, Sarramegna and Pinto were fired. In December 2014, HSBC

fired Stuart Scott, its European head of currency trading. Scott joined HSBC in 2007, was based

in London, and ran the bank’s currency trading operations in Europe, the Middle East, and

Africa.

                 JP Morgan

          357.   JP Morgan has suspended or terminated at least one employee. JP Morgan put its

chief currency dealer, London-based Richard Usher, on leave in October. Usher was part of The

Cartel chat room and was a member of the Bank of England’s Chief Dealers’ Subgroup. Usher

was head of spot G10 currency trading at JP Morgan. He joined JP Morgan from RBS in May

2010.

                 Morgan Stanley

          358.   On March 21, 2014, Steve Glynn, co-head of foreign exchange and emerging

markets and head of fixed income for Asia at Morgan Stanley, left the bank. Glynn had been at

Morgan Stanley for 14 years, initially in London before moving to Hong Kong in 2009. Glynn’s



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role is being taken over by Ben Falloon. Falloon joined Morgan Stanley in 2008 from Credit

Suisse.

                 RBS

          359.   RBS has suspended or terminated at least five employees. RBS suspended two

London-based FX spot traders, Julian Munson and Paul Nash. In addition, RBS suspended a

senior spot currency trader based in London, Ian Drysdale.

          360.   Paul Nash was reportedly arrested in December 2014, allegedly becoming the first

trader arrested as a result of the global inquiry into FX manipulation.276

          361.   In February 2015, RBS suspended Jason Richardson, deputy head of markets at

RBS, and Sarah Murdoch, head of UK large corporate FX sales at RBS. Richardson worked in

Stamford, Connecticut, running FX and emerging markets before returning to London in 2009 to

run the global emerging markets business. In 2012, Richardson became chief operating officer

for markets before taking his latest role in 2014.

                 Standard Chartered

          362.   Standard Chartered has had two FX employees depart the bank. In March 2014,

Standard Chartered FX trader Matt Gardiner resigned.277 He had joined Standard Chartered in

September 2013, but was placed on leave a month after he joined the bank.

          363.   In November 2014, Jason Crank, a New York G10 FX trader, left Standard

Chartered. Crank worked at RBS before joining Standard Chartered.



276
       Jamie McGeever and Kirstin Ridley, Arrested RBS forex trader named as Paul Nash:
sources, REUTERS (Jan. 8, 2015) (http://www.reuters.com/article/2015/01/08/us-forex-rbs-court-
idUSKBN0KH1IZ20150108).
277
         Standard Chartered FX trader Gardiner resigns – source, REUTERS (March 26, 2014)
(http://reut.rs/1QFSJwO).


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               UBS

       364.    UBS has suspended or terminated at least 16 employees and has hired criminal-

defense lawyers to represent some of their employees. UBS suspended Roger Boehler and Niall

O’Riordan. Both had been at UBS since the early 1990s. Boehler was the global head of FX

trading at UBS’s investment bank, based in Stamford, Connecticut. O’Riordan was the co-global

head of FX G10 and emerging market spot trading at UBS, based in Zurich. O’Riordan was part

of The Cartel chat room and was a member of the Bank of England’s Chief Dealers’ Subgroup.

On March 28, 2014, UBS suspended seven FX traders. They include New-York based emerging

markets spot trader Onur Sert, 20-year UBS currency trader Michael Velardi, and five more

global traders. In April 2014, UBS suspended Michael Agaisse, a New York-based executive

director in FX trading.

       365.    In November 2014, the Financial Market Supervisory Authority wrote to

O’Riordan, Chris Vogelgesang, and the bank’s former global co-head of foreign exchange and

precious metals, and precious metals trader, Andre Flotron, notifying them of a possible

enforcement action. Flotron went on leave in early 2014. UBS announced in a November 19,

2013 memo that Vogelgesang would step down and look for another role at UBS. Former

precious-metals trader Wolfgang Kajewski, currency trader Sven Schneider and structured-

products trader Daniel Laager also received letters regarding an enforcement action.

       366.    In addition, former UBS senior FX trader Matt Gardiner was placed on leave by

his current employer, Standard Chartered, where he is the assistant chief dealer in G10 foreign

exchange. Gardiner was part of The Cartel chat room. Gardiner worked at UBS for two years

prior to joining Standard Chartered and prior to UBS, Gardiner worked at Barclays from June

2007 to July 2011, where he was a director in FX spot trading responsible for EUR/USD.



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                          ANTITRUST INJURY TO PLAINTIFFS

       367.    Defendants keep more inventory of currency than any other banks in the financial

system and are therefore able to act as currency dealers, facilitating trading in various currencies.

Defendants are horizontal competitors in the FX market, competing for customers by supplying

exchange rate quotations and FX Instruments. The relationship between Defendants and their

customers is the same as the relationship between any merchant selling goods to consumers in a

marketplace. In FX trading, the “goods” are money, or currency. When a Defendant’s customer

accepts a quote, the Defendant sells currency from its own inventory or seeks an off-setting order

at the bargained-for price. Pricing of currency, like goods, is based on fundamental market

forces of supply and demand.

       368.    Defendants’ conspiracy injures competition between dealers in the FX market.

Where customers would, absent Defendants’ collusion, have received competitive quotes and

reaped the benefits of competition, here, Defendants have repeatedly agreed in chats to conform

quoted customer spreads and spread matrices to each other’s market views, “double team”

transactions with the intent of manipulating the market, and collude to trigger customer limit

orders through short-term trades. These actions, individually and collectively, have the effect of

imposing overcharges on FX customer by artificially increasing the cost of buying currency and

artificially decreasing the price received by currency sellers.        These actions deprive FX

customers of a competitive marketplace and expose them to artificial volatility.

       369.    Absent collusion, Defendants, competitors in the FX market, would have

possessed independent incentives to quote tighter spreads to customers to win more business in

the FX market. Every purchase of a quantity of currency represents demand relative to supply –

forces that would, in a market free of collusion, determine the price. Through collusion, Plaintiffs

were deprived of this active price competition.

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       370.    Absent collusion, Defendants would have had incentives to avoid abusive trading

practices, like front-running, that could cause customers to find they receive better execution and

trade pricing from other FX dealers. Through collusion, FX customers were deprived of this

competitive marketplace.

       371.    The collusion necessarily injures participants in the FX market.         All market

participants transacting in the FX spot market would be receiving artificially low prices for their

currency sales and paying artificially high prices as a result of Defendants’ collusion with respect

to bid/ask spreads. This would only be compounded through Defendants’ use of tactics like

“front-running”, “banging the close”, or “painting the screen” to cause further injury through

manipulation. Furthermore, because the pricing of other FX Instruments is driven by the pricing

of FX spot transactions, this injury affected all members of the Class.

       372.    Furthermore, Defendants’ concerted trading practices in FX spot transactions at or

around the time of the Fixes directly impacted the prices of FX spot transactions entered into

during that time period. As horizontal competitors in the FX market, Defendants would, absent

collusion, compete with respect to the bids and asks that ultimately determine the Fixes. As

such, they engage in price competition with respect to the Fixes themselves.

       373.    Defendants’ collusion with respect to FX spot transactions directly impacted the

pricing of outright forwards because their prices are mathematically derived from the prices of

spot transactions. Defendants’ collusion in the FX spot market directly impacted the pricing of

FX swaps because FX swaps are simultaneous spot and outright forward transaction.

       374.    Indeed, this injury was not even limited to the OTC market. Prices in the futures

market closely track the prices available on the spot market, such that any disconnect between

the two is almost immediately eliminated through trader arbitrage.               Accordingly, the



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manipulative pricing on the spot market translated into artificial prices for FX exchange-traded

instruments.

       375.    Plaintiffs and the members of the Class suffered antitrust injury stemming from

anticompetitive aspects of Defendants’ conduct.

       376.    Defendants’ anticompetitive conduct had severe adverse consequences on

competition in that Defendants artificially ensured advantageous market movements in the

WM/Reuters Closing Spot Rates by exchanging confidential customer information and agreeing

to concerted traded strategies, such as “front running”, “banging the close”, and “painting the

screen”, based on aggregate customer order flow information. Under the facts alleged herein,

Plaintiffs and members of the Class could not escape such conduct because Defendants are

collectively the dominant FX dealers.

       377.    No one Defendant could accomplish systematic and continuing manipulation of

the WM/Reuters Closing Spot Rates without coordinating with its rivals. Absent Defendants’

knowledge of one another’s confidential customer information, the conduct alleged herein would

be a risky strategy. Defendants benefited from coordinating their market activities.

       378.    As a direct, intended, foreseeable, and proximate result of Defendants’ unlawful

conspiracy and overt acts alleged herein, Plaintiffs have been injured in their business and

property, in amounts that are presently undetermined.

       379.    The injury to Plaintiffs and members of the Class are of the type the antitrust laws

were designed to prevent and flow from that which makes Defendants’ acts unlawful.

                             FRAUDULENT CONCEALMENT

       380.    During the Class Period, Defendants actively, fraudulently, and effectively

concealed their collusion, as alleged herein, from Plaintiffs and members of the Class.



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       381.    By its very nature, the unlawful activity alleged herein was self-concealing.

Defendants conspired to artificially inflate bid/ask spreads and manipulate key FX benchmark

rates to the benefit of Defendants and to the detriment of Plaintiffs and members of the Class,

and they further conspired to keep their collusive and manipulative conduct secret. As a result

and as described herein, Plaintiffs could not, and thus did not, discover that they had suffered

injury prior to Bloomberg’s June 12, 2013 article.

       382.    Defendants fraudulently concealed their anticompetitive activities by, among

other things, engaging in secret communications in furtherance of their conspiracy. These

communications occurred in non-public chat rooms, instant messages, and through email, none

of which are or were reasonably available to Plaintiffs or members of the Class.

       383.    The chat rooms in question were operated by the highest-ranking traders within

Defendants’ operations, and Defendants strictly limited access to the chat rooms. The substance

of the conversations occurring within these chat rooms was unknown to Plaintiffs until June 12,

2013, at the earliest. Even then, it was not until the entry of a guilty plea by four Defendants on

May 20, 2015 that the public became aware of widespread collusion with respect to bid/ask

spreads.

       384.    When the first Defendant (Citigroup) announced its decision to bar traders from

accessing chat rooms, it offered a pretextual reason for the ban, describing the decision as a “sign

of concern by banks over online security issues.”278

       385.    Defendants knew that they could not subject their collusive conduct to public

scrutiny. In addition, Defendants actively and jointly concealed their collusive conduct. For


278
      Alice Ross, Citi Removes Forex Traders from Bloomberg internal chat groups,
FINANCIAL TIMES (May 16, 2013) (http://on.ft.com/1m4mj1g).


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instance, Defendants agreed among themselves not to publicly discuss or otherwise reveal the

nature and substance of the acts and communications in furtherance of the agreements alleged

herein. Defendants acknowledged the critical importance of limiting information with respect to

their collusion, as in the following chat transcript:

 TIME (UTC)         TRADER          MESSAGE
 09:52:11           RBS             boys I trust u like brothers . . . but [trader] keeps saying to
                                    keep not to tell anyone about that so something obv big went
                                    wrong so please don’t mention outside here
 09:52:21           Barclays        yep understood
 09:52:25           RBS             ta
 09:54:09           UBS             not a word
       386.    Traders’ concern that others would not assist in their concealment was a critical

concern, as reflected in the following chat from December 20, 2011:

 TIME (GMT)         TRADER          MESSAGE
 2:49:19            UBS             srsly though are we okay with keeping this as is? Ie info
                                    levels and risk sharing?
                    Citi            Well…
                    UBS             that is the qu. You know him best obv. If you think we need
                                    to adjust it then he shouldn’t be in chat
                    JPM             simple question [UBS Trader], I trust you implicitly [UBS
                                    Trader] and your judgment you know him. Will he tell rest of
                                    desk stuff or god forbin his nyk…
                    Citi            yes that’s really imp q don’t want other numpty’s in mkt to
                                    know but not only that. Is he gonna protect us like we protect
                                    each other against our own branches. Ie if you guys are
                                    rhs…and my nyk is lhs…ill say my nyk lhs in few.
                    Citi            What concerns me is that I know he’ll never tell us when at
                                    risk…he’s a real lump kind of guy.
                    UBS             I trust him with info
                    JPM             but you think he willheim when he sees us?
                    UBS             totally
                    JPM             well look, here is what I suggest. Why don’t we leave as it is
                                    for now and if he stays doing euro, we bring him in because I
                                    like him. Otherwise, he won’t add huge value to this cartel
                                    doing GBP.
                    UBS             or stick him in for [Trader] and if he stays doing euro, then
                                    he’s cool. And if anything goes down, we just start a fresh
                                    chat with just us three.
                    JPM             I’m good with that


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                    UBS             you have the admin reins, [nickname for Citigroup trader]
                    Citi            I’m cool with it.

       387.    As discussed above, Defendants’ traders regularly employed code words within

chat rooms in order to evade detection. When a new trader entered one chat room, the following

chat ensued, reflecting the traders’ intention of disguising their activity:

 TIME (UTC)         TRADER          MESSAGE
 15:37:10           JPMorgan        we need to run thru codes with u [Citigroup Trader]
 15:37:16           JPMorgan        stumbled on one there
 15:37:31           Citigroup       hahah yup
 15:37:45           Barclays        wud help
 15:37:53           Barclays        haha
 15:38:03           JPMorgan        January poker game required [Barclays trader]

       388.    Moreover, when Defendants’ traders were instructed to terminate conversations

with respect to the conspiracy, they simply concealed their conduct by using unmonitored

platforms to conduct such conversations. These included, as discussed in the chat transcript

below, the use of direct phone calls to other traders:

 TIME (UTC)         TRADER          MESSAGE
 16:37:16           Citigroup       guys
 16:37:19           Citigroup       its been fun
 16:37:28           Citigroup       we not allowed to have more than 1 on 1 chats anymore
 16:37:35           Citigroup       so have to leave this room
 16:37:40           Citigroup       and will call you indv
       389.    On September 16, 2014, Bloomberg reported that Defendants’ traders also

reportedly communicated with clients and counterparts via “Snapchat, a mobile-phone

application that sends messages that disappear, to circumvent their company’s controls.”279




279
      Julia Verlaine and Gavin Finch, Biggest Banks Said to Overhaul FX Trading After
Scandals, BLOOMBERG (Sept. 16, 2014) (http://bloom.bg/1IVyj3E).


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       390.      None of the facts or information available to Plaintiffs, if investigated with

reasonable diligence, could or would have led to the discovery of the conspiracies alleged in this

Complaint.

       391.      As a result, Plaintiffs were prevented from learning of the facts needed to

commence suit against Defendants for the manipulative and anticompetitive conduct alleged in

this Complaint until Defendants and regulators publicly acknowledged their investigations.

       392.      There are many additional reasons why these facts could not have been known.

FX trades occur primarily in the private, OTC market, and Defendants’ trades and trading

strategies are not public information.     Defendants do not publish information concerning

particular trading entities, including trading between dealer entities.    Defendants, acting as

executing dealers, also discouraged brokers from revealing or otherwise identifying them as

counterparties on the brokers’ customers’ transactions, in order to conceal the counterparties on

those transactions. Reasonable due diligence could not have uncovered Defendants’ conspiracy

because the non-exchange, closed, and private nature of the trades helped to conceal Defendants’

conduct.

       393.      To Plaintiffs’ knowledge, the first report of possible manipulation in the FX

market was published by Bloomberg on June 12, 2013. 280 Even that report, however, was

premised on “five dealers with knowledge of the practice” who were not identified in the

article.281 The dealers specifically “declined to identify which banks engaged in manipulative

practices.”282


280
       Liam Vaughan, Gavin Finch and Ambereen Choudhury, Traders Said to Rig Currency
Rates to Profit Off Clients, BLOOMBERG (June 12, 2013) (http://bloom.bg/1qGQ3oy).
281
       Id.
282
       Id.


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       394.    The facts necessary for Plaintiffs to formulate the basis of a complaint and satisfy

applicable pleading standards remained within the exclusive control of Defendants, their co-

conspirators, and the regulatory authorities investigating the activity alleged herein.

       395.    Even after the Bloomberg article indicated possible manipulation in the FX

market, Defendants did not address the allegations. It was not until October 2013 that the first

traders alleged to be involved in the FX-rigging were put on leave.

       396.    Nor did the Bloomberg article identify the currency pairs involved in the rigging,

the parties to the rigging, or provide substantial detail as to how the rigging occurred.

       397.    Defendants’ success in concealing their collusion was facilitated by their

tremendous control over the global financial markets. Defendants wield substantial power over

market participants.       Market participants who suggest Defendants have engaged in

anticompetitive behavior risk losing access to financial instruments like swaps, forwards, and

options. It is thus unsurprising that the first reports of collusion came from bankers themselves,

not market participants.

       398.    The first class action complaint in this action was filed November 1, 2013, just

days after the first FX traders were put on leave. Plaintiffs and the Class have acted diligently in

seeking to bring their claims promptly.

       399.    Because of Defendants’ active steps, including fraudulent concealment of their

conspiracy to prevent Plaintiffs from suing them for the anticompetitive activities alleged in this

Complaint, Defendants are equitably estopped from asserting that any otherwise applicable

limitations period has run.




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                                    CLAIMS FOR RELIEF

I.      CLAIMS ON BEHALF OF THE OTC CLASS

                Violation of Sections 1 and 3 of the Sherman Act, 15 U.S.C. §§1, 3 on
                Behalf of the OTC Class

        400.    OTC Plaintiffs incorporate by reference and re-allege the preceding allegations

as though fully set forth herein.

        401.    Beginning at least as early as January 1, 2003, and continuing through the

present, the exact dates being unknown to OTC Plaintiffs, Defendants, and their co-conspirators

entered into and engaged in a conspiracy in unreasonable restraint of trade in violation of

Sections 1 and 3 of the Sherman Act, 15 U.S.C. §§1, 3.

        402.    Section 3 of the Sherman Act, 15 U.S.C. §3, makes Section 1 applicable to “any

Territory of the United States [and] the District of Columbia.”

        403.    Plaintiffs ERS-PREPA and Virgin Islands are domiciled in United States

territories.

        404.    The conspiracy consisted of a continuing agreement, understanding, or

concerted action between and among Defendants and their co-conspirators in furtherance of

which Defendants fixed, maintained, or made artificial prices, as alleged herein.

        405.    Defendants’ unlawful conduct was through mutual understandings, combinations,

or agreements by, between, and among Defendants and other unnamed co-conspirators. These

other co-conspirators have either acted willingly or, due to coercion, unwillingly, in furtherance

of the unlawful restraint of trade alleged herein.

        406.    Defendants’ conspiracy is a per se violation of the Sherman Act and is, in any

event, an unreasonable and unlawful restraint of trade.




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          407.   There is no legitimate business justification for, or procompetitive benefits caused

by, Defendants’ unreasonable restraint of trade. Any ostensible procompetitive benefit was

pretextual or could have been achieved by less restrictive means.

          408.   Defendants’ conspiracy, and the resulting impact on the prices of FX Instruments,

occurred in and affected interstate commerce and commerce in and between the Territories of the

United States.

          409.   The contract, combination, or conspiracy had anticompetitive effects, as alleged

herein.

          410.   As a direct, intended, foreseeable, and proximate result of Defendants’

conspiracy and overt acts taken in furtherance thereof, OTC Plaintiffs have suffered injury to

their business or property.

          411.   The injury to Plaintiffs and members of the Class are of the type the antitrust laws

were designed to prevent and flow from that which makes Defendants’ acts unlawful.

          412.   Plaintiffs are entitled to treble damages, attorneys’ fees, reasonable expenses,

and cost of suit for the violations of the Sherman Act alleged herein.

II.       CLAIMS ON BEHALF OF THE EXCHANGE CLASS

          413.   Exchange Plaintiffs incorporate by reference and re-allege the preceding

allegations as set forth herein.

          414.   There is overwhelming evidence that Defendants intended to (and in fact did)

manipulate prices of spot market currency pairs and benchmark rates, such as WM/Reuters

Closing Spot Rates, underlying FX futures contract during the Class Period.

          415.   Because of the direct relationship between FX futures prices and the spot market

prices for the underlying currency pairs, Defendants’ manipulation of the spot market currency

prices and benchmark rates manipulated both: (1) the prices of FX futures contract by altering

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the spot price component of the FX futures pricing formula; and (2) the prices of the commodity

underlying each FX futures contract.

       416.    This manipulation caused the prices FX futures contracts and options to be

artificial throughout the Class Period, injuring Exchange Plaintiffs and members of the Class

who engaged in transactions for FX futures contracts and options at artificial prices directly and

proximately caused by Defendants’ manipulative conduct.

       417.    The FX market trades currencies in pairs that establish a relationship between the

prices of one currency, e.g., U.S. dollars, and another, e.g., euros. Each currency, and thus the

various currency pairs, are a “commodity” and serve as the “commodity underlying” FX futures,

as those terms are defined and used in Section 1a(9) and 22 of the CEA, 7 U.S.C. §§1a(9) and

25(a)(1)(D), respectively. More specifically, the currency pairs underlying FX futures are an

“excluded commodity” as that term is defined in Section 1a(19), 7 U.S.C. §§1a(19) (formerly 7

U.S.C. §1a(13)). In the CEA, the term “‘excluded commodity’ means (i) an interest rate,

exchange rate, currency, security, security index, credit risk or measure, debt or equity

instrument, index or measure of inflation, or other macroeconomic index or measure . . . .”

Excluded commodities are subject to all CFTC anti-manipulation rules, including Section 9(a)(2)

of the CEA, which criminalizes the dissemination of false market information.

       418.    FX futures contracts, including those traded on the CME and ICE, are

commodities that trade in interstate commerce. Defendants’ restraint of trade and intentional

manipulation of spot market prices of currency pairs and benchmark rates, such as WM/Reuters

rates, had direct, substantial and foreseeable effects in the United States and on Plaintiffs and

members of the Exchange Class. Billions of dollars in FX futures contracts were traded in the

United States during the Class Period. Defendants, as dominant dealers in the FX market, knew



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the results of the WM/Reuters fix were disseminated in the United States, and were used to price

FX futures contracts, including CME and ICE FX futures and options contracts. For these

reasons, Defendants knew that manipulating the WM/Reuters fix and spot market prices of

currency pairs underlying those contracts, would, and did, have direct, substantial, and

reasonably foreseeable effects in the United States, including on the prices of FX futures

contracts traded on the CME and ICE.

               Conspiracy to Restrain Trade in Violation of §1 of the Sherman Act

       419.    Exchange Plaintiffs incorporate by reference and re-allege the preceding

allegations as though fully set forth herein.

       420.    Beginning at least as early as January 1, 2003, and continuing through the

present, the exact dates being unknown to Exchange Plaintiffs, Defendants and their co-

conspirators entered into and engaged in a conspiracy in unreasonable restraint of trade in

violation of Sections 1 and 3 of the Sherman Act, 15 U.S.C. §1.

       421.    The conspiracy consisted of a continuing agreement, understanding, or

concerted action between and among Defendants and their co-conspirators in furtherance of

which Defendants fixed, maintained, or made artificial prices, as alleged herein.

       422.    Defendants’ unlawful conduct was through mutual understandings, combinations,

or agreements by, between, and among Defendants and other unnamed co-conspirators. These

other co-conspirators have either acted willingly or, due to coercion, unwillingly, in furtherance

of the unlawful restraint of trade alleged herein.

       423.    This conspiracy to manipulate and fix spot market prices of currency pairs

underlying FX futures contracts caused injury to both Exchange Plaintiffs and members of the

Exchange Class, because they were deprived of the benefit of a legitimate and accurate prices

that reflected competitive market conditions. Exchange Plaintiffs and members of the Exchange

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Class also were deprived of the ability to accurately price FX futures contracts entered into

during the Class Period and to accurately determine the settlement value of FX futures contracts

by reference to the spot market prices of the underlying currency pair. Exchange Plaintiffs and

members of the Exchange Class thus received, during the term of their transactions and upon

settlement, less in value than they would have received absent Defendants’ conspiracy and overt

acts taken in furtherance thereof.

       424.    The conspiracy is a per se violation of §1 of the Sherman Act. Alternatively, the

conspiracy resulted in substantial anticompetitive effects in the exchange-traded FX futures

contract market.

       425.    There is no legitimate business justification for, or pro-competitive benefits

caused by, Defendants’ conspiracy and overt acts taken in furtherance thereof. Any ostensible

pro-competitive benefits are pretextual or could have been achieved by less restrictive means.

       426.    As a direct, material, and proximate result of Defendants’ violation of §1 of the

Sherman Act, Plaintiffs and the Exchange Class have suffered injury to their business and

property, within the meaning of §4 of the Clayton Act, throughout the Class Period.

       427.    Plaintiffs are entitled to treble damages, attorneys’ fees, reasonable expenses, and

cost of suit for the violations of the Sherman Act alleged herein.

               Manipulation in Violation of the Commodity Exchange Act, 7 U.S.C. §1, et
               seq.

       428.    Exchange Plaintiffs incorporate by reference and re-allege the preceding

allegations as though fully set forth herein.

       429.    Ability to Influence Prices. Throughout the Class Period, Defendants dominated

the FX market with a combined market share of over 90%. This dominant position was further

extended in the spot market, where Defendants controlled more than 98% of the overall volume,


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acting as counterparties for one leg of almost every transaction. Defendants used their dominant

position in the FX market to manipulate spot market prices of various currency pairs, as well as

numerous benchmark rates organizing in group chat rooms dubbed “The Cartel,” “The Bandits’

Club,” “The Mafia,” and “One Team, One Dream.” In fact, entry into chat rooms such as “The

Cartel” was coveted among Defendants because of the influence its members exerted in the FX

market. Within these chat rooms, Defendants coordinated their trading activity using classic

manipulative strategies including, inter alia, (a) “banging the close” by breaking large client in

orders into smaller pieces to be executed in rapid succession during the WM/Reuters fixing

window; (b) “painting the screen” with phony orders intended to create the illusion that the

market was trading direction beneficial to their positions; and (c) shifting their net positions

among the group to consolidate order flow for maximum manipulative impact. Because the

commodity underlying all FX futures contracts is a particular spot market currency pair,

Defendants, by virtue of their dominant position in the spot market, had the ability to (and did)

influence the prices of FX futures contracts and options.

        430.      Causation and Artificial Price. When a factor that affects a futures contract

price is artificial or illegitimate, then the resulting futures contract price is necessarily artificial.

Here, Defendants manipulated the spot market prices of currency pairs underlying FX futures

contracts. Because all FX futures contracts derive their value from an underlying currency pair,

once the spot market price of that currency pair was rendered artificial through, inter alia,

Defendants’ manipulation of spot rates and coordinated manipulative trading activity, the prices

of futures contracts based on that currency pair were also artificial. Options were similarly

affected. Thus Defendants’ manipulative conduct in the FX market directly caused artificial FX

futures prices.



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       431.    Intent.    Manipulative intent is evidenced by, among other things: (a) the

extensive communications among Defendants alleged herein and also produced in connection

with settlements with government regulators, including other facts and circumstances, showing

that Defendants purposefully and systematically intended to and did manipulate spot market

prices of various currency pairs to artificial levels, and (b) that these currency pairs are the

commodity underlying FX futures and options contracts. Additionally, Defendants’ specific

intent and motive in the manipulation of spot market prices of various currency pairs was to

obtain ill-gotten trading profits from transactions in the spot market and from FX derivative

contracts, including the FX futures contracts, held by them or other co-conspirators. FX futures

contracts are priced, benchmarked, and settled based on the spot market price of the underlying

currency pair. Thus, as a direct consequence of Defendants’ knowingly unlawful conduct, the

prices of FX futures contracts, options, and/or the price of the commodity underlying such

contracts were manipulated to artificial levels by the Defendants and their co-conspirators

throughout the Class Period.

       432.    Each Defendant, individually, in concert, and/or as one another’s control persons

or agents, through their acts alleged herein, specifically intended to and did cause unlawful and

artificial prices of futures and options contracts in violation of the CEA, 7 U.S.C. §1, et seq.

       433.    The Defendants’ manipulative conduct and trading activity alleged herein

constituted both a manipulation of the prices of FX futures contracts and the currency pairs

underlying those contracts in violation of Section 4b(a), 4c(a), 9(a) and 22(a) of the CEA, 7

U.S.C. §§6b(a), 6c(a), 13(a)(2), and 25(a). As a direct result of Defendants’ unlawful conduct,

Exchange Plaintiffs and members of the Exchange Class have suffered actual damages and

injury in fact due to artificial prices for FX futures and currency pairs to which they would not



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have been subject but for the unlawful conduct of the Defendants as alleged herein. Exchange

Plaintiffs and members of the Exchange Class were further legally injured and suffered injury in

fact when they transacted FX futures contracts in an artificial and manipulated market operating

under the artificial prices caused by the Defendants. Exchange Plaintiffs and members of the

Exchange Class who purchased or sold FX futures contracts during the Class Period were injured

and are each entitled to their actual damages for the violations of the CEA alleged herein.

               Principal-Agent Liability in Violation of the Commodity Exchange Act, 7
               U.S.C. §1, et seq.

       434.    Exchange Plaintiffs incorporate by reference and re-allege the preceding

allegations as though fully set forth herein.

       435.    Each Defendant is liable under Section 2(a)(1) of the CEA, 7 U.S.C. §2(a)(1), for

the manipulative acts of their agents, representatives and/or other persons acting for them in the

scope of their employment.

       436.    Exchange Plaintiffs and members of the Exchange Class are each entitled to

actual damages sustained in FX futures contracts for the violations of the CEA alleged herein.

               Aiding and Abetting Manipulation in Violation of the Commodity Exchange
               Act, 7 U.S.C. §1, et seq.

       437.    Exchange Plaintiffs incorporate by reference and re-allege the preceding

allegations as though fully set forth herein.

       438.    Defendants by, inter alia, using various electronic communications platforms,

such as chat rooms and instant messages, to share market-sensitive information including:

(a) pricing and spread information; (b) customer information; (c) their net trading positions; (d)

and other details from their proprietary order books in advance of Fixes, knowingly aided,

abetted, counseled, induced and/or procured the violations of the CEA by other Defendants as

alleged herein. Defendants further coordinated their trading and market making activity around

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this market-sensitive information for the purposes of manipulating spot market prices of currency

pairs underlying FX futures contracts.

       439.    Each Defendant did so knowing of other Defendants’ manipulation of the prices

of spot market currency pairs underlying FX futures contracts. Defendants operated within chat

rooms titled “The Cartel,” The Bandits’ Club,” and “The Mafia,” blatantly demonstrating their

manipulative intent. Defendants’ traders frequently bragged to each other about their ability to

manipulate the FX market, congratulating each other when their manipulation of spot market

prices for currency pairs underlying FX futures contracts succeeded. These actions demonstrate

that Defendants substantially and willfully intended to assist these manipulations to cause the

prices of FX futures contracts to be artificial during the Class Period, in violation of Section

22(a)(1) of the CEA, 7 U.S.C. §25(a)(1).

       440.    Under Section 13c(a) of the CEA, 7 U.S.C. §13, Defendants are liable for

willfully intending to assist the manipulation.

       441.    Other persons willfully intended to assist these manipulations to cause the

WM/Reuters spot rates and spot market prices of currency pairs and the prices of FX futures

contracts to reach artificial levels during the Class Period, in violation of Section 22(a)(1) of the

CEA, 7 U.S.C. §25(a)(1). They are the agents and unnamed co-conspirators as alleged herein.

       442.    Exchange Plaintiffs and members of the Exchange Class are each entitled to

actual damages sustained for the violations of the CEA alleged herein.

               Manipulation by False Reporting and Fraud and Deceit in Violation of the
               Commodity Exchange Act, as Amended, 7 U.S.C. §1, et seq. and CFTC Rule
               180.1(a)

       443.    Exchange Plaintiffs incorporate by reference and re-allege the preceding

allegations as though fully set forth herein.



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       444.    By their intentional or reckless misconduct, Defendants each violated Section

6(c)(1) of the CEA, as amended, 7 U.S.C. §9, and caused prices of FX futures and other

derivatives contracts and derivatives to be artificial during the Class Period.        Defendants

delivered and caused to be delivered for transmission through the mails and interstate commerce,

by multiple means of communication, including communications to electronic trading platforms,

false or misleading or inaccurate reports concerning order and trade information that affected or

tended to affect spot market prices of currency pairs, which are commodities in interstate

commerce, knowing, or acting in reckless disregard of the fact that such report was false,

misleading or inaccurate.

       445.    Under Section 6(c)(1) of the CEA, as amended, codified at 7 U.S.C. §9, and

Section 22 of the CEA, as amended, 7 U.S.C. §25, it is unlawful for any person, directly or

indirectly, to use or employ, or attempt to use or employ, in connection with any swap, or a

contract of sale of any commodity in interstate commerce, or for future delivery on or subject to

the rules of any registered entity, any manipulative or deceptive device or contrivance, in

contravention of such rules and regulations as the CFTC shall promulgate.

       446.    In July 2011, the CFTC promulgated Rule 180.1(a), 17 C.F.R. §180.1(a) (2011),

pursuant to Section (6)(c)(1), which provides, in relevant part:

               It shall be unlawful for any person, directly or indirectly, in
               connection with any swap, or contract of sale of any commodity in
               interstate commerce, or contract for future delivery on or subject to
               the rules of any registered entity, to intentionally or recklessly:

               (1)     Use or employ, or attempt to use or employ, any
                       manipulative device, scheme, or artifice to defraud;

               (2)     Make, or attempt to make, any untrue or misleading
                       statement of a material fact or to omit to state a material
                       fact necessary in order to make the statements made not
                       untrue or misleading;


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               (3)     Engage, or attempt to engage, in any act, practice, or course
                       of business which operates or would operate as a fraud or
                       deceit upon any person; or

               (4)     Deliver or cause to be delivered, or attempt to deliver or
                       cause to be delivered for transmission through mails or
                       interstate commerce, by any means of communication
                       whatsoever, a false or misleading or inaccurate report
                       concerning crop or market information or conditions that
                       affect or tend to affect the price of any commodity in
                       interstate commerce, knowing or acting in reckless
                       disregard of the fact that such report is false, misleading or
                       inaccurate.

       447.    Unlawful manipulation under the CEA, as amended, and Rule 180.1 includes

delivering, or causing to be delivered for transmission through the mails or interstate commerce,

by any means of communication whatsoever, a false or misleading or inaccurate report

concerning market information or conditions that affect or tend to affect the price of any

commodity in interstate commerce, knowing, or acting in reckless disregard of the fact that such

report is false, misleading or inaccurate.

       448.    During the Class Period, Defendants used or employed manipulative or deceptive

devices or contrivances, in connection with a contract of sale or purchase of FX futures and

options contracts in interstate commerce.        This conduct included the making of untrue,

inaccurate or misleading statements of material facts, or omitting material facts necessary to

make the statements made not misleading such as:

               (a)     making untrue, inaccurate or misleading statements to influence FX

                       prices, including benchmark rates, such as the WM/Reuters Closing Spot

                       Rates;

               (b)     failing to disclose that Defendants entered pre-arranged transactions to

                       move the spot market prices for various currency pairs in a direction to

                       benefit their own trading books;

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                  (c)    failing to disclose that Defendants were unlawfully conspiring between

                         and among themselves to manipulate, inter alia, the WM/Reuters Fix, as

                         well as FX spot market prices; and

                  (d)    failing to disclose that Defendants were reporting bids, offers and

                         transactions during the WM/Reuters fix to move the spot market prices of

                         currency pairs and resulting WM/Reuters benchmark to benefit their FX

                         trading positions.

         449.     Defendants’ conduct caused injury to Plaintiffs and other members of the Class

who transacted in an artificial and manipulated market, at manipulated prices, and with artificial

price trends, during the Class Period.

         450.     Plaintiffs and other members of the Class are each entitled to damages for the

violations of the CEA alleged herein.

                                     REQUEST FOR RELIEF

              WHEREFORE, Plaintiffs request relief as follows:

         A.       That the Court determine that this action may be maintained as a class action

under Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure, and direct that notice of

this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given to the

Class;

         B.       That the Court enter an order declaring that Defendants’ actions, as set forth

in this Complaint, violate the law;

         C.       That the Court award Plaintiffs and the Class damages in an amount according to

proof against Defendants for Defendants’ violation of the federal antitrust laws to be trebled in

accordance with those laws;



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       D.      That the Court award Plaintiffs and the Class damages against Defendants for

their violations of the Commodity Exchange Act;

       E.      That the Court award Plaintiffs pre- and post-judgment interest;

       F.      That the Court award Plaintiffs their costs of suit, including reasonable

attorneys’ fees and expenses; and

       G.      That the Court award such other equitable and further relief as the Court may

deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure, of all issues so triable.


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 5, 2020, I caused the foregoing to be electronically

filed with the Clerk of the Court using the CM/ECF system which will send notification of such

filing to the email addresses denoted on the Electronic Mail Notice List.

                                             s/ Christopher M. Burke
                                             Christopher M. Burke




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